Filed 02/14/23                                                                  Case 23-20455                                                                      Doc 1


       Fill in this information to ea) Ser cy
                                                                                                                            |
     United States
   | United States Bankruptcy       for the:
                              Court for
                   Bankruptcy Court     the:
   |                                                                                                                        I
   [ES
    EASTERN DISTRICT OF CALIFORNIA

       Case number (if known)                                                           Chapter
                                                                                        Chapter       7
                                                                                                      7
                                                                                                                                    C1) Check
                                                                                                                                    ❑   Check ifif this
                                                                                                                                                   this anan
                                                                                                                                        amended filing
                                                                                                                                        amended      filing




  Official Form
  Official Form 201
                201
  Voluntary Petition
  Voluntary          for Non-Individuals
            Petition for                            Bankruptcy
                                                for Bankruptcy
                                         Filing for
                         Non-Individuals Filing                                                                                                                   06/22
                                                                                                                                                                  06/22
  if more space
  Hf more space is           attach aa separate
                    needed, attach
                 is needed,                      sheet to
                                       separate sheet     this form.
                                                       to this  form. On
                                                                      On the       of any
                                                                               top of
                                                                          the top     any additional  pages, write
                                                                                          additional pages,  write the debtor's name
                                                                                                                   the debtor's         and the
                                                                                                                                  name and      case number
                                                                                                                                            the case        (if
                                                                                                                                                     number (if
  known). For
  known).  For more
               more information,
                      information, aa separate
                                      separate document,
                                                document, Instructions
                                                             Instructions for
                                                                           for Bankruptcy
                                                                                Bankruptcy Forms
                                                                                            Forms for
                                                                                                    for Non-Individuals,
                                                                                                        Non-individuals, is
                                                                                                                          is available.
                                                                                                                             available.


   1.
   1.      Debtor's name
           Debtor's name                   Placer Academy Schools
                                           Placer Academy Schools                                                   se                   ce                               —

   2.
   2.      Aliother
           Ali           names debtor
                other names       debtor
           used in
           used    in the
                       the last
                           last 88 years
                                   years
            Include any
           Include    any assumed
                           assumed
           names, trade
           names,     trade names
                             names and
                                     and
           doing business
           doing   business as as names
                                   names

  3.
  3.       Debtor's federal
           Debtor's  federal
                      Identification
           Employer Identification
           Employer                        XX-XXXXXXX
                                           XX-XXXXXXX
           Number (EIN)
           Number   (EIN)


  4.
  4.       Debtor's address
           Debtor's address                Principal place
                                           Principal place of
                                                           of business
                                                              business                                    Mailing address,
                                                                                                          Mailing          if different
                                                                                                                  address, if different from
                                                                                                                                        from principal place of
                                                                                                                                             principal place of
                                                                                                          business
                                                                                                          business

                                           4750 Grove
                                           4750          Street
                                                 Grove Street                                             6390            Court
                                                                                                                Sporran Court
                                                                                                          6390 Sporran
                                           Rocklin,  CA 95677 0
                                           Rocklin,CA95677                          a                     Rocklin,  CA 95765.
                                                                                                          Rocklin, CA   95765                         a
                                           Number, Street, City,
                                           Number, Street,       State &
                                                           City, State       Code
                                                                         ZIP Code
                                                                       & ZIP                              P.O. Box, Number,
                                                                                                          P.O. Box,         Street, City,
                                                                                                                    Number, Street,             & ZIP
                                                                                                                                          State &
                                                                                                                                    City, State       Code
                                                                                                                                                  ZIP Code

                                            Placer
                                           Placer                                                         Location of
                                                                                                          Location     principal assets,
                                                                                                                    of principal            different from
                                                                                                                                         if different
                                                                                                                                 assets, if                principal
                                                                                                                                                      from principal
                                           ‘County
                                           County                                 eee             a       place of
                                                                                                          place of business
                                                                                                                   business

                                                                                                          “Number,          City, State
                                                                                                                   Street, City,
                                                                                                           Number, Street,        State & ZIP Code
                                                                                                                                        & ZIP Code

  5.
  5.      Debtor's website
          Debtor's website (URL)
                           (URL)                                            .                                             ie



 6.6. Type of debtor
      Type of debtor                       @ Corporation
                                           ■ Corporation (including         Liability Company
                                                                    Limited Liability
                                                         (including Limited                   (LLC) and
                                                                                      Company (LLC) and Limited           Partnership (LLP))
                                                                                                                Liability Partnership
                                                                                                        Limited Liability             (LLP))
                                           C1 Partnership
                                           ❑  Partnership (excluding
                                                          (excluding LLP)
                                                                     LLP)
                                           C1 Other.
                                           ❑  Other. Specify:
                                                     Specify:        on.                      ae                      -                  i




 Official      201
          Form 201
 Official Form                                       Voluntary Petition
                                                     Voluntary          for Non-Individuals
                                                               Petition for                 Filing for
                                                                            Non-Individuals Filing     Bankruptcy
                                                                                                   for Bankruptcy                                              page 1
                                                                                                                                                               page 1
Filed 02/14/23                                                                                   Case 23-20455                                                                                                        Doc 1
      Debtor
      Debtor        Placer  Academy Schools
                     Placer Academy Schools                                                                                              Case number
                                                                                                                                         Case number (i(it known)
                                                                                                                                                           known)
                     Name
                     Neme


      7.
      7.     Describe debtor's business
             Describe debtor's          A. Check
                               business A.       one:
                                           Check one:
                                                          Health Care
                                                        O Health
                                                        ❑                      (as defined
                                                                      Business (as
                                                                 Care Business                11 U.S.C.
                                                                                           in 11
                                                                                   defined in             101(27A))
                                                                                                        § 101(27A))
                                                                                                 U.S.C. §
                                                        ❑  Single Asset
                                                        [1 Single Asset Real        (as defined
                                                                             Estate (as
                                                                        Real Estate                11 U.S.C.
                                                                                                in 11
                                                                                        defined in           § 101(51B))
                                                                                                      U.S.C. § 101(51B))
                                                            Railroad (as
                                                        C1] Railroad
                                                        ❑                defined in
                                                                     (as defined    11 U.S.C.
                                                                                 in 11           101(44))
                                                                                       U.S.C. §§ 101(44))
                                                        CI Stockbroker
                                                        ❑  Stockbroker (as
                                                                       (as defined
                                                                           defined in
                                                                                   in 11
                                                                                      11 U.S.C.
                                                                                         U.S.C. §
                                                                                                § 101(53A))
                                                                                                  101(53A))
                                                        ❑            Broker (as
                                                           Commodity Broker
                                                        Cl Commodity            defined in
                                                                            (as defined    11 U.S.C.
                                                                                        in 11           101(6))
                                                                                              U.S.C. §§ 101(6))
                                                        CO) Clearing
                                                        ❑   Clearing Bank
                                                                     Bank (as
                                                                          (as defined
                                                                              defined in
                                                                                      in"11  U.S.C. §
                                                                                         "11 U.S.C. § 781(3))
                                                                                                      781(3))
                                                        [| None
                                                        ■  None of
                                                                of the
                                                                   the above
                                                                       above

                                                       B. Check
                                                       B. Check all
                                                                all that
                                                                    that apply
                                                                         apply
                                                                     entity (as
                                                          Tax-exempt entity
                                                        ( Tax-exempt            described in
                                                                            (as described    26 U.S.C.
                                                                                          in 26        §501)}
                                                                                                U.S.C. §501)

                                                           investment company,
                                                        (1 Investment
                                                        ❑                      including hedge
                                                                      company, including       fund or
                                                                                         hedge fund    pooled investment
                                                                                                    or pooled            vehicle (as
                                                                                                              investment vehicle     defined in
                                                                                                                                 (as defined    15 U.S.C.
                                                                                                                                             in 15        §80a-3)
                                                                                                                                                   U.S.C. §80a-3)
                                                           investment advisor
                                                       (2) Investment
                                                       ❑                      (as defined
                                                                      advisor (as         in 15
                                                                                  defined in 15 U.S.C. §80b-2(a)(11))
                                                                                                U.S.C. §80b-2(a)(11))

                                                       C. NAICS
                                                       C.         (North American
                                                           NAICS (North            Industry Classification
                                                                         American Industry                  System) 4-digit
                                                                                             Classification System)         code that
                                                                                                                    4-digit code      best describes
                                                                                                                                 that best                   See
                                                                                                                                                     debtor. See
                                                                                                                                           describes debtor.
                                                          htto:/www.uscourts.gov/four-digit-national-association-naics-codes.
                                                          http://www.uscourts.uov/four-diqit-national-association-naics-codes.



  8.
  8.        Under          chapter of
                   which chapter
            Under which                 the
                                     of the            Check one:
                                                       Check one:
            Bankruptcy Code
            Bankruptcy    Code is
                                is the
                                   the
            debtor filing?
            debtor filing?                             &% Chapter
                                                       ■  Chapter 77
            A debtor
            A  debtor whowho is is aa °small
                                       “small           C) Chapter
                                                        ❑  Chapter 99
                          debtor" must
             business debtor"
            business                         check
                                      must check        CO Chapter 11. Check all that apply:
                                                        ❑ Chapter 11. Check all that apply.
            the
            the first  sub-box. A
                 first sub-box.       A debtor
                                         debtor asas
            defined in
            defined    in §§ 1182(1)
                              1182(1) who who                              0 The
                                                                           ❑           debtor is
                                                                                The debtor             small business
                                                                                                is aa small                 debtor as
                                                                                                              business debtor             defined in
                                                                                                                                      as defined      in 11                  101(51D), and
                                                                                                                                                              U.S.C. §§ 101(51D),
                                                                                                                                                         11 U.S.C,                                      aggregate
                                                                                                                                                                                                   its aggregate
                                                                                                                                                                                             and its
            elects to
            elects       proceed under
                     to proceed        under                                    noncontingent         liquidated debts
                                                                                noncontingent liquidated                    (excluding debts
                                                                                                                  debts (excluding                  owed to
                                                                                                                                           debts owed            insiders or
                                                                                                                                                             to insiders       or affiliates)    are less
                                                                                                                                                                                    affiliates) are            than
                                                                                                                                                                                                        less than
            subchapter VV of
            subchapter          of chapter
                                    chapter 11 17                               $3,024,725. If
                                                                                $3,024,725.          this sub-box
                                                                                                  If this  sub-box is     selected, attach
                                                                                                                      is selected,                                        balance sheet,
                                                                                                                                                              recent balance
                                                                                                                                                       most recent
                                                                                                                                                the most
                                                                                                                                       attach the                                               statement of
                                                                                                                                                                                        sheet, statement         of
            (whether or
            (whether     or not
                             not the
                                   the debtor
                                         debtor isis aa                         operations, cash-flow
                                                                                operations,                   statement, and
                                                                                                 cash-flow statement,          and federal    income tax
                                                                                                                                     federal income             retum or
                                                                                                                                                           tax return      or if   any of
                                                                                                                                                                                if any                documents do
                                                                                                                                                                                             these documents
                                                                                                                                                                                         of these                          not
                                                                                                                                                                                                                      do not
            “small business
            "small   business debtor")
                                    debtor’) must
                                               must                             exist, follow
                                                                                exist,   follow the    procedure in
                                                                                                 the procedure           11 U.S.C.
                                                                                                                     in 11    U.S.C. §    1116(4){B).
                                                                                                                                       § 1116(1)(B).
            check the
            check    the second
                           second sub-box.
                                       sub-box.
                                                                           ❑ The       debtor is
                                                                                The debtor             debtor as
                                                                                                is aa debtor       defined in
                                                                                                               as defined       in 11  U.S.C. §
                                                                                                                                   11 U.S.C.        1182(1), its
                                                                                                                                                 § 1182(1),           aggregate noncontingent
                                                                                                                                                                 its aggregate                                liquidated
                                                                                                                                                                                        noncontingent liquidated
                                                                                         (excluding debts
                                                                                debts (excluding
                                                                                debts                           owed to
                                                                                                         debts owed          insiders or
                                                                                                                         to insiders       affiliates) are
                                                                                                                                        or affiliates)          less than
                                                                                                                                                          are less              $7,500,000, and
                                                                                                                                                                       than $7,500,000,           and it     chooses to
                                                                                                                                                                                                          it chooses      to
                                                                                proceed under
                                                                                proceed                 Subchapter V
                                                                                              under Subchapter           V of    Chapter 11.
                                                                                                                            of Chapter      11. If   this sub-box
                                                                                                                                                  {f this  sub-box is                       attach the
                                                                                                                                                                             selected, attach
                                                                                                                                                                         is selected,                 the most      recent
                                                                                                                                                                                                            most recent
                                                                                balance sheet,
                                                                                balance               statement of
                                                                                            sheet, statement            operations, cash-flow
                                                                                                                   of operations,                      statement, and
                                                                                                                                        cash-flow statement,                               income tax
                                                                                                                                                                               federal income
                                                                                                                                                                        and federal                    tax return,    or if
                                                                                                                                                                                                             return, or  if
                                                                                any of
                                                                                any               documents do
                                                                                          these documents
                                                                                      of these                   do not     exist, follow
                                                                                                                      not exist,                  procedure in
                                                                                                                                            the procedure
                                                                                                                                    follow the                     in 11    U.S.C. §§ 1116(1)(B).
                                                                                                                                                                       11 U.S.C.           1116(1)(B).
                                                                                  ❑      Aplan
                                                                                         A      is being
                                                                                           plan is being filed
                                                                                                         filed with
                                                                                                               with this
                                                                                                                    this petition.
                                                                                                                         petition.
                                                                                 oo




                                                                                  ❑     Acceptances of
                                                                                        Acceptances         plan were
                                                                                                        the plan
                                                                                                     of the                      prepetition from
                                                                                                                       solicited prepetition
                                                                                                                 were solicited                   one or
                                                                                                                                             from one    more classes
                                                                                                                                                      or more         of creditors,
                                                                                                                                                              classes of            in
                                                                                                                                                                         creditors, in
                                                                                        accordance with
                                                                                        accordance          U.S.C. §
                                                                                                         11 U.S.C.
                                                                                                   with 11            1126(b).
                                                                                                                    § 1126(b).
                                                                                  ❑     The debtor
                                                                                        The               required to
                                                                                                      is required
                                                                                              debtor is                   file periodic
                                                                                                                      to file              reports (for
                                                                                                                               periodic reports           example, 10K
                                                                                                                                                     (for example,      10K and   10Q) with
                                                                                                                                                                             and 10Q)              Securities and
                                                                                                                                                                                              the Securities
                                                                                                                                                                                        with the                  and
                                                                                                                        according to
                                                                                                     Commission according
                                                                                        Exchange Commission
                                                                                        Exchange                                      to §   13 or
                                                                                                                                          § 13      15(d) of
                                                                                                                                                or 15(d)                         Exchange Act
                                                                                                                                                                     Securities Exchange
                                                                                                                                                               the Securities
                                                                                                                                                            of the                           Act of   1934. File
                                                                                                                                                                                                  of 1934.          the
                                                                                                                                                                                                               File the
                                                                                        Attachment to
                                                                                        Attachment          Voluntary Petition
                                                                                                       to Voluntary                      Non-Individuals Filing
                                                                                                                                    for Non-Individuals
                                                                                                                         Petition for                                      Bankruptcy under
                                                                                                                                                                       for Bankruptcy
                                                                                                                                                               Filing for                        Chapter 11
                                                                                                                                                                                        under Chapter       17
                                                                                        (Official Form
                                                                                        (Official Form 201A)
                                                                                                           201A) with
                                                                                                                   with this
                                                                                                                          this form.
                                                                                                                                form.         ,
                                                                                  ❑     The debtor
                                                                                        The           is aa shell
                                                                                              debtor is            company as
                                                                                                             shell company           defined in
                                                                                                                                 as defined                            Exchange Act
                                                                                                                                                         Securities Exchange
                                                                                                                                                   the Securities
                                                                                                                                                in the                             Act of  1934 Rule
                                                                                                                                                                                       of 1934           12b-2.
                                                                                                                                                                                                  Rule 12b-2.
                                                      {1 Chapter
                                                      ❑  Chapter 12
                                                                 12

 9.
 9.        Were prior
           Were             bankruptcy
                  prior bankruptcy                   No.
                                                  •E No.
           cases filed
           cases   filed by by or
                                or against
                                   against        oO
           the  debtor within
           the debtor     within the     last 88
                                    the last      ❑  Yes.
                                                     Yes.
           years?
           years?
           If more
           If more than
                    than 2   2 cases,
                               cases, attach
                                       attach a a
           separate list.
           separate   list.                               District
                                                          District                                                    When
                                                                                                                       When                                       Case number
                                                                                                                                                                  Case number
                                                          District
                                                          District                                                     When                                     _ Case
                                                                                                                                                                  Case number
                                                                                                                                                                       number




 Official Form
 Official Forrn 201
                201                                           Voluntary          for Non-Individuals
                                                                        Petition for
                                                              Voluntary Petition                     Filing for
                                                                                     Non-individuals Filing     Bankruptcy
                                                                                                            for Bankruptcy                                                                                    page 2
                                                                                                                                                                                                              page
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     Debtor
     Debtor
                 PlacerAcademy  Schools
                 Placer Academy Schools
                  Name
                  Name
                                                                                                                                              Case number (if known)


     10. Are
     10.       any bankruptcy
         Are any                   cases
                    bankruptcy cases              ■  yo
                                                   @ No
         pending or
         pending        being filed
                    or being          by aa
                               filed by           gO
                     partner or
         business partner
         business                  an
                               or an              ❑ Yes.
                                                     Yes.
         affiliate of
         affiliate of the
                      the debtor?
                           debtor?




          List all
          List all cases.
                   cases. If
                          If more
                             more than  1,
                                   than 1,
          attach a
          attach   aseparate   ist
                     separate list                          Debtor
                                                            Debtor                         -                                                ee                   Relationship
                                                                                                                                                              ee Relationship
                                                            District
                                                            District                                   a         ;        When
                                                                                                                          When               ee        _     ___ Case          ifknown
                                                                                                                                                                       number, if
                                                                                                                                                                 Case number,     known           __              en


  11. Why is
  41. Why          case filed
               the case
            is the            in
                        filed in             Check all
                                             Check          apply:
                                                       that apply:
                                                   aif that
      this district?
      this district?
                                              @
                                              ▪      Debtor       had its
                                                             has had
                                                     Debtor has                       principal place
                                                                           domicile, principal
                                                                       its domicile,                       business, or
                                                                                                        of business,
                                                                                                 place of                 principal assets
                                                                                                                       or principal          in this
                                                                                                                                     assets in   this district       180 days
                                                                                                                                                                for 180
                                                                                                                                                      district for            immediately
                                                                                                                                                                         days immediately
                                                                the date
                                                     preceding the
                                                     preceding             of this
                                                                     date of       petition or
                                                                              this petition    for a
                                                                                            or for    longer part
                                                                                                   a longer           such 180
                                                                                                                   of such
                                                                                                              part of             days than
                                                                                                                             180 days         in any
                                                                                                                                        than in   any other    district.
                                                                                                                                                       other district.

                                             {1
                                             ❑       A bankruptcy case
                                                     A bankruptcy      concerning debtor's
                                                                  case concerning          affiliate, general
                                                                                  debtor's affiliate,                  or partnership
                                                                                                              partner, or
                                                                                                      general partner,                is pending
                                                                                                                          partnership is pending in this district.
                                                                                                                                                 in this district.


       Doesthedebtorownor
  12. Does
  12.          the debtor own or             1. no
                                             [2 No
       hav possession
      have          ession ofof any
                                an
           ©  possession
      real property
             property or    of     any                   Answer below for
                                                         Answer below     each property
                                                                      for each               needs immediate
                                                                                        that needs
                                                                               property that                 attention. Attach
                                                                                                   immediate attention.                   sheets if
                                                                                                                               additional sheets
                                                                                                                        Attach additional           needed.
                                                                                                                                                 if needed.
      real              or personal
                           personal          CJ Yes.
                                             ❑  Yes.
      property
      property that     needs
                  that needs
      immediate attention?
      immediate      attention?                        Why  does the
                                                        Why does the property
                                                                     property need
                                                                              need immediate
                                                                                   immediate attention?
                                                                                             attention? (Check
                                                                                                        (Check all
                                                                                                               al/ that
                                                                                                                   that apply.)
                                                                                                                        apply.)
                                                            it poses
                                                         CI It
                                                         ❑              is alleged
                                                                     or is
                                                               poses or    alleged to pose a
                                                                                   to pose   threat of
                                                                                           a threat             and identifiable
                                                                                                       imminent and
                                                                                                    of imminent                  hazard to
                                                                                                                    identifiable hazard           health or
                                                                                                                                           public health
                                                                                                                                        to public           safety.
                                                                                                                                                         or safety.
                                                                 isthe
                                                            What is
                                                            What        hazard?
                                                                    the hazard?        |                             oo                 _                   oe
                                                         (1 It
                                                         ❑     needs to
                                                            it needs       physically secured
                                                                        be physically
                                                                     to be                       protected from
                                                                                              or protected
                                                                                      secured or                    weather.
                                                                                                                the weather.
                                                                                                           from the
                                                         (7 ItIt includes
                                                         ❑       inctudes perishable
                                                                          perishable goods
                                                                                      goods or   assets that
                                                                                              or assets        could quickly
                                                                                                          that could          deteriorate or
                                                                                                                      quickly deteriorate      tose value
                                                                                                                                           or lose                  attention (for
                                                                                                                                                           without attention
                                                                                                                                                    value without                  example,
                                                                                                                                                                              (for example,
                                                            livestock,   seasonal goods,
                                                            livestock, seasonal            meat, dairy,
                                                                                   goods, meat,    dairy, produce,   or securities-related
                                                                                                           produce, or                      a ssets or
                                                                                                                        securities-related assets    or other
                                                                                                                                                        other options).
                                                                                                                                                              options).

                                                         Mother
                                                         ❑ Other                                           i
                                                        Where is
                                                        Where        property?
                                                                 the property?
                                                              is the                                                       ee                          ee
                                                                                                      Number, Street,
                                                                                                      Number, Street, City,
                                                                                                                      City, State
                                                                                                                            State &
                                                                                                                                  & ZIP
                                                                                                                                    ZIP Code
                                                                                                                                        Code
                                                        is the
                                                        Is the property
                                                               property insured?
                                                                        insured?

                                                        C1 No
                                                        ❑  No
                                                        ❑  Yes.
                                                        Dl Yes.        Insurance agency
                                                                       insurance agency                                                                          ;        ;
                                                                               name
                                                                       Contact name
                                                                       Contact                 _                            ee                              ee
                                                                       Phone
                                                                       Phone                   weno        env        “         setts   tne        a         ce      tp




PE            statistical
                Statistical and                information
                                administrative information
                            and administrative

 13. Debtor's
 13.                      of
               estimation of
     Debtor's estimation                 .           Check one:
                                                     Check one:
         ik
     available funds
     available funds                                 C1 Funds
                                                     ❑        will be
                                                        Funds will    available for
                                                                   be available     distribution to
                                                                                for distribution              creditors.
                                                                                                    unsecured creditors.
                                                                                                 to unsecured

                                                     & After
                                                     ■       any administrative
                                                       After any                expenses are
                                                                 administrative expenses     paid, no
                                                                                         are paid,    funds will
                                                                                                   no funds      be available
                                                                                                            will be           to unsecured
                                                                                                                    available to           creditors.
                                                                                                                                 unsecured creditors.

 14, Estimated
 14.  Estimated number
                number of
                       of                1 1-49
                                         ❑ 1-49                                                            DF 1,000-5,000
                                                                                                           ❑   1,000-5,000                                                [] 25,001-50,000
                                                                                                                                                                          ❑   25,001-50,000
     creditors
      creditors                          ® 50-99                                                           CJ 5001-10,000
                                                                                                           ❑   5001-10,000                                                0) 50,001-100,000
                                                                                                                                                                          ❑   50,001-100,000
                                          ■ 50-99
                                         ❑  100-199
                                         ( 100-199                                                         ❑   10,001-25,000
                                                                                                           (2) 10,001-25,000                                              C1] More
                                                                                                                                                                          ❑   More than100,000
                                                                                                                                                                                    than100,000
                                         QD 200-999
                                         ❑  200-999

 15. Estimated
 15,           Assets
     Estimated Assets                       $0 -- $50,000
                                         C] $0
                                         ❑        $50,000                                                  ❑  $1,000,001 -- $10
                                                                                                           1 $1,000,001          million
                                                                                                                            $10 million                                C1 $500,000,001
                                                                                                                                                                       ❑  $500,000,001 -- $1
                                                                                                                                                                                          $1 billion
                                                                                                                                                                                               billion
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 Official Form
 Official      201
          Form 201                                    Voluntary Petition
                                                      Voluntary          for Non-Individuals
                                                                Petition for                 Filing for
                                                                             Non-individuals Filing     Bankruptcy
                                                                                                    for Bankruptcy                                                                                     page 33
                                                                                                                                                                                                       page
Filed 02/14/23                                              Case 23-20455                                                                                   Doc 1

   Debtor
   Debtor    PlacerAcademy
             Placer Academy Schools
                            Schools                         ee        -           oo       Case number
                                                                                           Case number (if(if known)
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 Official Form
 Official Form 201
               201                Voluntary Petition
                                  Voluntary Petition for
                                                     for Non-Individuals
                                                         Non-Individuals Filing
                                                                         Filing for
                                                                                for Bankruptcy
                                                                                    Bankruptcy                                                     page 4
                                                                                                                                                   page 4
Filed 02/14/23                                                                         Case 23-20455                                                                                 Doc 1




           Dtt,--   Placer Acadenv
                    Placer         Schools
                           Academy Schools
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          1111      Request ler Rohe( Declaration, and Signatures

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                                                 Sacramento,       CA 95814
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                                                 Contact phone         (916) 444-1000
                                                                       (916) 444-1000                    Email addrees          baton@downeybrand.com
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Filed 02/14/23                                                                     Case 23-20455                                                                              Doc 1




      Fill in
      Fill in this
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                   information to
                               to identify
                                  identify the case:
                                           the case:

      Debtorname
      Debtor name       Placer Academy
                        Placer Academy Schools
                                       Schools

      United                   Court for
                    Bankruptcy Court
             States Bankruptcy
      United States                       the:
                                      for the:             EASTERN DISTRICT
                                                           EASTERN             CALIFORNIA
                                                                            OF CALIFORNIA
                                                                   DISTRICT OF

      Case number
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     Official Form
     Official Form 202
                   202
     Declaration Under
     Declaration               of Perjury
                       Penalty of
                 Under Penalty                               Debtors
                                              Non-Individual Debtors
                                          for Non-Individual
                                  Perjury for                                                                                                                         i2s
                                                                                                                                                                      12/15

     An individual
     An              who is
         individual who                   to act
                              authorized to
                           is authorized              behalf of
                                                  on behalf
                                             act on                 non-individual debtor,
                                                                 a non-individual
                                                              of a                                  as a
                                                                                              such as
                                                                                    debtor, such          corporation or
                                                                                                        a corporation   or partnership,           sign and
                                                                                                                                           must sign
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                                                                                                                                                             submit this
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                                of assets                    any other
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     and the
     and  the date.
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                                    Rules 1008
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     WARNING --
     WARNING                    fraud is
                   Bankruptcy fraud
                -- Bankruptcy               serious crime.
                                          a serious
                                       is a                     Making a
                                                      crime. Making        false statement,
                                                                         a false            concealing property,
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                                                                                                                  or obtaining
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                                                                                                                                   18 U.S.C.           1341,
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     1519, and 3571.
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          Declaration and signature


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            individual serving
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            •        Schedule A/B:
                     Schedule                  and Personal
                                   Assets—Real and
                              A/B: Assets—Real                       (Official Form
                                                            Property (Official
                                                   Personal Property                206A/B)
                                                                               Form 206A/B)
           E Ee




                     Schedule D:
                     Schedule    Creditors Who
                              D: Creditors          Claims Secured
                                               Have Claims
                                           Who Have                by Property
                                                           Secured by Property (Official      206D)
                                                                                         Form 206D)
                                                                               (Official Form
                              E/E: Creditors
                     Schedule E/F:
                     Schedule                    Have Unsecured
                                             Who Have
                                   Creditors Who                       (Official Form
                                                                Claims (Official
                                                      Unsecured Claims                206E/F)
                                                                                 Form 206E/F)
           REA




                              G: Executory
                     Schedule G:
                     Schedule                        and Unexpired
                                           Contracts and
                                 Executory Contracts     Unexpired Leases (Official Form
                                                                   Leases (Official      206G)
                                                                                    Form 206G)
                     Schedule H:
                     Schedule H: Codebtors
                                 Codebtors (Official
                                           (Official Form
                                                     Form 206H)
                                                          206H)
                             of Assets
                     Summary of
                     Summary               Liabilities for
                                       and Liabilities
                                Assets and                                 (Official Form
                                                           Non-Individuals (Official
                                                       for Non-Individuals                206Sum)
                                                                                     Form 206Sum)
           HBOOR




                    Amended Schedule
                    Amended    Schedule
                    Chapter 11
                    Chapter        Chapter 99 Cases:
                                or Chapter
                             11 or                     List of
                                              Cases: List      Creditors Who
                                                            of Creditors      Have the
                                                                         Who Have         Largest Unsecured
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                                                                                                            Claims and
                                                                                                  Unsecured Claims     Are Not          (Official Form
                                                                                                                               Insiders (Official
                                                                                                                           Not Insiders                204)
                                                                                                                                                  Form 204)
            •       Other document that
                    Other document   that requires    declaration
                                          requires aa declaration      Placer Academy
                                                                       Placer             Schools Consent
                                                                               Academy Schools                Resolution
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                                                                           Jill    Godtland
                                                                           Printed name

                                                                           Executive Director
                                                                           Executive     Director
                                                                           Position or
                                                                           Position or relationship
                                                                                       relationship to
                                                                                                    to debtor
                                                                                                       debtor




    Official      202
             Form 202
    Official Form                                                Declaration Under Penalty
                                                                 Declaration Under         of Perjury
                                                                                   Penalty of Perjury for                Debtors
                                                                                                          Non-Individual Debtors
                                                                                                      for Non-Individual
Filed 02/14/23                                                                      Case 23-20455                                                                                           Doc 1

      Fill in
      Fill in this information to
              this information to identify
                                  identify the
                                           the case:
                                               case:

      Debtorname
      Debtor name        Placer Academy
                         Placer Academy Schools
                                        Schools

     United States
     United                   Court for
                   Bankruptcy Court
            States Bankruptcy           the:
                                    for the:             EASTERN DISTRICT
                                                         EASTERN             CALIFORNIA
                                                                          OF CALIFORNIA
                                                                 DISTRICT OF

     Case number
     Case number (if
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     Official Form
     Official Form 206Sum
                   206Sum
     Summary of
     Summary of Assets
                Assets and
                       and Liabilities
                           Liabilities for
                                       for Non-Individuals
                                           Non-Individuals                                                                                                                         12/15
                                                                                                                                                                                   12/15

         Summary of
     REM Summary of Assets
                    Assets

     1.
     1.   Schedule A/B:
          Schedule A/B: Assets-Real
                        Assets-Real and
                                    and Personal
                                        Personal Property
                                                 Property (Official
                                                          (Official Form
                                                                    Form 206A/B)
                                                                         206A/B)

          1a. Real
          la. Real property:
                   property:
              Copy line
              Copy line 88
                        88 from
                           from Schedule
                                Schedule A/B
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          1b. Total
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          1c. Total
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                        all property:
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    Gee Summary of
    MEI Summary of Liabilities
                   Liabilities


     2.
     2.   Schedule D:
          Schedule       Creditors Who
                     D: Creditors         Have Claims
                                     Who Have            Secured by
                                                  Claims Secured  by Property     (Official Form
                                                                      Property (Official            206D)
                                                                                              Form 206D)
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                          dollar amount
                                 amount listed
                                         listed in
                                                in Column
                                                   Column A,
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                                                                                                of Schedule
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     3.
     3.   Schedule      Creditors Who
                   E/F: Creditors
          Schedule E/F:           Who Have
                                      Have Unsecured Claims (Official
                                           Unsecured Claims           Form 206E/F)
                                                            (Official Form 206E/F)

          3a. Total
          3a. Total claim
                    claim amounts
                            amounts of of priority
                                          priority unsecured
                                                     unsecured claims:
                                                                 claims:
              Copy the
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                        total claims
                              claims from
                                     from Part
                                            Part 11 from
                                                    from line
                                                         line 5a
                                                              5a of
                                                                 of Schedule
                                                                    Schedule E/F
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          3b. Total
          3b. Total amount
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                                   claims of
                                          of nonpriority
                                             nonpriority amount
                                                           amount of of unsecured
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                        total of  the amount
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                                              of claims
                                                 claims from  Part 22 from
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     Official Form 206Sum
     Official Form 206Sum                                  Summary of Assets
                                                           Summary of        and Liabilities
                                                                      Assets and Liabilities for Non-Individuals
                                                                                             for Non-Individuals                                                                   page 1
                                                                                                                                                                                   page 1
Filed 02/14/23                                                               Case 23-20455                                                                                     Doc 1

       Fill in
       Fill in this
               this information
                    information to identify the
                                to identify     case:
                                            the case:

       Debtorname
       Debtor name          Placer Academy
                            Placer         Schools
                                   Academy Schools

      United States
      United States Bankruptcy
                    Bankruptcy Court
                               Court for
                                     for the:
                                         the:         EASTERN DISTRICT
                                                      EASTERN DISTRICT OF
                                                                       OF CALIFORNIA
                                                                          CALIFORNIA

      Case number
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     Official Form
     Official Form 206A/B
                    206A/B
     Schedule A/B:
     Schedule         Assets -- Real
                 A/B: Assets                      Property
                                         Personal Property
                                     and Personal
                                Real and                                                                                                                              12/45
                                                                                                                                                                      12/15
               all property,
     Disclose all
     Disclose                       and personal,
                               real and
                   property, real                             the debtor
                                                      which the
                                          personal, which                   owns or
                                                                   debtor owns     or in         the debtor
                                                                                         which the
                                                                                      in which                     any other
                                                                                                              has any
                                                                                                      debtor has                       equitable, or
                                                                                                                                legal, equitable,
                                                                                                                        other legal,                           interest.
                                                                                                                                                       future interest.
                                                                                                                                                    or future
             all property
     Include all
     Include      property in   which the
                            in which                  holds rights
                                            debtor holds
                                        the debtor                                  exercisable for
                                                                          powers exercisable
                                                                     and powers
                                                             rights and                                the debtor's
                                                                                                   for the                  benefit. Also
                                                                                                                      own benefit.
                                                                                                           debtor's own                               assets and
                                                                                                                                            include assets
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                                                                                                                                                              and properties
            have no
     which have
     which                   value, such
                       book value,
                   no book                  as fully
                                      such as   fully depreciated             or assets
                                                                      assets or
                                                       depreciated assets         assets that   were not
                                                                                          that were                      In Schedule
                                                                                                           capitalized. In
                                                                                                       not capitalized.     Schedule A/B,     list any
                                                                                                                                        AJB, list  any executory     contracts
                                                                                                                                                        executory contracts
        unexpired leases.
     or unexpired
     or                       Also list
                     leases. Also        them on
                                    list them       Schedule G:
                                               on Schedule                       Contracts and
                                                                    Executory Contracts
                                                                G: Executory                       Unexpired Leases
                                                                                              and Unexpired              (Official Form
                                                                                                                Leases (Official          206G).
                                                                                                                                    Form 206G).

     Be  as complete
     Be as   complete and     accurate as
                        and accurate    as possible.
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                                                                         is needed,             separate sheet
                                                                                     attach aa separate           to this
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     the debtor's
     the  debtor’s name
                    name andand case
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      For            through Part
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                                     11, list
                               Part 11,                      under the
                                                      asset under
                                               each asset            the appropriate    category or
                                                                          appropriate category        attach separate
                                                                                                   or attach            supporting schedules,
                                                                                                              separate supporting                  such as
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                                                                                                                                                                 fixed asset
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       schedule or
      schedule                          schedule, that
                        depreciation schedule,
                    or depreciation                               the details
                                                           gives the
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                                                                                          asset in    particular category.        each asset
                                                                                                                            List each
                                                                                                                 category. List                      once. In
                                                                                                                                              only once.
                                                                                                                                        asset only              valuing the
                                                                                                                                                            In valuing   the
      debtor's               do not
                  interest, do
      debtor's interest,              deduct the
                                 not deduct          value of
                                                 the value      secured claims.
                                                             of secured    claims. See       instructions to
                                                                                         the instructions
                                                                                    See the                    understand the
                                                                                                            to understand   the terms   used in
                                                                                                                                 terms used      this form.
                                                                                                                                              in this  form.
                       Cash and
                       Cash  and cash
                                   cash equivalents
                                          equivalents
     1. Does
     1.  Does the
                the debtor
                      debtor have
                              have any
                                     any cash
                                           cash oror cash
                                                     cash equivalents?
                                                            equivalents?

            CJ No.
            ❑  No. Go
                   Go to
                      to Part
                         Part 2.
                              2.
            EE Yes
            ■   Yes Fill
                    Fill in
                         in the
                            the information
                                information below.
                                            below.
            All cash or
            All cash             equivalents owned
                           cash equivalents
                       or cash                         controlled by
                                                    or controlled
                                              owned or            by the debtor
                                                                     the debtor                                                                      Current         of
                                                                                                                                                              value of
                                                                                                                                                     Current value
                                                                                                                                                     debtor's interest
                                                                                                                                                     debtor's  interest

     3.3.         Checking, savings,
                  Checking,   savings, money
                                         money market,
                                                 market, or
                                                         or financial
                                                             financial brokerage
                                                                       brokerage accounts
                                                                                  accounts (Identify
                                                                                             (/dentify a//)
                                                                                                       all)
                        of institution
                  Name of
                  Name                 (bank or
                           institution (bank               firm)
                                                brokerage firm)
                                             or brokerage                      Type of account
                                                                               Type of account                           Last 4
                                                                                                                         Last   digits of
                                                                                                                              4 digits    account
                                                                                                                                       of account
                                                                                                                         number
                                                                                                                         number


                  3.1.
                  3.1.     Wells Fargo
                           Wells                Account
                                       Checking Account
                                 Fargo Checking                                   Business checking
                                                                                  Business checking                                                             $112,411.21
                                                                                                                                                                $112,411.21




      4.
      4.          Other cash
                  Other cash equivalents
                             equivalents (Identify
                                         (/dentify all)
                                                   all)

     5.5.         Total of
                  Total of Part
                           Part 1.
                                1.                                                                                                                          $112,411.21
                                                                                                                                                            $1  2 4 1 21
                  Add lines
                  Add lines 2
                            2 through
                              through 4 4 (including
                                          (including amounts
                                                     amounts on
                                                             on any
                                                                any additional
                                                                    additional sheets).
                                                                               sheets). Copy
                                                                                        Copy the
                                                                                             the total
                                                                                                 total to
                                                                                                       to line
                                                                                                          line 80.
                                                                                                               80.

                         Deposits and
                         Deposits and Prepayments
                                      Prepayments
     6. Does
     6. Does the
             the debtor
                 debtor have
                        have any
                             any deposits
                                 deposits or
                                          or prepayments?
                                             prepayments?

            C] No.
            ❑  No. Go
                   Go to
                      to Part
                         Part 3.
                              3.
            EE Yes
            ■  Yes Fill
                   Fill in
                        in the
                           the information
                               information below.
                                           below.

     7.
     7.           Deposits, including
                  Deposits,   including security
                                          security deposits
                                                    deposits and
                                                              and utility
                                                                    utility deposits
                                                                            deposits
                  Description, including
                  Description,  including name
                                           name of
                                                 of holder
                                                    holder of
                                                           of deposit
                                                              deposit


                  7.1.
                  7.1.    Placer County Association
                          Placer County Association of
                                                    of Realtors,
                                                       Realtors, Inc.
                                                                 Inc.                                                                                             $25,000.00
                                                                                                                                                                  $25,000.00



    8.8.          Prepayments, including
                  Prepayments,    including prepayments
                                             prepayments on on executory
                                                                executory contracts,
                                                                          contracts, leases,
                                                                                     leases, insurance,
                                                                                             insurance, taxes,
                                                                                                        taxes, and
                                                                                                               and rent
                                                                                                                   rent
                  Description, including
                  Description, including name
                                         name of
                                               of holder
                                                  holder of
                                                         of prepayment
                                                            prepayment

     9.
     9.           Total of
                  Total of Part
                           Part 2.
                                2.                                                                                                           r               $25,000.00
                                                                                                                                                             $25,000.00
                  Add lines
                  Add lines 7
                            7 through
                              through 8.
                                      8. Copy
                                         Copy the
                                              the total
                                                  total to
                                                        to line
                                                           line 81.
                                                                81.

    Official Form
    Official      206A/B
             Form 206A/B                                      Schedule A/B
                                                              Schedule A/B Assets    Real and
                                                                           Assets -- Real and Personal Property
                                                                                              Personal Property                                                         page 1
                                                                                                                                                                        page
Filed 02/14/23                                                                    Case 23-20455                                                                               Doc 1

      Debtor
      Debtor         Placer Academy
                     Placer         Schools
                            Academy Schools                                                                          Case number (/f
                                                                                                                     Case number       known)
                                                                                                                                   (If known)
                     Name
                     Name


                     Accounts receivable
                     Accounts receivable
     10. Does
     10. Does the
              the debtor
                  debtor have
                         have any
                              any accounts
                                  accounts receivable?
                                           receivable?

           [1 No.
           ❑  No. Go
                  Go to
                     to Part
                        Part 4.
                             4.
           EE Yes
           ■  Ves Fill
                  Fill in
                       in the
                          the information
                               information below.
                                           below.

      11.
      11.        Accounts receivable
                 Accounts receivable

                 11a.    days old
                      90 days
                 11a. 90             less:
                                  or less:
                              old or                                          1.00
                                                                              1.00       -                                      0.00 =...
                                                                                                                                0.00                                      $1.00
                                                                                                                                                                          $1.00
                                                  face amount
                                                  face amount                                    doubtful or
                                                                                                 doubtful or uncollectible
                                                                                                             uncollectible accounts
                                                                                                                           accounts




      12.
      12.        Total of
                 Total of Part
                          Part 3.
                               3.                                                                                                                                  $1.00
                 Current value
                 Current value on
                               on lines
                                  lines 11a
                                        11a ++ 11
                                               11bb == line
                                                       line 12.
                                                            12. Copy
                                                                Copy the
                                                                     the total
                                                                         total to
                                                                               to line
                                                                                  line 82.
                                                                                       82.

                  investments
                  Investments
     13. Does
     13. Does the
              the debtor
                   debtor own
                          own any
                              any investments?
                                  investments?

         EE No.
         ■  No. Go
                Go to to Part
                          Part 5.
                                5.
         O Yes
         ❑  Yes Fill
                Fill in
                     in the
                         the information
                              information below.
                                          below.


                  inventory, excluding
                              excluding agriculture
                                         agriculture assets
                                                     assets
     OM
     18. Does the
                  Inventory,
                   debtor own
     18. Does the debtor own anyany inventory
                                    inventory (excluding
                                               (excluding agriculture
                                                           agriculture assets)?
                                                                       assets)?

         EB No.
         ■  No. Go
                Go to to Part
                          Part 6.
                                6.
         D Yes
         ❑  Yes Fill
                Fill in
                     in the
                         the information
                              information below.
                                          below.


      Part 6:        Farming and fishing-related
                     Farming and                        (other than
                                                 assets (other
                                 fishing-related assets                    motor vehicles
                                                                    titled motor
                                                               than titled                    land)
                                                                                          and land)
                                                                                 vehicles and
         Does the
     27. Does
     27.          debtor own
              the debtor        lease any
                             or lease
                         own or           farming and
                                      any farming                     assets (other
                                                      fishing-related assets
                                                  and fishing-related               than titled
                                                                             (other than              vehicles and
                                                                                                motor vehicles
                                                                                         titied motor              land)?
                                                                                                               and land)?

        Ei No.
        ■  No. Go
               Go to to Part
                         Part 7.
                               7.
        D Yes
        ❑  Yes Fill
               Fill in
                    in the
                        the information
                             information below.
                                         below.


                  Office furniture,
                  Office furniture, fixtures,
                                     fixtures, and
                                               and equipment;
                                                     equipment; andand collectibles
                                                                        collectibles
     38. Does
     38.      the debtor
         Does the         own or
                  debtor own       lease any
                                or lease       office furniture,
                                           any office             fixtures, equipment,
                                                       furniture, fixtures,                collectibles?
                                                                                        or collectibles?
                                                                             equipment, or

        [1] No.
        ■   No. Go
                Go to
                   to Part
                      Part 8.
                           8.
        EE Yes
        ■  Yes Fill
               Fill in
                    in the
                       the information
                           information below.
                                       below.

                General description
                General description                                                          Net        value of
                                                                                                  book value
                                                                                             Net book           of          Valuation         used
                                                                                                                                       method used
                                                                                                                            Valuation method         Current value
                                                                                                                                                     Current  value of
                                                                                                                                                                     of
                                                                                             debtor's interest
                                                                                             debtor's  interest             for current
                                                                                                                            for current value
                                                                                                                                        value        debtor's interest
                                                                                                                                                     debtor's  interest
                                                                                             (Where available)
                                                                                             (Where  available)

     39.
     39.        Office furniture
                Office furniture
                Student   desks, bookshelves,
                Student desks,                        etc.
                                              tables, etc.
                                 bookshelves, tables,                                                         $0.00
                                                                                                              $0.00                                                   $1.00
                                                                                                                                                                      $1.00



     40.
     40.        Office fixtures
                Office fixtures

     41.
     41.        Office equipment,
                Office equipment, including
                                   including all
                                             all computer
                                                 computer equipment
                                                           equipment and
                                                                     and
                communication systems
                communication    systems equipment
                                          equipment and
                                                      and software
                                                          software
                             iPads
                Education iPads
                Education                                                                                     $0.00
                                                                                                              $0.00                                                $300.00
                                                                                                                                                                   $300.00



     42.
     42.        Collectibles Examples:
                Collectibles                 Antiques and
                                Examples: Antiques       and figurines;                prints, or
                                                                           paintings, prints,
                                                              figurines; paintings,                       artwork;
                                                                                                   other artwork;
                                                                                                or other
                books, pictures,
                books,             or other
                         pictures, or         art objects;
                                       other art            china and
                                                  objects; china         crystal; stamp,
                                                                   and crystal;             coin, or
                                                                                   stamp, coin,                  card
                                                                                                      baseball card
                                                                                                   or baseball
                collections; other
                collections;  other collections,
                                     collections, memorabilia,
                                                    memorabilia, or or collectibles
                                                                       collectibles
    Official Form
    Official      206A/B
             Form 206A/B                                         Schedule A/B Assets
                                                                 Schedule NB            Real and
                                                                              Assets -- Real              Property
                                                                                                 Personal Property
                                                                                             and Personal                                                            page 2
                                                                                                                                                                     page 2
Filed 02/14/23                                                           Case 23-20455                                               Doc 1

      Debtor
      Debtor        Placer Academy
                    Placer         Schools
                           Academy Schools                                                           Case number (ff
                                                                                                     Case number      known)
                                                                                                                  (If known)
                    Name
                    Name



      43.
      43.       Total of
                Total  of Part
                          Part 7.
                                7.                                                                                             $301.00
                                                                                                                               $301.00
                Add lines
                Add  lines 39
                           39 through
                               through 42.
                                       42. Copy
                                           Copy the
                                                the total
                                                    total to
                                                          to line
                                                             line 86.
                                                                  86.

      44.
      44.       Is a
                Is                schedule available
                     depreciation schedule
                   a depreciation                    for any
                                           available for     of the
                                                         any of     property listed
                                                                the property        in Part
                                                                             listed in      7?
                                                                                       Part 7?
                r No
                  No
                Cl Yes
                ❑  Yes

      45.
      45.       Has     of the
                    any of
                Has any    the property listed in
                               property listed    Part 7
                                               in Part                     a professional
                                                                        by a
                                                              appraised by
                                                         been appraised
                                                       7 been                professional within the last
                                                                                          within the      year?
                                                                                                     last year?
                EiNo
                ■ No
                Cl Yes
                ❑  Yes

      Part 8:      Machinery, equipment,
                   Machinery, equipment, and
                                         and vehicles
                                             vehicles
     46. Does
     46. Does the
              the debtor
                  debtor own
                         own or
                             or lease
                                lease any
                                      any machinery,
                                          machinery, equipment,
                                                     equipment, or
                                                                or vehicles?
                                                                   vehicles?

         EE No.
         ■  No. Go
                Go to
                   to Part
                      Part 9.
                           9.
         D Yes
         ❑ Yes Fill
               Fill in
                    in the
                       the information
                           information below.
                                       below.


      Part 9:      Real property
     54. Does
     54. Does the
              the debtor
                  debtor own
                         own o
                             or lease any real
                                ease any  real property?
                                               property?

         EB No.
         ■  No. Go
                Go to
                   to Part
                      Part 10.
                           10.
        QD Yes
        ❑  Yes Fill
               Fill in
                    in the
                       the information
                           information below.
                                       below.


     Part 10:
     Part 10:      Intangibles and
                   Intangibles and intellectual
                                   intellectual property
                                                property
     59. Does
     59. Does the
              the debtor
                  debtor have
                         have any
                              any interests
                                  interests in
                                            in intangibles
                                               intangibles or
                                                           or intellectual
                                                              intellectual property?
                                                                           property?

        EE No.
        ■  No. Go
               Go to
                  to Part
                     Part 11.
                          11.
          Yes Fill
        ❑ Yes Fill in
                   in the
                      the information
                          information below.
                                      below.


      eae          All other
                   All other assets
                             assets
         Does the
     70. Does
     70.              debtor own
                the debtor           any other
                               own any         assets that
                                         other assets             not yet
                                                            have not
                                                       that have                 reported on
                                                                           been reported
                                                                      yet been              on this form?
                                                                                               this form?
         Include all
         Include       interests in
                  all interests                         and unexpired
                                              contracts and
                                    executory contracts
                                 in executory                           leases not
                                                             unexpired leases                  reported on
                                                                                    previously reported
                                                                               not previously                   form.
                                                                                                           this form.
                                                                                                        on this


          No. Go
        ■ No. Go to
                 to Part
                    Part 12.
                         12.
        1] Yes
        ❑  Yes Fill
               Fill in
                    in the
                       the information
                           information below.
                                       below.




    Official Form
    Official      206A/B
             Form 206A/B                                   Schedule A/B
                                                           Schedule     Assets -- Real
                                                                    A/B Assets         and Personal
                                                                                  Real and          Property
                                                                                           Personal Property                    page 33
                                                                                                                                page
Filed 02/14/23                                                        Case 23-20455                                                               Doc 1

     Debtor
     Debtor        Placer Academy
                   Placer Academy Schools
                                  Schools                                                Case number
                                                                                         Case number (if  known)
                                                                                                      (If known)
                   Name
                   Name



      ela ee       Summary
                   Summary

     In Part
     In Part 12
              12 copy
                 copy all
                       all of
                           of the
                              the totals
                                  totals from
                                         from the
                                              the earlier
                                                  earlier parts
                                                          parts of
                                                                of the
                                                                   the form
                                                                       form
            Type of
            Type  of property
                     property                                                 Current value
                                                                              Current       of
                                                                                      value of             Current  value of
                                                                                                            Current value of real
                                                                                                                             real
                                                                              personal property
                                                                              personal property             property.
                                                                                                            property

     80. Cash,
     80. Cash, cash
               cash equivalents,
                    equivalents, and
                                 and financial
                                     financial assets.
                                               assets.
           Copy line
           Copy line 5,
                     5, Part
                        Part 17                                                        $112,411.21
                                                                                       $112,411.21

     81. Deposits
     81. Deposits and
                  and prepayments.
                      prepayments. Copy
                                   Copy line
                                        line 9,
                                             9, Part
                                                Part 2.
                                                     2.                                 $25,000.00
                                                                                        $25,000.00

     82. Accounts receivable.
     82. Accounts receivable. Copy
                              Copy line
                                   line 12,
                                        12, Part
                                            Part 3.
                                                 3.                                           $1.00
                                                                                              $1.00

     83. Investments.
     83. Investments. Copy
                      Copy line
                           line 17,
                                17, Part
                                    Part 4.
                                         4.                                                   $0.00
                                                                                              $0.00

     84. Inventory.
     84. Inventory. Copy
                    Copy line
                          line 23,
                               23, Part
                                   Part 5.
                                        5.                                                    $0.00
                                                                                              $0.00

     85. Farming and
     85. Farming and fishing-related
                     fishing-related assets.
                                     assets. Copy
                                             Copy line
                                                  line 33,
                                                       33, Part
                                                           Part 6.
                                                                6.                            $0.00
                                                                                              $0.00

     86. Office
     86. Office furniture,
                furniture, fixtures,
                           fixtures, and
                                     and equipment;
                                         equipment; and
                                                    and collectibles.
                                                        collectibles.
          Copy line
          Copy line 43,
                    43, Part
                        Part 7.
                             7.                                                            $301.00
                                                                                           $301.00

     87. Machinery,
     87. Machinery, equipment,
                    equipment, and
                               and vehicles.
                                   vehicles. Copy
                                             Copy line
                                                  line 51,
                                                       51, Part
                                                           Part 8.
                                                                8.                            $0.00
                                                                                              $0.00

     88. Real
     88. Real property.
              property. Copy
                        Copy line
                              line 56,
                                   56, Part
                                       Part 99.0. . cece
                                                       et eter rieeees                                                               $0.00
                                                                                                                                     $0.00

     89. Intangibles
     89. Intangibles and
                     and intellectual
                         intellectual property.
                                      property. Copy
                                                Copy line
                                                     line 66,
                                                          66, Part
                                                              Part 10.
                                                                   10.                        $0.00

     90. All other
     90. All other assets.
                   assets. Copy
                           Copy line
                                 line 78,
                                      78, Part
                                          Part 11.
                                               11.                                            $0.00

     91. Total.
     91. Total. Add
                Add lines
                    lines 80
                          80 through
                             through 90
                                     90 for
                                        for each
                                            each column
                                                 column                 |            $137,713.21      ++ 91b.
                                                                                                         91b.                       $0.00


     92. Total of
     92. Total of all
                  all property
                      property on
                               on Schedule
                                  Schedule A/B.
                                           A/B. Add
                                                Add lines
                                                     lines 91a+91b=92
                                                           91a+91b=92                                                               $137,713.21
                                                                                                                                    $137,713.21




    Official Form
    Official Form 206A/B
                  206A/B                                Schedule A/B
                                                        Schedule A/B Assets
                                                                     Assets -- Real
                                                                               Real and
                                                                                    and Personal
                                                                                        Personal Property
                                                                                                 Property                                    page 4
                                                                                                                                             page 4
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      Fillin
      Fill    this information
           in this information to
                               to identify
                                  identify the
                                           the case:
                                               case:

      Debtorname
      Debtor name      Placer Academy
                       Placer Academy Schools
                                      Schools

      United States
      United                   Court for
                    Bankruptcy Court
             States Bankruptcy           the.
                                     for the:      EASTERN DISTRICT
                                                   EASTERN             CALIFORNIA
                                                                    OF CALIFORNIA
                                                           DISTRICT OF

      Case number
      Case number (if
                  (if known)
                      known)
                                                                                                                                 ❑1   Check if
                                                                                                                                      Check if this
                                                                                                                                               this isis an
                                                                                                                                                         an
                                                                                                                                      amended filing
                                                                                                                                      amended    filing


     Official Form
     Official Form 206D
                    206D
     Schedule D:
     Schedule                   Who Have
                      Creditors Who
                  D: Creditors                  Secured by
                                         Claims Secured
                                    Have Claims            Property
                                                        by Property                                                                                     12/15
                                                                                                                                                        12/15

     Be as
     Be as complete
           complete and
                    and accurate
                        accurate as
                                 as possible.
                                    possible.
     14. Do
     1.  Do any
            any creditors
                creditors have
                          have claims
                               claims secured
                                      secured by
                                              by debtor's
                                                 debtor's property?
                                                          property?

          & No.
          ■     Check this
            No. Check      box and
                      this box     submit page
                               and submit      1 of
                                          page 1    this form
                                                 of this         the court
                                                              to the
                                                         form to           with debtor's
                                                                     court with          other schedules.
                                                                                debtor's other                   has nothing
                                                                                                          Debtor has
                                                                                               schedules. Debtor             else to
                                                                                                                     nothing else    report on
                                                                                                                                  to report         form.
                                                                                                                                               this form.
                                                                                                                                            on this
          CI Yes.
          ❑  Yes. Fill
                  Fill in
                       in all
                          all of
                              of the
                                 the information
                                     information below.
                                                 below.




    Official      206D
             Form 206D
    Official Form                               Schedule D:
                                                Schedule    Creditors Who
                                                         D: Creditors     Have Claims
                                                                      Who Have        Secured by
                                                                               Claims Secured    Property
                                                                                              by Property                                             page    of11
                                                                                                                                                      page 11 of
Filed 02/14/23                                                                          Case 23-20455                                                                                                    Doc 1

      Fill in
      Fill in this information to
              this information    identify the
                               to identify     case:
                                           the case:

      Debtorname
      Debtor name           Placer Academy
                            Placer Academy Schools
                                           Schools

      United States
      United                   Court for
                    Bankruptcy Court
             States Bankruptcy           the:
                                     for the:                EASTERN DISTRICT
                                                             EASTERN             CALIFORNIA
                                                                              OF CALIFORNIA
                                                                     DISTRICT OF

      Case number
      Case number (if
                  (if known)
                      known)
                                                                                                                                                                     ❑0)   Check if
                                                                                                                                                                           Check if this
                                                                                                                                                                                    this is
                                                                                                                                                                                         is an
                                                                                                                                                                                            an
                                                                                                                                                                           amended filing
                                                                                                                                                                           amended filing


     Official Form
     Official Form 206E/F
                     206E/F
     Schedule E/F:
     Schedule          Creditors Who
                 E/F: Creditors                     Claims
                                          Unsecured Claims
                                     Have Unsecured
                                 Who Have                                                                                                                                                      412/15
                                                                                                                                                                                               12/15
     Be       complete and
          as complete
      Be as                    accurate as
                          and accurate       as possible.      Part 1
                                                           Use Part
                                                possible. Use        1 for  creditors with
                                                                       for creditors                        unsecured claims
                                                                                                PRIORITY unsecured
                                                                                        with PRIORITY                                     Part 2
                                                                                                                                    and Part
                                                                                                                            claims and          2 for creditors with
                                                                                                                                                  for creditors   with NONPRIORITY                   claims.
                                                                                                                                                                                         unsecured claims.
                                                                                                                                                                       NONPRIORITY unsecured
     List              party to
                other party
           the other
      List the                    any executory
                              to any                 contracts or
                                        executory contracts                      leases that
                                                                   unexpired leases
                                                                or unexpired                     could result
                                                                                          that could                   claim. Also
                                                                                                                in aa claim.
                                                                                                        result in              Also list               contracts on
                                                                                                                                         executory contracts
                                                                                                                                    list executory                    Schedule A/B:
                                                                                                                                                                   on Schedule    A/B: Assets           and
                                                                                                                                                                                                 Real and
                                                                                                                                                                                       Assets -- Real
      Personal Property
     Personal                (Official Form
                  Property (Official                      and on
                                                206A/B) and
                                          Form 206A/B)            Schedule G:
                                                              on Schedule      G: Executory                   and Unexpired
                                                                                                  Contracts and
                                                                                   Executory Contracts                                      (Official Form
                                                                                                                                  Leases (Official
                                                                                                                     Unexpired Leases                                 Number the
                                                                                                                                                              206G). Number
                                                                                                                                                       Form 206G).                             Parts 1
                                                                                                                                                                                            in Parts
                                                                                                                                                                                    entries in
                                                                                                                                                                                the entries              and
                                                                                                                                                                                                      1 and
        in the
     22 in      boxes on
           the boxes        the left.
                        on the         If more
                                 left. If        space is
                                           more space      needed for
                                                        is needed       Part 1
                                                                   for Part      or Part
                                                                              1 or        2, fill
                                                                                    Part 2,       out and
                                                                                             fill out       attach the
                                                                                                      and attach                        Page of
                                                                                                                           Additional Page
                                                                                                                      the Additional           of that       included in
                                                                                                                                                        Part included
                                                                                                                                                  that Part             in this form.
                                                                                                                                                                           this form.

     (Eire List
           List All
                All Creditors
                    Creditors with PRIORITY Unsecured
                              with PRIORITY Unsecured Claims
                                                      Claims
            1. Do
            1. Do any
                  any creditors
                      creditors have
                                have priority
                                     priority unsecured
                                              unsecured claims?
                                                        claims? (See
                                                                (See 11
                                                                     11 U.S.C.
                                                                        U.S.C. §
                                                                               § 507).
                                                                                 507).

               CI No.
               El No. Go
                      Go to
                         to Part
                            Part 2.
                                 2.

               EB Yes.
                  Ves. Go
                       Go to line 2.
                          to line 2.

            2. List in
            2. List                          all creditors
                                      order all
                        alphabetical order
                    in alphabetical              creditors whowho have     unsecured claims
                                                                    have unsecured                      entitled to
                                                                                                    are entitled
                                                                                               that are
                                                                                       claims that                  priority in
                                                                                                                 to priority    whole or
                                                                                                                             in whole       part. If
                                                                                                                                         in part.
                                                                                                                                      or in          the debtor
                                                                                                                                                  If the        has more
                                                                                                                                                         debtor has      than 33 creditors
                                                                                                                                                                    more than    creditors
               with priority
               with priority unsecured
                             unsecured claims,
                                        claims, fill  out and
                                                 fill out and attach
                                                               attach the
                                                                       the Additional
                                                                           Additional Page
                                                                                      Page of
                                                                                            of Part
                                                                                               Part 1.
                                                                                                    1.

                                                                                                                                                            Total claim
                                                                                                                                                            Total claim             Priority amount
                                                                                                                                                                                    Priority amount

      2.1
      2.1       Priority            name and
                         creditor's name
                Priority creditor's                  address
                                             mailing address
                                         and mailing                         As    the petition
                                                                                of the
                                                                             As of                        date, the
                                                                                                   filing date,
                                                                                         petition filing                  is:
                                                                                                                    claim is:
                                                                                                                the claim                                         $19,797.69
                                                                                                                                                                  $19,797.69            $15,150.00
                                                                                                                                                                                        $15,150.00
                Jill Godtland
                Jill  Godtland                                               Check all
                                                                             Check   ail that
                                                                                         that apply.
                                                                                               apply.
                6390 Sporran
                6390  Sporran Court
                               Court                                         0
                                                                             C1 Contingent
                                                                                Contingent
                Rocklin,     95765
                          CA 95765
                Rocklin, CA                                                  ❑  Uniiquidated
                                                                             C) Unliquidated
                                                                            Ci Disputed
                                                                             0 Disputed

                Date or
                Date or dates
                        dates debt
                              debt was incurred
                                   was incurred                              Basis for
                                                                             Basis for the
                                                                                       the claim:
                                                                                           claim:
                wages   from December
                wages from   December 16,
                                      16, 2022
                                          2022 to
                                               to
                filing.
                filing.
                Last 44 digits
                Last    digits of
                               of account
                                  account number
                                          number                             Is the
                                                                             Is the clai
                                                                                    claim subject
                                                                                          subject to
                                                                                                  to offset?
                                                                                                     offset?
                Specify Code
                Specify Code subsection
                              subsection of
                                          of PRIORITY
                                             PRIORITY                        EE No
                                                                             1111 No
                unsecured claim:
                unsecured  claim: 11
                                  11 U.S.C.
                                     U.S.C. §§ 507(a)
                                               507(a) (4)
                                                      (4)
                                                                             Cl Yes
                                                                             0  Yes



     (EERE
     Part 2: List All
             List All Creditors
                      Creditors with
                                with NONPRIORITY
                                     NONPRIORITY Unsecured
                                                 Unsecured Claims
                                                           Claims
            3. List
            3.       in alphabetical
               List in                        all of
                                       order all
                        alphabetical order                creditors with
                                                     the creditors
                                                  of the                             unsecured claims.
                                                                         nonpriority unsecured
                                                                    with nonpriority                            debtor has
                                                                                                            the debtor
                                                                                               claims. IfIf the                 than 66 creditors
                                                                                                                           more than
                                                                                                                       has more                        nonpriority unsecured
                                                                                                                                                  with nonpriority
                                                                                                                                        creditors with                                fill
                                                                                                                                                                              claims, fill
                                                                                                                                                                   unsecured claims,
               out and
               out  and attach
                         attach the
                                the Additional
                                    Additional Page
                                                 Page of
                                                       of Part
                                                          Part 2.
                                                               2.
                                                                                                                                                                    Amount of
                                                                                                                                                                   Amount   of claim
                                                                                                                                                                                claim

     34
     3.1        Nonpriority creditor's
                Nonpriority creditor's name
                                       name and mailing address
                                            and mailing address                             As of the
                                                                                            As of     petition filing
                                                                                                  the petition        date, the
                                                                                                               filing date,           is: Check
                                                                                                                                claim is:
                                                                                                                            the claim           ai that
                                                                                                                                          Check all      apply.
                                                                                                                                                    that apply.                            $2,625.00
                                                                                                                                                                                           $2,625.00
               California Charter
               California    Charter School
                                       School Association
                                               Association                                  CJ Contingent
                                                                                            0  contingent
               PO Box
               PO    Box 86087
                          86087                                                             CJ Unliquidated
                                                                                            ❑  untiquidated
               Los Angeles,
               Los    Angeles, CACA 90086
                                     90086                                                  Cl Disputed
                                                                                            0  Disputed
               Date(s) debt was incurred 8/23/2022
               Date(s) debt was incurred 8/23/2022.                                         Basis for
                                                                                            Basis for the claim: CCSA
                                                                                                      the claim:                 through June
                                                                                                                      membership through
                                                                                                                 CCSA membership                  2023
                                                                                                                                              30, 2023
                                                                                                                                         June 30,
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number __
                                                                                            Is the
                                                                                            Is     claim subject
                                                                                               the claim subject to
                                                                                                                 to offset?
                                                                                                                    offset? Eno
                                                                                                                              No        0
                                                                                                                                        Cl Yes
                                                                                                                                           yes

     3.2
     3.2        Nonpriority creditor's
              I Nonpriority creditor's name and mailing
                                       name and mailing address
                                                        address                             As of the
                                                                                            As of     petition filing
                                                                                                  the petition filing date,
                                                                                                                      date, the       is: Check
                                                                                                                                claim is:
                                                                                                                            the claim           aif that
                                                                                                                                          Check all       apply.
                                                                                                                                                     that apply.                         $25,089.00
                                                                                                                                                                                         $25,089.00
               California Department
               California Department of
                                     of Education
                                        Education                                           Oi Contingent
                                                                                            0  contingent
               Accounting Office
               Accounting   Office                                                          D Unliquidated
                                                                                            0  unliquidated
               PO Box
               PO   Box 515006
                          515006                                                            oO Disputed
                                                                                            0  Disputed
               Sacramento, CA
               Sacramento,      CA 95815
                                     95815
                                                                                           Basis for
                                                                                           Basis      the claim:
                                                                                                  for the claim: School
                                                                                                                 School Fiscal
                                                                                                                        Fiscal Services
                                                                                                                               Services Division
                                                                                                                                        Division
               Date(s) debt was
               Date(s) debt was incurred
                                incurred 6/30/2022,
                                          6/30/2022, 9/9/222
                                                     9/9/222
               Last 4
               Last          of account
                      digits of
                    4 digits            number
                                account number_                                            Is                   to offset?
                                                                                                        subject to
                                                                                                  claim subject
                                                                                              the claim
                                                                                           Is the                          Eno
                                                                                                                   offset? • No         0
                                                                                                                                        Oves
                                                                                                                                          Yes




    Official Form
    Official      206E/F
             Form 206E/F                                              Schedule E/F: Creditors
                                                                      Schedule E/F:           Who Have
                                                                                    Creditors Who                Claims
                                                                                                       Unsecured Claims
                                                                                                  Have Unsecured                                                                              page    of 77
                                                                                                                                                                                              page 11 of
                                                                                                                                39538
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      Debtor       Placer Academy
                   Placer         Schools
                          Academy Schools                                                                   Case number
                                                                                                            Case number (if
                                                                                                                        (if known)
                                                                                                                            known)
                   Name
                   Name

     1133
       3.3   I Nonpriority creditor's name
               Nonpriority creditor's                  address
                                               mailing address
                                           and mailing
                                      name and                             As of the
                                                                           As of              filing date,
                                                                                     petition filing
                                                                                 the petition                  claim is:
                                                                                                           the claim
                                                                                                     date, the                 all that
                                                                                                                         Check all
                                                                                                                     is: Check           apnly
                                                                                                                                    that apply   $17,143.00
                                                                                                                                                 $17,143.00
               Charter School
               Charter    School Capital
                                    Capital                                C1 Contingent
                                                                           ❑  contingent
               1000 SW
               1000   SW Broadway
                            Broadway                                       1 unliquidated
                                                                           ❑ Unliquidated
               Suite 1800
               Suite   1800                                                C1 Disputed
                                                                           ❑  pisputed
               Portland, OR
               Portland,    OR 97205
                                 97205                                                          E     i     t Marketi
                                                                           Basis for
                                                                           Basis for the
                                                                                     the claim:
                                                                                         claim: Enrollment
                                                                                                  Enroliimen Marketing
                                                                                                                arketing
               Date(s) debt
               Date(s)       was incurred
                       debt was  incurred 3/31/2022
                                          3/31/2022                                          a
               Last 4 digits of account number                             Is the
                                                                           Is the claim
                                                                                  claim subject
                                                                                        subject to
                                                                                                to offset?
                                                                                                   offset? MI
                                                                                                           Hino
                                                                                                              No         Oves
                                                                                                                         ❑ Yes
               Last 4 digits of account number _

      3.4
      3.4       Nonpriority creditor's
             I| Nonpriority            name and
                            creditor's name             address
                                                mailing address
                                            and mailing                    As of the
                                                                           As of     petition filing
                                                                                 the petition        date, the
                                                                                              filing date,     claim is:
                                                                                                           the claim           aif that
                                                                                                                         Check all
                                                                                                                     is: Check          apply.
                                                                                                                                   that apply.   $13,551.00
                                                                                                                                                 $13,551.00
               Chartersafe
               Chartersafe                                                 DC) Contingent
                                                                           ❑   Contingent
               PO Box
               PO  Box 969
                       969                                                 (J Unliquidated
                                                                           ❑  unliquidated
               Weimar, CA
               Weimar,  CA 95736
                           95736                                           2 Disputed
                                                                           ❑ disputed
               Date(s) debt was incurred 11/17/2022, 1/17/2023                       the claim:
                                                                                 for the
                                                                           Basis for            Business insurance
                                                                                         claim: Business           and workers
                                                                                                         insurance and         comp
               Date(s) debt was incurred      11/17/2022, 1/17/2023        Basis                                       workers comp
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number __
                                                                           Is the
                                                                           Is the claim
                                                                                  claim subject
                                                                                        subject to
                                                                                                to offset?
                                                                                                   offset? IINo
                                                                                                             No          Dyes
                                                                                                                         ❑ Yes


      3.5      Nonpriority creditor's name
               Nonpriority creditor's                  address
                                               mailing address
                                           and mailing
                                      name and                             As
                                                                           As of     petition filing
                                                                                 the petition
                                                                              of the                       the claim
                                                                                                     date, the
                                                                                              filing date,     claim is:       aif that
                                                                                                                         Check all
                                                                                                                     is: Check          apply.
                                                                                                                                   that apply.    $7,350.00
                                                                                                                                                  $7,350.00
              Clifton Larson
              Clifton Larson Allen
                              Allen                                        C1 Contingent
                                                                           ❑  Contingent
              915 Highland
              915  Highland Pointe
                            Pointe Drive
                                    Drive                                  0 Unliquidated
                                                                           ❑ unliquidated
              Suite  300
             Suite 300                                                     DO Disputed
                                                                           ❑  Disputed
              Roseville, CA
              Roseville, CA 95678
                             95678
                                                                          Basis for
                                                                          Basis   for thethe claim:
                                                                                                claim: _
               Date(s) debt
               Date(s)        was incurred
                        debt was   incurred __                              asis    Tor tne claim:      —
                       digits of
               Last 44 digits of account   number _
                                 account number                           Is the claim
                                                                          Is the            subject to
                                                                                 claim subject                    Eno
                                                                                                          offset? El
                                                                                                      to offset?        Clyes
                                                                                                                     No ❑  Yes
               Last                               _

      3.6
      3.6                  creditor's name
               Nonpriority creditor's
             | Nonpriority                             address
                                               mailing address
                                           and mailing
                                      name and                            As of the
                                                                          As of              filing date,
                                                                                    petition filing
                                                                                the petition                  claim is:
                                                                                                          the claim
                                                                                                    date, the                 ail that
                                                                                                                        Check all
                                                                                                                    is: Check          apply.
                                                                                                                                  that apply.     $4,420.74
                                                                                                                                                  $4,420.74
               Core Knowledge
               Core    Knowledge Foundation
                                       Foundation                          D Contingent
                                                                           ❑ Contingent
               801 East
               801   East High
                            High Street
                                  Street                                   DO Unliquidated
                                                                           ❑  untiquidated
               Charlottesville, VA
               Charlottesville,     VA 22902
                                          22902                            ( Disputed
                                                                           ❑ Disputed
               Date(s) debt  was incurred   6/22/2022
               Date(s) debt was incurred 6/22/2022                        Basis for
                                                                                forthe  claim: Textbooks
                                                                                               Textbooks
                                                                          Basis     the claim:
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number __
                                                                          Is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?
                                                                                                  offset? 1Eno
                                                                                                           .1 No         Clves
                                                                                                                         ❑  Yes


     3.7
     3.7       Nonpriority            name and
                           creditor's name
               Nonpriority creditor's                  address
                                               mailing address
                                           and mailing                    As        petition filing
                                                                                the petition
                                                                             of the
                                                                          As of                     date, the
                                                                                             filing date,     claim is:
                                                                                                          the claim           aif that
                                                                                                                        Check all
                                                                                                                    is: Check           apply.
                                                                                                                                   that apply.   $50,457.59
                                                                                                                                                 $50,457.59
               EdTec Inc.
               EdTec    Inc.                                              C] Contingent
                                                                          ❑  contingent
               1266 66th
               1266   66th Street
                             Street                                       D2 Unliquidated
                                                                          ❑  unliquidated
               #4
               #4                                                         Cl Disputed
                                                                          ❑  disp
                                                                               isputed
               Emeryville, CA
               Emeryville,          94608
                               CA 94608                                                              Back      off           ;
                                                                          Basis for
                                                                                forthe  claim: Back
                                                                                                Back office
                                                                                                     ofice services.
                                                                                                            Services.
               Date(s)       was incurred
                       debt was
               Date(s) debt                            12/4/2022
                                          6/15/2022 -- 12/1/2022
                                 incurred 6/15/2022
                                                                          Basis
                                                                                 °r the claim:
                                                                                                 0
               Last 4 digits of
                    4 digits            number
                                account number
                             of account                                   Is the claim
                                                                          Is the claim subject    offset? Hino
                                                                                               to offset?
                                                                                       subject to            No          Oves
                                                                                                                         ❑ Yes
               Last                            _

     3.8
     3.8       Nonpriority creditor's name
               Nonpriority creditor's                  address
                                               mailing address
                                           and mailing
                                      name and                            As of the
                                                                          As of              filing date,
                                                                                    petition filing
                                                                                the petition                  claim is:
                                                                                                          the claim
                                                                                                    date, the                 ail that
                                                                                                                        Check all
                                                                                                                    is: Check           apply.
                                                                                                                                   that apply.   $3,653.66
                                                                                                                                                 $3,653.66
               Environmental Control
               Environmental       Control                                CJ Contingent
                                                                          ❑  Contingent
               311 Judah
               311   Judah Street
                              Street                                      D) Unliquidated
                                                                          ❑  unliquidated
               Roseville, CA
               Roseville,    CA 95678
                                  95678                                   C] Disputed
                                                                          ❑  Disputed
               Date(s) debt was incurred 12/01/2022.
               Date(s) debt was  incurred 12/01/2022                      Basis for
                                                                          Basis for the
                                                                                    the claim:
                                                                                        claim: Monthly
                                                                                               Monthly maintenance
                                                                                                       maintenance
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number _
                                               _
                                                                           Is the
                                                                          Is      claim subject
                                                                              the claim subject to
                                                                                                to offset?
                                                                                                   offset? & No
                                                                                                             No         [I Yes
                                                                                                                        ❑  Yes


     3.9
     3.9                    creditor's name
                Nonpriority creditor's
             I| Nonpriority                             address
                                                mailing address
                                            and mailing
                                       name and                           As of the
                                                                          As of              filing date,
                                                                                    petition filing
                                                                                the petition                  claim is:
                                                                                                          the claim
                                                                                                    date, the                 ail that
                                                                                                                        Check all
                                                                                                                    is: Check           apply.
                                                                                                                                   that apply.   $3,295.00
                                                                                                                                                 $3,295.00
              Explore Learning
              Explore Learning                                            O Contingent
                                                                          ❑ contingent
              PO Box
              PO  Box 84461
                      84461                                               [2] Unliquidated
                                                                          ❑   Unliquidated
              Boston, MA
              Boston, MA 02284
                           02284                                          C Disputed
                                                                          ❑ Disputed
               Date(s) debt
               Date(s)      was incurred
                       debt was incurred __                               Basis for
                                                                          Basis for the claim: Materials
                                                                                    the claim: Materials and
                                                                                                         and supplies
                                                                                                             supplies
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number ___
                                                                          is the
                                                                          Is     claim subject
                                                                             the claim subject toto offset?
                                                                                                    offset? Eno
                                                                                                              No        Dyes
                                                                                                                        ❑ Yes




    Official Form
    Official          E/F
                  206 E/F
             Form 206                                      Schedule E/F:
                                                           Schedule      Creditors Who
                                                                    E/F: Creditors     Have Unsecured
                                                                                   Who Have           Claims
                                                                                            Unsecured Claims                                       Page    of 77
                                                                                                                                                   Page 22 of
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      Debtor
      Debtor      Placer Academy
                  Placer Academy Schools
                                 Schools                                                             Case number
                                                                                                     Case number (if
                                                                                                                 (if known)
                                                                                                                     known)
                  Name
                  Name
      3.10               creditor's name
             Nonpriority creditor's
      3.10 | Nonpriority                             address
                                             mailing address
                                         and mailing
                                    name and                              As of the
                                                                          As of              filing date,
                                                                                    petition filing
                                                                                the petition                  claim is:
                                                                                                          the claim
                                                                                                    date, the                 ail that
                                                                                                                        Check all
                                                                                                                    is: Check           apply
                                                                                                                                   that apply.     $115.00
                                                                                                                                                   $115.00
               Explorer Pest
               Explorer    Pest Management
                                  Management                              O Contingent
                                                                          ❑ contingent
               PO Box
               PO   Box 4283
                          4283                                            CI Unliquidated
                                                                          ❑  unliquidated
               El Dorado
               El  Dorado Hills,
                             Hills, CA
                                     CA 95762
                                         95762                            CD Disputed
                                                                          ❑  Disputed
               Date(s) debt
                       debt was
                            was incurred
                                 incurred 7/08/2022
                                          7/08/2022                       Basis for the
                                                                          Basis for     claim: Pest
                                                                                               Pest Control
                                                                                                    Control
               Date(s)
                                                                                    the claim:
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number_
                                        number_
                                                                          Is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?
                                                                                                  offset? II
                                                                                                          a No
                                                                                                             No ❑
                                                                                                                Cl Yes
                                                                                                                   Yes


     3.11
     3.11     Nonpriority creditor's
            | Nonpriority creditor's name
                                     name and
                                          and mailing
                                              mailing address
                                                      address             As of
                                                                          As of the
                                                                                the petition
                                                                                    petition filing
                                                                                             filing date,
                                                                                                    date, the
                                                                                                          the claim
                                                                                                              claim is:
                                                                                                                    is: Check
                                                                                                                        Check all
                                                                                                                              aif that
                                                                                                                                   that apply.
                                                                                                                                        apply.       $77.04
                                                                                                                                                     $77.04
               Gold Country
               Gold  Country Media
                               Media                                      C1 Contingent
                                                                          ❑  Contingent
               PO Box
               PO  Box 5910
                        5910                                              DD Unliquidated
                                                                          ❑  untiquidated
               Auburn, CA
               Auburn,  CA 95604
                             95604                                        C1 Disputed
                                                                          ❑  pisputed
               Date(s) debt
               Date(s) debt was
                            was incurred
                                incurred 11/30/2022
                                          11/30/2022                      Basis for
                                                                          Basis for the
                                                                                    the claim:
                                                                                        claim: Legal/Public
                                                                                               Legal/Public Notices
                                                                                                            Notices
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number __
                                                                          1s the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?
                                                                                                  offset? I.
                                                                                                          Hino  Clyes
                                                                                                             No ❑  Yes

     3.12                 creditor's name
              Nonpriority creditor's
            | Nonpriority                     mailing address
                                          and mailing
                                     name and         address             As of the
                                                                          As of the petition        date, the
                                                                                             filing date,
                                                                                    petition filing       the claim is: Check
                                                                                                              claim is:       all that
                                                                                                                        Check all       apply.
                                                                                                                                   that apply.   $6,705.39
                                                                                                                                                 $6,705.39
               Great Minds
               Great   Minds                                              C1 Contingent
                                                                          ❑  Contingent
               PO Box
               PO   Box 200283
                          200283                                          Di Unliquidated
                                                                          ❑  untiquidated
               Pittsburgh, PA
               Pittsburgh,     PA 15251
                                   15251                                  CI Disputed
                                                                          ❑  Disputed
               Date(s) debt was incurred 8/8/2022
               Date(s) debt was incurred 8/8/2022
                                                                          Basis for
                                                                          Basis for the clam: Eureka
                                                                                    the claim: Eureka Math
                                                                                                      Math Grade
                                                                                                           Grade 3-6
                                                                                                                 3-6 Student
                                                                                                                     Student Edition
                                                                                                                             Edition
               Last 44 digits
               Last    digits of
                              of account
                                 account number
                                         number __
                                                                          isIs the claim subject
                                                                               the claim subject to
                                                                                                 to offset? L No
                                                                                                    offset? Ee No    ❑
                                                                                                                     [Cl] Yes
                                                                                                                          Yes


     3.13
     3.13      Nonpriority creditor's
               Nonpriority                 and mailing
                                      name and
                           creditor's name              address
                                                 ailing address           As of
                                                                          As        petition filing
                                                                                the petition
                                                                             of the                           claim is:
                                                                                                          the claim
                                                                                                    date, the
                                                                                             filing date,           is: Check ail that
                                                                                                                        Check all       apply.
                                                                                                                                   that apply.     $177.95
                                                                                                                                                   $177.95
               Inland Business
               Inland   Business Systems
                                     Systems                              CJ Contingent
                                                                          ❑  contingent
               PO Box
               PO   Box 843760
                          843760                                          D Unliquidated
                                                                          ❑ unliquidated
               Los Angeles,
               Los   Angeles, CA CA 90084
                                      90084                               CZ Disputed
                                                                          ❑  Disputed
               Date(s) debt
               Date(s) debt was
                            was incurred
                                incurred 12/12/2022
                                          12/12/2022                      Basis for
                                                                          Basis for the
                                                                                    the claim:
                                                                                        claim: Contract
                                                                                               Contract Overrage
                                                                                                        Overrage Charge
                                                                                                                 Charge
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number _
                                               _
                                                                          Is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?
                                                                                                  offset? Hino
                                                                                                             No      ❑
                                                                                                                     Oves
                                                                                                                       Yes

     3.14
     3.14      Nonpriority creditor's
               Nonpriority            name and
                           creditor's name and mailing address
                                               mailing address            As of
                                                                          As of the
                                                                                the petition filing date,
                                                                                    petition filing date, the claim is:
                                                                                                          the claim     Check all
                                                                                                                    is: Check           apply.
                                                                                                                                   that apply.
                                                                                                                              all that             $875.00
                                                                                                                                                   $875.00
               Kodiak Roofing
               Kodiak   Roofing and
                                 and Waterproofing
                                      Waterproofing Co.
                                                    Co.                   O Contingent
                                                                          ❑ contingent
               8825 Washington
               8825  Washington Blvd
                                   Blvd                                   D Unliquidated
                                                                          ❑ unliquidated
               #100
               #100   .                                                   Oo Disputed
                                                                          ❑   Disputed
               Roseville, CA
               Roseville,  CA 95678
                               95678
                                  .                                      Basis for
                                                                         Basis     the claim:
                                                                               for the claim: _
               Date(s) debt
               Date(s) debt was
                             was incurred
                                  incurred __
                                           _                                                     _
               Last 4 digits of account number_                          Is the
                                                                         Is the claim
                                                                                claim subject
                                                                                      subject to
                                                                                              to offset?
                                                                                                 offset? II
                                                                                                         EnoNo       Cyes
                                                                                                                     ❑ Yes
               Last 4 digits of account number_

     3.15
     3.15      Nonpriority creditor's name
               Nonpriority creditor's                  address
                                               mailing address
                                           and mailing
                                      name and                           As of
                                                                         As        petition filing
                                                                               the petition
                                                                            of the                           claim is:
                                                                                                         the claim
                                                                                                   date, the
                                                                                            filing date,               Check all
                                                                                                                   is: Check           apply.
                                                                                                                                  that apply.
                                                                                                                             aif that            $7,179.50
                                                                                                                                                 $7,179.50
               Law Offices
               Law  Offices of
                            of Young,
                               Young, Minney
                                       Minney && Corr
                                                  Corr                    O Contingent
                                                                          ❑ contingent
               655 University
               655 University Avenue,
                               Avenue, Suite
                                        Suite 150
                                              150                         C Unliquidated
                                                                          ❑ unliquidated
               Sacramento, CA
               Sacramento,   CA 95285
                                 95285                                    D1 Disputed
                                                                          ❑  Disputed
               Date(s) debt
               Date(s) debt was
                            was incurred
                                incurred_                                Basis for
                                                                               for the
                                                                                   the claim:
                                                                                       claim:_
                                                                         Basis                _
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number _
                                               _
                                                                          Is the
                                                                         Is  the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?
                                                                                                  offset? ■
                                                                                                          Hino  Oves
                                                                                                             No ❑ Yes

     3.16 | Nonpriority
     3.16   Nonpriority creditor's
                        creditor's name
                                   name and
                                        and mailing
                                            mailing address
                                                    address              As of
                                                                         As of the
                                                                               the petition
                                                                                   petition filing
                                                                                            filing date,
                                                                                                   date, the
                                                                                                         the claim
                                                                                                             claim is:
                                                                                                                   is: Check
                                                                                                                       Check all
                                                                                                                             all that
                                                                                                                                  that apply.
                                                                                                                                       apply.    $3,591.40
                                                                                                                                                 $3,591.40
             Learning Without
             Learning     Without Tears
                                    Tears                                O Contingent
                                                                         ❑ Contingent
             PO Box
             PO   Box 791714
                        791714                                           CI Unliquidated
                                                                         ❑  untiquidated
             Baltimore, MD
             Baltimore,     MD 21279
                                21279                                    D1 Disputed
                                                                         ❑  Disputed
             Date(s) debt
             Date(s) debt was           6/23/2022
                          was incurred 6/23/2022.
                              incurred
                                                                         Basis for
                                                                         Basis for the
                                                                                   the claim:
                                                                                       claim: Books
                                                                                              Books and
                                                                                                    and Supplies
                                                                                                        Supplies
             Last 4
             Last 4 digits
                    digits of
                           of account
                              account number
                                      number___
                                                                         Is the
                                                                         Is the claim
                                                                                claim subject
                                                                                      subject to
                                                                                              to offset?
                                                                                                 offset? U
                                                                                                         Eino
                                                                                                            No      ❑
                                                                                                                    Oves
                                                                                                                      Yes




    Official Form
    Official Form 206
                  206 E/F
                      E/F                                 Schedule E/F:
                                                          Schedule      Creditors Who
                                                                   E/F: Creditors     Have Unsecured
                                                                                  Who Have           Claims
                                                                                           Unsecured Claims                                       Page    of 77
                                                                                                                                                  Page 33 of
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      Debtor      Piacer Academy
                  Placer Academy Schools
                                 Schools                                                              Case number
                                                                                                      Case number (if
                                                                                                                  (if known)
                                                                                                                      known)
                  Name
                  Name
     1[347
       3.17   ) Nonpriority creditor's name
                Nonpriority creditor's                  address
                                                mailing address
                                            and mailing
                                       name and                            As of the
                                                                           As of              filing date,
                                                                                     petition filing
                                                                                 the petition                  claim is:
                                                                                                           the claim
                                                                                                     date, the                 ail that
                                                                                                                         Check all
                                                                                                                     is: Check           apply
                                                                                                                                    that apply        $971.35
                                                                                                                                                      $971.35
               Mascot Junction
               Mascot     Junction Inc.
                                      Inc.                                 C] Contingent
                                                                           ❑  contingent
               PO Box
               PO   Box 246
                          246                                              D Unliquidated
                                                                           ❑ unliquidated
               Lees Summit,
               Lees    Summit, MO  MO 64063
                                       64063                               CI Disputed
                                                                           ❑  Disputed
                        debt was incurred  8/18/2022
               Date(s) debt was incurred 8/18/2022
               Date(s)
                                                                           Basis for
                                                                           Basis for the
                                                                                     the claim:
                                                                                         claim: Books
                                                                                                Books and
                                                                                                      and supplies
                                                                                                          supplies
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number__
                                                                           Is the
                                                                           Is the claim
                                                                                  claim subject
                                                                                        subject to
                                                                                                to offset?
                                                                                                   offset? U
                                                                                                           Hino
                                                                                                              No      ❑
                                                                                                                      Clyes
                                                                                                                         Yes

      3.18
      3.18     Nonpriority creditor's name
               Nonpriority creditor's                  address
                                               mailing address
                                           and mailing
                                      name and                             As of the
                                                                           As of              filing date,
                                                                                     petition filing
                                                                                 the petition                  claim is:
                                                                                                           the claim
                                                                                                     date, the                 aif that
                                                                                                                         Check all
                                                                                                                     is: Check           apply.
                                                                                                                                    that apply    $108,068.10
                                                                                                                                                  $108,068.10
               Mobile Modular
               Mobile    Modular Management
                                    Management Corporation
                                                   Corporation             D) Contingent
                                                                           ❑  contingent
               PO
               PO Box
                    Box 45043
                          45043                                            C2 Unliquidated
                                                                           ❑  unliquidated
               San Francisco,
               San    Francisco, CACA 94145-5043
                                        94145-5043                         CO Disputed
                                                                           ❑  disputed
               Date(s) debt was incurred 1/28/22- -12/31/2022.
               Date(s) debt was incurred 1/28/22   12/31/2022              Basis for
                                                                           Basis      the claim:
                                                                                  for the                  structure rental
                                                                                                 Classroom structure
                                                                                          claim: Classroom                      storage
                                                                                                                            and storage
                                                                                                                     rental and
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number __
                                                                           Is the
                                                                           Is the claim
                                                                                  claim subject
                                                                                        subject to offset? II
                                                                                                to offset? E No
                                                                                                              No      (1 Yes
                                                                                                                      ❑  Yes

      3.19
      3.19       Nonpriority creditor's
              )| Nonpriority                 and mailing
                                        name and
                             creditor's name             address
                                                 mailing address              of the
                                                                           As of
                                                                           As    the petition filing date,
                                                                                     petition filing           claim is:
                                                                                                           the claim
                                                                                                     date, the                 ail that
                                                                                                                         Check all
                                                                                                                     is: Check           apply.
                                                                                                                                    that apply.   $147,605.56
                                                                                                                                                  $147,605.56
               Newcastle Elementary
               Newcastle   Elementary School
                                      School District
                                             District                      C1] Contingent
                                                                           ❑   contingent
               attn: Janet
               attn: Janet Jabusch
                           Jabusch                                         DZ Unliquidated
                                                                           ❑  unliquidated
               645 Kentucky
               645  Kentucky Greens
                              Greens Way
                                     Way                                   C1 Disputed
                                                                           ❑  pisputed
               Newcastle, CA
               Newcastle,   CA 95658
                               95658                                                                Special Education           Servi
                                                                           Basis for
                                                                           Basis for the  claim: Special
                                                                                      the claim:   ecia Education
                                                                                                          ucation Services
                                                                                                                   services
               Date(s) debt
               Date(s)  debt was
                              was incurred
                                   incurred 12/12/2022
                                              12/12/2022                          so                  p
               Last 4  digits of
                     4 digits              number _
                                 account number
                              of account                                   Is the claim
                                                                           is the       subject to
                                                                                  claim subject            Eno
                                                                                                   offset? 111
                                                                                                to offset?     No     Clyes
                                                                                                                      ❑  Yes
               Last                               _

     3.20      Nonpriority            name and
                           creditor's name
               Nonpriority creditor's                  address
                                               mailing address
                                           and mailing                     As of
                                                                           As    the petition
                                                                              of the                 date, the
                                                                                              filing date,
                                                                                     petition filing           claim is:
                                                                                                           the claim           ail that
                                                                                                                         Check all
                                                                                                                     is: Check           apply.
                                                                                                                                    that apply.      $997.50
                                                                                                                                                     $997.50
               Niche.com Inc.
               Niche.com      Inc.                                         O Contingent
                                                                           ❑ Contingent
               PO Box
               PO   Box 392796
                          392796                                           (J Unliquidated
                                                                           ❑  unliquidated
               Pittsburgh, PA
               Pittsburgh,     PA 15251
                                   15251                                   (I Disputed
                                                                           ❑  Disputed
               Date(s) debt
               Date(s) debt was
                            was incurred   7/15/2022
                                 incurred 7/15/2022                        Basis for
                                                                           Basis for the
                                                                                     the claim:
                                                                                         claim: Niche
                                                                                                Niche Reach
                                                                                                      Reach Package
                                                                                                            Package
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number _
                                               _
                                                                           is the
                                                                           Is the claim
                                                                                  claim subject
                                                                                        subject to
                                                                                                to offset?
                                                                                                   offset? 111
                                                                                                           HinoNo     ❑
                                                                                                                      Oves
                                                                                                                        Yes

     3.21               creditor's name
            Nonpriority creditor's
     3.21 | Nonpriority                             address
                                            mailing address
                                        and mailing
                                   name and                                As of the
                                                                           As of              filing date,
                                                                                     petition filing
                                                                                 the petition                  claim is:
                                                                                                           the claim
                                                                                                     date, the                 aif that
                                                                                                                         Check all
                                                                                                                     is: Check           apply.
                                                                                                                                    that apply.     $1,098.29
                                                                                                                                                    $1,098.29
               Office Depot
               Office Depot                                                CJ Contingent
                                                                           ❑  contingent
               PO Box
               PO  Box 29248
                        29248                                              J Unliquidated
                                                                           ❑ unliquidated
               Phoenix, AZ
               Phoenix,  AZ 85038
                             85038                                         C1 Disputed
                                                                           ❑  disputed
               Date(s) debt
               Date(s)      was incurred
                       debt was          10/26/2022 -- 12/12/2022
                                incurred 10/26/2022    12/12/2022          Basis for the claim:    Office supplies
                                                                           Basis for the claim: Office supplies
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number __
                                                                           Is the
                                                                           Is the claim
                                                                                  claim subject
                                                                                        subject to
                                                                                                to offset?
                                                                                                   offset? U
                                                                                                           a No
                                                                                                             No ❑
                                                                                                                (1 Yes
                                                                                                                   yes


     3.22      Nonpriority creditor's name
               Nonpriority creditor's                  address
                                               mailing address
                                           and mailing
                                      name and                             As of the
                                                                           As of              filing date,
                                                                                     petition filing
                                                                                 the petition                  claim is:
                                                                                                           the claim
                                                                                                     date, the                 aif that
                                                                                                                         Check a
                                                                                                                     is: Check           apply.
                                                                                                                                    that apply.     $5,530.11
                                                                                                                                                    $5,530.11
               Placer County
               Placer   County Association
                                  Association ofof Realtors
                                                   Realtors In
                                                            In             C1 Contingent
                                                                           ❑  contingent
               270 Technology
               270   Technology Way Way                                    C1 Unliquidated
                                                                           ❑  Untiquidated
               Suite 100
              Suite    100                                                 CI Disputed
                                                                           ❑  Disputed
               Rocklin, CA
               Rocklin,        95765
                           CA 95765                                                                                     t                ty   t
                                                                          Basis for
                                                                          Basis for the
                                                                                    the claim:
                                                                                        claim: lease
                                                                                                lease payments
                                                                                                       payments on
                                                                                                                on property
                                                                                                                    prope    ax
                                                                                                                            tax
               Date(s) debt
               Date(s)                   8/31/2022
                                incurred 8/31/2022
                            was incurred
                       debt was                                             ast           °                pay                  properly
               Last 4 digits of account number_                           Is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to offset? II
                                                                                               to offset? Hino
                                                                                                             No      ❑
                                                                                                                     Dyes
                                                                                                                       Yes
               Last 4 digits of account number_

     3.23      Nonpriority creditor's name
               Nonpriority creditor's                  address
                                               mailing address
                                           and mailing
                                      name and                                of the
                                                                           As of
                                                                           As    the petition filing date,
                                                                                     petition filing           claim is:
                                                                                                           the claim
                                                                                                     date, the                 aif that
                                                                                                                         Check all
                                                                                                                     is: Check           apply.
                                                                                                                                    that apply.   $32,800.00
                                                                                                                                                  $32,800.00
               Placer County
               Placer  County Association
                               Association of
                                           of Realtors
                                              Realtors In
                                                       In                  C Contingent
                                                                           ❑ contingent
               270 Technology
               270  Technology Way
                                 Way                                       D) Unliquidated
                                                                           ❑  unliquidated
               Suite 100
              Suite   100                                                  CO) Disputed
                                                                           ❑   disputed
               Rocklin, CA
               Rocklin,   CA 95765
                             95765                                                                         ;
                                ;                                         Basis for
                                                                          Basis for the
                                                                                    the claim:
                                                                                        claim: Unpaid
                                                                                               Unpaid rent
                                                                                                      rent
              Date(s) debt
              Date(s) debt was
                            was incurred
                                 incurred __
              Last 4 digits of account number_                            Is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?
                                                                                                  offset? U
                                                                                                          Bno
                                                                                                            No       ❑
                                                                                                                     Oves
                                                                                                                       Yes
              Last 4 digits of account number_




    Official Form
    Official Form 206
                  206 E/F
                      E/F                                  Schedule E/F: Creditors
                                                           Schedule E/F:           Who Have
                                                                         Creditors Who                Claims
                                                                                            Unsecured Claims
                                                                                       Have Unsecured                                                Page 4
                                                                                                                                                     Page   of 77
                                                                                                                                                          4 of
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      Debtor
      Debtor      Placer Academy
                  Placer Academy Schools
                                 Schools                                                            Case number
                                                                                                    Case number Of
                                                                                                                (if known)
                                                                                                                    known)
                  Name
                  Name

     13.24                           name and
                          creditor's name
              Nonpriority creditors
      3.24 |1 Nonpriority                             address
                                              mailing address
                                          and mailing                     As      the petition
                                                                          As ofof the          filing date,
                                                                                      petition filing date, the       is: Check
                                                                                                                claim is:
                                                                                                            the claim           ail that
                                                                                                                          Check all       apply
                                                                                                                                     that apply    $4,100.00
                                                                                                                                                   $4,100.00
               Piacer County
               Placer   County Office
                                   Office of
                                           of Education
                                              Education                   D) Contingent
                                                                          ❑  contingent
               360 Nevada
               360   Nevada Street
                               Street                                     D3 Unliquidated
                                                                          ❑  unliquidated
               Auburn, CA
               Auburn,     CA 95603
                               95603                                      (Disputed
                                                                          ❑  Disputed

               Date(s) debt was incurred
               Date(s) debt was            12/05/2022
                                 incurred 12/05/2022                      Basis for
                                                                                for the
                                                                                    the claim:
                                                                                        clam: PCOE
                                                                                               PCOE Teacher
                                                                                                    Teacher induction
                                                                          Basis                             induction
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number__
                                                                          is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?
                                                                                                  offset? Ee No
                                                                                                          a No       [] Yes
                                                                                                                     ❑  yes


     3.25               creditor's name
            Nonpriority creditor's
     3.25 | Nonpriority                             address
                                            mailing address
                                        and mailing
                                   name and                               As of
                                                                          As        petition filing
                                                                                the petition
                                                                             of the                           claim is:
                                                                                                          the claim
                                                                                                    date, the
                                                                                             filing date,               Check all
                                                                                                                    is: Check           apply.
                                                                                                                                   that apply.
                                                                                                                              ail that               $837.85
                                                                                                                                                     $837.85
               Placer County
               Placer   County Water
                                  Water Agency
                                         Agency                           CI Contingent
                                                                          ❑  contingent
               PO Box
               PO   Box 511377
                          511377                                          (1 unliquidated
                                                                          ❑ Unliquidated
               Los Angeles,
               Los   Angeles, CA CA 90051
                                     90051                                C1 Disputed
                                                                          ❑  pisputed

               Date(s) debt was incurred 10/27/2022, 11/29/2022
               Date(s) debt was incurred 10/27/2022, 11/29/2022,
                                                                          Basis for
                                                                          Basis for the
                                                                                    the claim:
                                                                                        claim: fire
                                                                                               fire protection
                                                                                                    protection services,
                                                                                                               services, fixed
                                                                                                                         fixed charges
                                                                                                                               charges
               01/01/2023
               01/01/2023
               Last 4 digits of account number_                           is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?
                                                                                                  offset? El
                                                                                                          BnoNo      Oves
                                                                                                                     ❑ Yes
               Last 4 digits of account number _

     3.26   Nonpriority creditor's
     3.26 | Nonpriority            name and
                        creditor's name and mailing address
                                            mailing address               As    the petition
                                                                             of the
                                                                          As of     petition filing       the claim
                                                                                                    date, the
                                                                                             filing date,           is: Check
                                                                                                              claim is:       aii that
                                                                                                                        Check all       apply.
                                                                                                                                   that apply.     $2,262.98
                                                                                                                                                   $2,262.98
              Read To
              Read   To Them
                        Them                                              ( Contingent
                                                                          ❑ contingent
              2201 W.
              2201  W. Broad
                        Broad Street
                              Street                                      C2 Unliquidated
                                                                          ❑  uUntiquidated
              Suite206
             Suite   206                                                  O Disputed
                                                                          ❑  Disputed
              Richmond, VA
              Richmond,       23220
                           VA 23220                                                               Book           d          i
                                                                          Basisfor
                                                                          Basis     the claim:
                                                                                for the claim: Books
                                                                                                BOOKS and
                                                                                                      anda Supplies
                                                                                                           supplies
               Date(s) debt
               Date(s) debt was   incurred 6/24/2022
                             was incurred  6/24/2022                              °
               Last 4 digits of account number _                          Is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?  U
                                                                                                  offset? Bno
                                                                                                            No       Dyes
                                                                                                                     ❑ Yes
               Last 4 digits of account number _

     3.27
     3.27   | Nonpriority
              Nonpriority creditor's
                          creditor's name
                                     name and
                                          and mailing
                                              mailing address
                                                      address             As of
                                                                          As    the petition
                                                                             of the petition filing
                                                                                             filing date,
                                                                                                    date, the
                                                                                                          the claim
                                                                                                              claim is:
                                                                                                                    is: Check
                                                                                                                        Check all
                                                                                                                              aif that apply.
                                                                                                                                  that apply.      $1,058.19
                                                                                                                                                   $1,058.19
               Recology Auburn
               Recology     Auburn Placer
                                       Placer                             O Contingent
                                                                          ❑ Contingent
               PO Box
               PO   Box 848870
                          848870                                          CD Unliquidated
                                                                          ❑  uniiquidated
               Los Angeles,
               Los   Angeles, CA CA 90084
                                     90084                                C1 Disputed
                                                                          ❑  disputed
               Date(s) debt
               Date(s) debt was
                            was incurred
                                incurred 12/22/2022
                                          12/22/2022                      Basis for
                                                                                for the
                                                                                    the claim:
                                                                                        claim:
                                                                          Basis                  _
                    4 digits
               Last 4
               Last          of account
                      digits of         number __
                                account number                                                   ~         =
                                                                          Is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?
                                                                                                   offset? III No
                                                                                                               No ❑
                                                                                                                  (Yes
                                                                                                                    Yes


     3.28
     3.28   | Nonpriority
              Nonpriority creditor's
                          creditor's name
                                     name and
                                          and mailing
                                              mailing address
                                                      address             As of
                                                                          As of the
                                                                                the petition
                                                                                    petition filing
                                                                                             filing date,
                                                                                                    date, the claim is:
                                                                                                          the claim is: Checkall
                                                                                                                        Check aif that
                                                                                                                                   that apply.
                                                                                                                                        apply.     $4,817.03
                                                                                                                                                   $4,817.03
               Revolution Foods,
               Revolution     Foods, Inc.
                                        Inc.                              Oi Contingent
                                                                          ❑  contingent
               PO Box
               PO   Box 92230
                          92230                                           C1 Unliquidated
                                                                          ❑  unliquidated
               Las Vegas,
               Las   Vegas, NVNV 89193
                                  89193                                   C1 Disputed
                                                                          ❑  Disputed
               Date(s) debt
               Date(s) debt was
                            was incurred
                                incurred 11/30/2022.
                                           11/30/2022                     Basis for
                                                                          Basis for the
                                                                                    the claim:
                                                                                        claim: meals
                                                                                               meals service,
                                                                                                     service, November
                                                                                                              November '22
                                                                                                                       '22
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number__
                                                                          is the
                                                                          Is     claim subject
                                                                             the claim subject to
                                                                                               to offset?
                                                                                                  offset? 111
                                                                                                          EENoNo     Clyes
                                                                                                                     ❑  Yes


     3.29
     3.29      Nonpriority creditor's
               Nonpriority creditor's name
                                      name and
                                           and mailing
                                               mailing address
                                                       address            As of
                                                                          As of the
                                                                                the petition
                                                                                    petition filing
                                                                                             filing date,
                                                                                                    date, the
                                                                                                          the claim
                                                                                                              claim is:
                                                                                                                    is: Check
                                                                                                                        Check all
                                                                                                                              aif that
                                                                                                                                   that apply.
                                                                                                                                        apply.      $225.00
                                                                                                                                                    $225.00
             Rocklin Area
             Rocklin    Area Chamber
                              Chamber of  of Commerce
                                             Commerce                     Di Contingent
                                                                          ❑  contingent
             3700 Rocklin
             3700   Rocklin Road
                              Road                                        DD Unliquidated
                                                                          ❑  unliquidated
             Rocklin, CA
             Rocklin,    CA 95677
                             95677                                        CO Disputed
                                                                          ❑  disputed
             Date(s) debt was incurred
             Date(s) debt was incurred 9/06/2022.
                                       9/06/2022                         Basis for
                                                                         Basis for the
                                                                                   the claim:
                                                                                       clam: Membership
                                                                                              Membership dues
                                                                                                         dues and
                                                                                                              and contribution
                                                                                                                  contribution
             Last 4
             Last 4 digits
                    digits of
                           of account
                              account number
                                      number__
                                                                          Is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?
                                                                                                  offset? U
                                                                                                          Eino
                                                                                                             No      ClyYes
                                                                                                                     ❑  Yes


     3.30
     3.30     Nonpriority creditor's
            | Nonpriority creditor's name
                                     name and
                                          and mailing
                                              mailing address
                                                      address            As of
                                                                         As    the petition
                                                                            of the petition filing
                                                                                            filing date,
                                                                                                   date, the
                                                                                                         the claim
                                                                                                             claim is:
                                                                                                                   is: Check
                                                                                                                       Check all
                                                                                                                             aif that
                                                                                                                                  that apply.
                                                                                                                                       apply.     $24,521.85
                                                                                                                                                  $24,521.85
             Rocklin Unified
             Rocklin    Unified School
                                  School District
                                           District                       CI Contingent
                                                                          ❑  Contingent
             c/o Business
             c/o  Business Dept.
                               Dept.                                      CO Unliquidated
                                                                          ❑  Untiquidated
             2615 Sierra
             2615   Sierra Meadows
                             Meadows Drive
                                         Drive                            C1 Disputed
                                                                          ❑  pisputed
             Rocklin, CA
             Rocklin,    CA 95677
                              95677                                                               2021-22 0             ight    (5824
                                                                         Basis for
                                                                         Basis     the claim:
                                                                               for the claim: 2021-22
                                                                                                  +    versight
                                                                                                      Oversight (    )
                                                                                                                (5824)
             Date(s) debt
             Date(s) debt was  incurred 8/23/2022
                          was incurred  8/23/2022
             Last 4 digits of account number_                            Is the
                                                                         Is     claim subject
                                                                            the claim subject toto offset?
                                                                                                   offset? Eno
                                                                                                             No      Oyes
                                                                                                                     ❑ Yes
             Last 4 digits of account number_




    Official Form
    Official Form 206
                  206 E/F
                      E/F                                 Schedule E/F:
                                                          Schedule      Creditors Who
                                                                   E/F: Creditors     Have Unsecured
                                                                                  Who Have           Claims
                                                                                           Unsecured Claims                                         Page    of 77
                                                                                                                                                    Page 55 of
Filed 02/14/23                                                          Case 23-20455                                                                            Doc 1

      Debtor
      Debtor       Placer Academy
                   Placer Academy Schools
                                  Schools                                                           Case number
                                                                                                    Case number (if
                                                                                                                (if known)
                                                                                                                    known)                                        —
                   Name
                   Name
       3.31
     1 3.31   I Nonpriority            name and
                            creditor's name
                Nonpriority creditor's                  address
                                                mailing address
                                            and mailing                   As of the
                                                                          As of              filing date,
                                                                                    petition filing
                                                                                the petition                  claim is:
                                                                                                          the claim
                                                                                                    date, the                 aif that
                                                                                                                        Check all
                                                                                                                    is: Check          apply
                                                                                                                                  that apply           $1,200.00
                                                                                                                                                       $1,200.00
               San Joaquin
               San   Joaquin County
                                County of of Education
                                             Education                     C] Contingent
                                                                           ❑  contingent
               PO Box
               PO   Box 213030
                          213030                                           CO Unliquidated
                                                                           ❑  unliquidated
               Stockton, CA
               Stockton,    CA 95213
                                 95213                                     (1 Disputed
                                                                           ❑  Disputed
               Date(s) debt was incurred  8/29/2022
               Date(s) debt was incurred 8/29/2022.                       Basis for
                                                                          Basis for the
                                                                                    the claim:
                                                                                        claim: EDJOIN
                                                                                               EDJOIN Account
                                                                                                      Account Fees
                                                                                                              Fees
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number __
                                                                          is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to offset? Hino
                                                                                               to offset?    No      O yes
                                                                                                                     ❑ Yes


      3.32
      3.32     Nonpriority            name and
                           creditor's name
               Nonpriority creditor's                  address
                                               mailing address
                                           and mailing                    As of the
                                                                          As of              filing date,
                                                                                    petition filing
                                                                                the petition                  claim is:
                                                                                                          the claim
                                                                                                    date, the                 aif that
                                                                                                                        Check a
                                                                                                                    is: Check          apply.
                                                                                                                                  that apply           $5,000.00
                                                                                                                                                       $5,000.00
               School Food
               School    Food andand Wellness
                                       Wellness Group
                                                  Group LLC
                                                        LLC               CO❑ Contingent
                                                                              Contingent
               804 Main
               804   Main Street
                            Street                                        C1 Unliquidated
                                                                          ❑  unliquidated
               Suite C-322
               Suite   C-322                                              CI Disputed
                                                                          ❑  Disputed
               Baton Rouge,
               Baton    Rouge, LA LA 70802
                                       70802
                                                                          Basis for
                                                                          Basis for the
                                                                                    the claim:
                                                                                         claim: _
               Date(s) debt was
               Date(s) debt was  incurred
                                 incurred  1/20/2023
                                          1/20/2023                         asis Torane crams —
               Last 4 digits of account number                            Is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to offset? El
                                                                                               to offset? Hino  Oyes
                                                                                                             No ❑ Yes
               Last 4 digits of account number _

      3.33 | Nonpriority
      3.33               creditor's name
             Nonpriority creditor's                  address
                                             mailing address
                                         and mailing
                                    name and                              As of the
                                                                          As of              filing date,
                                                                                    petition filing
                                                                                the petition                  claim is:
                                                                                                          the claim
                                                                                                    date, the                 ali that
                                                                                                                        Check all
                                                                                                                    is: Check          apply.
                                                                                                                                  that apply.         $28,050.00
                                                                                                                                                      $28,050.00
               School Steps,
               School   Steps, Inc.
                                Inc.                                      [ Contingent
                                                                          ❑ Contingent
                   Box 631024
               PO Box
               PO        631024                                           0 Unliquidated
                                                                          ❑  Unliquidated
               Cincinnati, OH
               Cincinnati,  OH 45263
                                 45263                                    C1 Disputed
                                                                          ❑  pisputed
                                                                                                            .                                    .
               Date(s) debt
               Date(s) debt was iincurred 11/08/2022,
                            was incurred              12.
                                                          12/09/202 2
                                          11/08/2022, 12/09/2022,         Basis for
                                                                          Basis  for the clam: SLP
                                                                                     the claim: SLP Direct
                                                                                                    Direct and
                                                                                                           and Collateral
                                                                                                               Collateral &
                                                                                                                          & CS
                                                                                                                            CS RN
                                                                                                                               RN Direct
                                                                                                                                  Direct
               12/16/2022
               12/16/2022
               Last 4 digits of account number                            Is the
                                                                          Is the claim subject to
                                                                                 claim subject    offset? U
                                                                                               to offset? Eno  Ol Yes
                                                                                                            No ❑  ves
               Last 4 digits of account number _

      3.34               creditor's name
             Nonpriority creditor's
      3.34 | Nonpriority                             address
                                             mailing address
                                         and mailing
                                    name and                              As of the
                                                                          As of                     date, the
                                                                                             filing date,
                                                                                    petition filing
                                                                                the petition                  claim is:
                                                                                                          the claim           ail that
                                                                                                                        Check all
                                                                                                                    is: Check          apply.
                                                                                                                                  that apply.          $3,123.19
                                                                                                                                                       $3,123.19
               Select Office
               Select   Office Supply
                                Supply                                    CI Contingent
                                                                          ❑  contingent
               PO Box
               PO   Box 90072
                          90072                                           C7 Unliquidated
                                                                          ❑  Untiquidated
               Long Beach,
               Long    Beach, CACA 90809
                                     90809                                CD Disputed
                                                                          ❑  pisputed
               Date(s)
               Date(s) debt
                       debt was
                            was incurred
                                incurred 9/01/2022, 11/01/2022
                                         9/01/2022, 11/01/2022            Basis for
                                                                          Basis for the claim: Office
                                                                                    the claim: Office supplies
                                                                                                      supplies
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number ___
                                                                          Is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to
                                                                                               to offset?
                                                                                                  offset? U
                                                                                                          Eno
                                                                                                            No       ❑
                                                                                                                     Dlves
                                                                                                                        Yes


      3.35 | Nonpriority
      3.35               creditor's name
             Nonpriority creditor's                  address
                                             mailing address
                                         and mailing
                                    name and                              As of the
                                                                          As of              filing date,
                                                                                    petition filing
                                                                                the petition                  claim is:
                                                                                                          the claim
                                                                                                    date, the                 al that
                                                                                                                        Check all
                                                                                                                    is: Check          apply.
                                                                                                                                  that apply.        $399,214.46
                                                                                                                                                     $399,214.46
               Small Town
               Small             Construction LLC
                        Town Construction         LLC                     CO❑ Contingent
                                                                              Contingent
               8331 Sierra
               8331    Sierra College
                                College Blvd
                                           Bivd                           CI Unliquidated
                                                                          ❑  Unliquidated
               #222
               #222                                                       OQ Disputed
                                                                          ❑  Disputed
               Roseville, CA
               Roseville,     CA 95661
                                   95661
                                                                          Basis for
                                                                          Basis for the
                                                                                    the claim:
                                                                                        claim: Equipment
                                                                                               Equipment Rentals,
                                                                                                         Rentals, service
                                                                                                                  service and
                                                                                                                          and finance
                                                                                                                              finance charges
                                                                                                                                      charges
               Date(s)
               Date(s)  debt
                        debt was
                             was  incurred
                                  incurred  9/20/2021 -- 11/16/2022
                                            9/20/2021    11/16/2022
                                                                          Is the
                                                                          Is the claim
                                                                                 claim subject
                                                                                       subject to offset? U
                                                                                               to offset? Hino  Olyes
                                                                                                             No ❑  Yes
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number ___

      3.36
      3.36    | Nonpriority            name and
                            creditor's name
                Nonpriority creditor's                  address
                                                mailing address
                                            and mailing                   As    the petition
                                                                             of the
                                                                          As of              filing date,
                                                                                    petition filing           claim is:
                                                                                                          the claim
                                                                                                    date, the                 all that
                                                                                                                        Check all
                                                                                                                    is: Check          apply.
                                                                                                                                  that apply.          $4,988.41
                                                                                                                                                       $4,988.41
               Studio W
               Studio     Architects
                        W Architects                                      ❑  contingent
                                                                          DO Contingent
               114 N.
               111             Street
                       Market Street
                    N. Market                                             ❑  unliquidated
                                                                          C0 Unliquidated
               Suite 710
               Suite  710                                                 QD) Disputed
                                                                          ❑   Disputed
               San Jose,
               San         CA 95113
                    Jose, CA   95113                                                              Professional                .
                                                                          Basis forthe
                                                                          Basis for the claim:               services
                                                                                                Frotessional services
                                                                                        claim: Professional
               Date(s) debt
               Date(s)            incurred 11/30/2022
                             was incurred
                       debt was            11/30/2022                         's   Fortine   ea   —                     -
               Last 4 digits of account number                            Is the
                                                                          Is     claim subject
                                                                             the claim            offset? Eno
                                                                                               to offset?
                                                                                       subject to              Oves
                                                                                                            No ❑ Yes
               Last 4 digits of account number _

     3.37               creditor's name
            Nonpriority creditor's
     3.37 | Nonpriority                             address
                                            mailing address
                                        and mailing
                                   name and                               As of the
                                                                          As of     petition filing
                                                                                the petition        date, the
                                                                                             filing date,     claim is:
                                                                                                          the claim           all that
                                                                                                                        Check all
                                                                                                                    is: Check           apply.
                                                                                                                                   that apply.         $2,282.84
                                                                                                                                                       $2,282.84
               Wave
               Wave                                                       ❑  contingent
                                                                          [J Contingent
               PO Box
               PO      31001-2714
                   Box 31001-2714                                         ❑  Untiquidated
                                                                          CJ Unliquidated
                          CA 91110
               Pasadena, CA
               Pasadena,     91110                                        ❑  Disputed
                                                                          C1 Disputed
                       debt was
               Date(s) debt
               Date(s)          incurred 11/21/2022,
                            was incurred             12/01/2022
                                         11/21/2022, 12/01/2022           Basis for the claim: Internet service
                                                                          Basis for the claim: Internet service
               Last 4
               Last          of account
                      digits of
                    4 digits            number __
                                account number
                                                                          Is the
                                                                          Is     claim subject
                                                                             the claim         to offset?
                                                                                       subject to         Eno
                                                                                                  offset? U No       Dyes
                                                                                                                     ❑ Yes




     Official Form
     Official Form 206
                   206 E/F
                       E/F                                 Schedule E/F: Creditors
                                                           Schedule E/F:           Who Have
                                                                         Creditors Who                Claims
                                                                                            Unsecured Claims
                                                                                       Have Unsecured                                                   Page 6
                                                                                                                                                        Page   of 77
                                                                                                                                                             6 of
Filed 02/14/23                                                                  Case 23-20455                                                                                          Doc 1

      Debtor
      Debtor       Placer Academy
                   Placer         Schools
                          Academy Schools                                                                      Case number
                                                                                                               Case number (if(if known)
                                                                                                                                  known)
                   Name
                   Name

     13.38               creditor's name
             Nonpriority creditor's
     [3:38 | Nonpriority                             address
                                             mailing address
                                         and mailing
                                    name and                                        As      the petition
                                                                                    As ofof the                 date, the
                                                                                                         filing date,
                                                                                                petition filing                 is: Check
                                                                                                                          claim is:
                                                                                                                      the claim     Check all       apply
                                                                                                                                               that apnly.
                                                                                                                                          all that                         $4,670.64
                                                                                                                                                                           $4,670.64
               Xerox Financial
               Xerox    Financial Services
                                     Services                                       [J Contingent
                                                                                    ❑  Contingent
               P.O. Box
               P.O.   Box 202882
                            202882                                                  Oo Unliquidated
                                                                                    ❑  Unliquidated
               Dallas, TX
               Dallas,   TX 75320
                              75320                                                CZ Disputed
                                                                                   ❑   pisputed
               Date(s) debt
               Date(s) debt was
                             was incurred
                                 incurred 11/05/2022,
                                          11/05/2022, 12/05/2022,
                                                      12/05/2022,                  Basis  for the claim: Equipment lease
                                                                                   Basis for the claim:: Equipment
                                                                                                          Equip    lease
               1105/2023
               1/05/2023|
               Last 4 digits of account number                                     Is the
                                                                                   Is the claim
                                                                                          claim subject
                                                                                                subject to
                                                                                                        to offset?
                                                                                                           offset? 1Eino
                                                                                                                    .  No        ❑
                                                                                                                                 Dyes
                                                                                                                                   Yes
               Last 4 digits of account number _

      3.39
      3.39      Nonpriority creditor's
              | Nonpriority            name and
                            creditor's name and mailing address
                                                mailing address                    As of the
                                                                                   As of the petition        date, the
                                                                                                      filing date,
                                                                                             petition filing       the claim is: Check
                                                                                                                       claim is:       aif that
                                                                                                                                 Check all       apply.
                                                                                                                                            that apply.                    $2,500.00
                                                                                                                                                                           $2,500.00
               Zearn, Inc.
               Zearn,  Inc.                                                         a] Contingent
                                                                                    ❑   Contingent
               PO Box
               PO  Box 2020                                                         C] Unliquidated
                                                                                    ❑  Untiquidated
               New York,
               New   York, NY
                            NY 10116
                               10116                                               CO
                                                                                   ❑ Disputed
                                                                                      Disputed
               Date(s) debt
               Date(s) debt was
                            was incurred
                                incurred 7
                                         7/12/2022
                                           /12/2022                                Basis for
                                                                                         for the
                                                                                             the claim:
                                                                                                 claim: School
                                                                                   Basis                School account
                                                                                                               account
               Last 4
               Last 4 digits
                      digits of
                             of account
                                account number
                                        number__
                                                                                   Is the
                                                                                   Is the claim
                                                                                          claim subject
                                                                                                subject to offset? Eino
                                                                                                        to offset?    No         ❑
                                                                                                                                 Cyes
                                                                                                                                   Yes



     (EIREE
         7 List  Others to
            List Others to Be
                           Be Notified
                              Notified About
                                       About Unsecured
                                             Unsecured Claims
                                                       Claims
     4, List
     4.      in alphabetical
        List in                order any
                alphabetical order         others who
                                      any others        must be
                                                  who must       notified for
                                                              be notified            listed in
                                                                              claims listed
                                                                          for claims           Parts 1
                                                                                            in Parts   and 2.
                                                                                                     1 and    Examples of
                                                                                                           2. Examples    entities that
                                                                                                                       of entities      may be
                                                                                                                                   that may    listed are
                                                                                                                                            be listed                agencies,
                                                                                                                                                          collection agencies,
                                                                                                                                                      are collection
        assignees of
        assignees   of claims
                       claims listed
                              listed above,
                                     above, and
                                             and attorneys
                                                 attorneys for
                                                           for unsecured
                                                               unsecured creditors.
                                                                          creditors.

       If no
       If    others need
          no others      to be
                    need to             for the
                               notified for
                            be notified         debts listed
                                            the debts        in Parts
                                                      listed in       1 and
                                                                Parts 1     2, do
                                                                        and 2,        fill out
                                                                                  not fill
                                                                               do not          or submit
                                                                                           out or        this page.
                                                                                                  submit this       If additional
                                                                                                              page. If            pages are
                                                                                                                       additional pages     needed, copy
                                                                                                                                        are needed,      the next
                                                                                                                                                    copy the      page.
                                                                                                                                                             next page.

               Name and
               Name and mailing
                        mailing address
                                address                                                                      On which
                                                                                                             On  which line
                                                                                                                        line in
                                                                                                                             in Purl
                                                                                                                                 Part1 or
                                                                                                                                        or Part
                                                                                                                                           Part 22 is th e
                                                                                                                                                   is the       Last 4
                                                                                                                                                                Last 4 digits
                                                                                                                                                                       digits of
                                                                                                                                                                              of
                                                                                                             related creditor
                                                                                                             related creditor (if
                                                                                                                               (if any)
                                                                                                                                   any) listed?
                                                                                                                                         listed?                account number,
                                                                                                                                                                account   number, if
                                                                                                                                                                                  if
                                                                                                                                                                any
                                                                                                                                                                any

                  Total Amounts
                  Total Amounts of
                                of the
                                   the Priority
                                       Priority and
                                                and Nonpriority
                                                    Nonpriority Unsecured
                                                                Unsecured Claims
                                                                          Claims
     5. Add
     5. Add the
            the amounts
                amounts of
                        of priority
                           priority and
                                    and nonpriority
                                        nonpriority unsecured
                                                    unsecured claims.
                                                              claims.
                                                                                                                                 Total of
                                                                                                                                 Total of claim
                                                                                                                                          claim amounts
                                                                                                                                                amounts
     5a. Total
     5a.       claims from
         Total claims      Part 11
                      from Part                                                                                 5a.
                                                                                                                 5a.        $$                        19,797.69
                                                                                                                                                      19,797.69
     5b.       claims from
         Total claims
     5b. Total                  2
                           Part 2
                      from Part                                                                                  5b.
                                                                                                                 5b.    +
                                                                                                                        +   $$                       932,229.62
                                                                                                                                                     932,229.62

     5c. Total
     5c. Total of
                of Parts
                   Parts 1  1 and
                              and 2
                                  2
          Lines 5a
          Lines               5c.
                       5b == 5c.
                 5a ++ 5b                                                                                       5c.
                                                                                                                 5c.        $                            952,027.31
                                                                                                                                                         952,027.31




    Official Form
    Official Form 206
                  206 E/F
                      E/F                                       Schedule E/F:
                                                                Schedule      Creditors Who
                                                                         E/F: Creditors     Have Unsecured
                                                                                        Who Have           Claims
                                                                                                 Unsecured Claims                                                           Page    of 77
                                                                                                                                                                            Page 77 of
Filed 02/14/23                                                            Case 23-20455                                                                                Doc 1

      Fillin
      Fill    this information
           in this information to
                               to identify
                                  identify the
                                           the case:
                                               case:

      Debtorname
      Debtor name         Placer Academy
                          Placer Academy Schools
                                         Schools

      United States
      United                   Court for
                    Bankruptcy Court
             States Bankruptcy           the:
                                     for the:          EASTERN DISTRICT
                                                       EASTERN             CALIFORNIA
                                                                        OF CALIFORNIA
                                                               DISTRICT OF

      Case number
      Case number (if
                  (if known)
                      known)
                                                                                                                                        (0
                                                                                                                                        ❑    Check if
                                                                                                                                             Check if this
                                                                                                                                                      this isis an
                                                                                                                                                                an
                                                                                                                                             amended filing
                                                                                                                                             amended    filing


     Official Form
     Official Form 206G
                    206G
     Schedule G:
     Schedule       Executory Contracts
                 G: Executory                         Leases
                                            Unexpired Leases
                                        and Unexpired
                              Contracts and                                                                                                                    42/15
                                                                                                                                                               12/15
        as complete
     Be as
     Be                 accurate as
                    and accurate
           complete and                       If more
                                    possible. If
                                 as possible.               is needed,
                                                      space is
                                                 more space    needed, copy and attach
                                                                       copy and            additional page,
                                                                                       the additional
                                                                                attach the                         the entries
                                                                                                            number the
                                                                                                      page, number             consecutively.
                                                                                                                       entries consecutively.

     1.
     1.      Does the
             Does  the debtor
                       debtor have
                                have any
                                      any executory
                                           executory contracts
                                                        contracts or
                                                                   or unexpired
                                                                       unexpired leases?
                                                                                   leases?
             CO No.
             ❑      Check this
                No. Check            and file
                                 box and
                           this box           this form
                                         file this           the debtor's
                                                        with the
                                                   form with     debtor's other  schedules. There
                                                                           other schedules.                  else to
                                                                                                     nothing else
                                                                                                  is nothing
                                                                                            There is                        on this
                                                                                                                     report on
                                                                                                                  to report         form.
                                                                                                                               this form.
            & Yes.  Fill in
               Yes. Fill    all of
                         in all    the information
                                of the             below even
                                       information below      if the
                                                         even if the contacts
                                                                     contacts of leases are
                                                                              of leases are listed
                                                                                            listed on Schedule A/B:
                                                                                                   on Schedule A/B: Assets         and Personal
                                                                                                                              Real and
                                                                                                                    Assets -- Real     Personal                Property
                                                                                                                                                               Property
     (Official Form
     (Official Form 206A/B).
                     206A/B).

      2. List all
      2. List     contracts and
              all contracts and unexpired ieases
                                unexpired leases                                       State the
                                                                                       State           and mailing
                                                                                                 name and
                                                                                             the name               address for
                                                                                                            mailing address     all other
                                                                                                                            for all other parties  with
                                                                                                                                           parties with
                                                                                       whom the
                                                                                       whom   the debtor
                                                                                                  debtor has
                                                                                                         has an
                                                                                                              an executory
                                                                                                                 executory contract
                                                                                                                           contract oror unexpired
                                                                                                                                         unexpired
                                                                                       lease
                                                                                       lease

     2.1.
      2.1.         State what
                   State what thethe contract
                                     contract oror        Lease for
                                                          Lease   for classroom
                                                                      classroom
                   lease is
                   lease  is for
                             for and
                                 and the
                                      the nature
                                           nature of
                                                   of     buildings expires
                                                          buildings   expires July
                                                                              July
                   the debtor's
                   the debtor's interest
                                  interest                31, 2031.
                                                          31, 2031.

                       State the
                       State the term
                                 term remaining
                                      remaining           July 31,
                                                          July 31, 2031
                                                                   2031                                                                      .
                                                                                            Mobile Modular
                                                                                            Mobile  Modular Management
                                                                                                             Management Corporation
                                                                                                                           Corporation
                   List the
                   List              number of
                            contract number
                        the contract              any
                                               of any                                       PO Box
                                                                                            PO       45043
                                                                                                Box 45043
                         government   contract
                         government contract                                                San  Francisco, CA
                                                                                            San Francisco,      94145-5043
                                                                                                            CA 94145-5043



     2.2.
      2.2.         State what
                   State what thethe contract
                                     contract oror      Lease for
                                                        Lease  for school
                                                                   school
                   lease is
                   lease  is for
                             for and
                                 and the
                                      the nature
                                           nature of
                                                   of — expires
                                                        expires July
                                                                 July 31,
                                                                      31, 2031
                                                                          2031
                   the debtor's
                   the debtor's interest
                                  interest

                      State the term
                      State the      remaining
                                term remaining            July 31,
                                                          July     2031
                                                               31, 2031                     Placer  County Association
                                                                                            Placer County               of Realtors
                                                                                                            Association of          In
                                                                                                                           Realtors In
                                                                                            270 Technology
                                                                                            270  Technology Way
                                                                                                              Way
                   List the
                   List              number of
                            contract number
                        the contract              any
                                               of any                                       Suite  100
                                                                                            Suite 100
                         government   contract
                         government contract                                                Rocklin, CA
                                                                                            Rocklin,      95765
                                                                                                       CA 95765


     2.3.
     2.3.         State what
                  State what thethe contract
                                    contract oror         Copier leases
                                                          Copier leases
                  lease is
                  lease  is for
                            for and
                                and the
                                     the nature
                                          nature of
                                                  of
                  the debtor's
                  the debtor's interest
                                 interest

                      State the
                      State the term
                                term remaining
                                     remaining

                  List the
                  List              number of
                           contract number
                       the contract              any
                                              of any                                        xerox
                                                                                            xerox
                        government contract
                        government   contract




    Official      206G
             Form 206G
    Official Form                                Schedule G:
                                                 Schedule    Executory Contracts
                                                          G: Executory           and Unexpired
                                                                       Contracts and           Leases
                                                                                     Unexpired Leases                                                       Page 1
                                                                                                                                                            Page      1
                                                                                                                                                                   of 1
                                                                                                                                                                 1 of
Filed 02/14/23                                                                  Case 23-20455                                                                                             Doc 1

      Fill in
      Fill in this information to
              this information    identify the
                               to identify     case:
                                           the case:

      Debtor name
      Debtor name        Placer Academy
                         Placer Academy Schools
                                        Schools

      United States
      United States Bankruptcy
                    Bankruptcy Court
                               Court for
                                     for the:
                                         the:            EASTERN DISTRICT
                                                         EASTERN DISTRICT OF
                                                                          OF CALIFORNIA
                                                                             CALIFORNIA

      Case number
      Case number (if
                  (if known)
                      known)
                                                                                                                                                      CQ
                                                                                                                                                      ❑    Check if
                                                                                                                                                           Check if this
                                                                                                                                                                    this isis an
                                                                                                                                                                              an
                                                                                                                                                           amended filing
                                                                                                                                                           amended    filing


     Official Form
     Official Form 206H
                    206H
     Schedule H:
     Schedule    H: Your
                    Your Codebtors
                         Codebtors                                                                                                                                           12/15
                                                                                                                                                                             12/15


         as complete
     Be as
     Be                    accurate as
                      and accurate
            complete and                         If more
                                       possible. If
                                    as possible.               is needed,
                                                         space is
                                                    more space                 the Additional
                                                                          copy the
                                                                  needed, copy                      numbering the
                                                                                              Page, numbering
                                                                                   Additional Page,                       consecutively. Attach
                                                                                                                  entries consecutively.
                                                                                                              the entries                       the
                                                                                                                                         Attach the
     Additional Page
     Additional  Page to
                      to this
                         this page.
                              page.

          1. Do
          1. Do you
                you have
                    have any
                         any codebtors?
                             codebtors?


     2 No.
     L      Check this
        No. Check          and submit
                       box and
                  this box            this form
                               submit this      to the
                                           form to           with the
                                                       court with
                                                   the court          debtor's other
                                                                  the debtor's       schedules. Nothing
                                                                               other schedules.              needs to
                                                                                                        else needs
                                                                                                Nothing else             reported on
                                                                                                                      be reported
                                                                                                                   to be                  form.
                                                                                                                                     this form.
                                                                                                                                  on this
     ZC Yes
     ❑  Yes

       2. In
       2.    Column 1,
          In Column       list as
                       1, list    codebtors all
                               as codebtors            of the
                                                   all of       people or
                                                           the people                  who are
                                                                             entities who
                                                                          or entities            also liable
                                                                                             are also          for any
                                                                                                       liable for                 listed by
                                                                                                                          debts listed
                                                                                                                    any debts                      debtor in
                                                                                                                                              the debtor
                                                                                                                                          by the            in the schedules of
                                                                                                                                                               the schedules    of
                      Schedules D-G.
          creditors, Schedules
          creditors,                        Include all
                                    D-G. Include            guarantors and
                                                       all guarantors          co-obligors. In
                                                                          and co-obligors.      Column 2,
                                                                                             In Column   2, identify        creditor to
                                                                                                                      the creditor
                                                                                                            identify the                 whom the
                                                                                                                                      to whom    the debt     owed and
                                                                                                                                                          is owed
                                                                                                                                                     debt is                   schedule
                                                                                                                                                                          each schedule
                                                                                                                                                                    and each
          on which
          on        the creditor
             which the               listed. IfIf the
                                  is listed.
                         creditor is                   codebtor is
                                                  the codebtor     is liable       debt to
                                                                             on aa debt
                                                                      liable on                   than one
                                                                                            more than
                                                                                         to more                        list each
                                                                                                             creditor, list
                                                                                                       one creditor,                         separately in
                                                                                                                                    creditor separately
                                                                                                                             each creditor                    Column 2.
                                                                                                                                                          in Column    2.
                 Column 1:
                Column     1: Codebtor
                              Codebtor                                                                                  Column 2:
                                                                                                                        Column     2. Creditor
                                                                                                                                       Creditor




                 Name
                 Name                                     Address
                                                  Mailing Address
                                                  Mailing                                                             Name
                                                                                                                      Name                                  Check all
                                                                                                                                                           Check       schedules
                                                                                                                                                                   all schedules
                                                                                                                                                           that apply:
                                                                                                                                                           that apply:
        2.1
        2.1                                                                                                                                                OpD
                                                                                                                                                           ❑
                                                 Street
                                                  Street                                                                                                   D E/F
                                                                                                                                                           ❑ E/F
                                                                                                                                                           OGG
                                                                                                                                                           O

                                                 City
                                                  City                       State
                                                                              State           Zip Code
                                                                                              Zip Code


        2.2
        2.2                                                                                                                                                ODD
                                                                                                                                                           O
                                                 Street
                                                  Stree                                                                                                    C] E/F
                                                                                                                                                           ❑  E/F
                                                                                                                                                           OGG
                                                                                                                                                           0

                                                 City
                                                  City                       State
                                                                              State           Zip Code
                                                                                              Zip Code


       2.3
       2.3                                                                                                                                                 OpD
                                                                                                                                                           O
                                                Street
                                                 Street                                                                                                    CO E/F
                                                                                                                                                           ❑  E/F
                                                                                                                                                           OGG
                                                                                                                                                           O

                                                 City
                                                  City                       State
                                                                              State           Zip Code
                                                                                              Zip Code


       2.4
       2.4                                                                                                                                                 OpD
                                                                                                                                                           O
                                                 Street
                                                  Street                                                                                                   ❑   E/F
                                                                                                                                                           CO] E/F
                                                                                                                                                           OGG
                                                                                                                                                           O

                                                 City
                                                  City                       State
                                                                              State          Zip Code
                                                                                             Zip Code




    Official Form
    Official      206H
             Form 206H                                                                  Schedule H:
                                                                                        Schedule         Codebtors
                                                                                                    Your Codebtors
                                                                                                 H: Your                                                                 Page 1
                                                                                                                                                                         Page      1
                                                                                                                                                                                of 1
                                                                                                                                                                              1 of
Filed 02/14/23                                                                 Case 23-20455                                                                                        Doc 1




      Fill in this information to identify the case:

      Debtorname
      Debtor name        Placer Academy
                         Placer Academy Schools
                                        Schools

      United States
      United                   Court for
                    Bankruptcy Court
             States Bankruptcy           the:
                                     for the:         EASTERN DISTRICT
                                                      EASTERN             CALIFORNIA
                                                                       OF CALIFORNIA
                                                              DISTRICT OF

      Case number
      Case number (if
                  (if known)
                      known)
                                                                                                                                                   (i Check
                                                                                                                                                   El Check if
                                                                                                                                                            if this
                                                                                                                                                               this isis an
                                                                                                                                                                         an
                                                                                                                                                      amended filing
                                                                                                                                                      amended    filing



     Official Form
     Official Form 207
                    207
     Statement of
     Statement                Affairs for
                    Financial Affairs
                 of Financial                             Filing for
                                          Non-Individuals Filing
                                      for Non-Individuals            Bankruptcy
                                                                 for Bankruptcy                                                                                               04/22
                                                                                                                                                                              04/22

     The debtor
     The         must answer
          debtor must  answer every   question. If
                               every question.     more space
                                                If more   space is needed, attach
                                                                is needed, attach a
                                                                                  a separate sheet to
                                                                                    separate sheet to this
                                                                                                      this form. On the
                                                                                                           form. On the top of any
                                                                                                                        top of any additional pages,
                                                                                                                                   additional pages,
     write the
     write the debtor's
               debtor’s name
                        name and
                              and case
                                   case number
                                         number (if
                                                  (if known).
                                                      known).

     EEERE Income
           income
     1. Gross
     1. Gross revenue
              revenue from
                      from business
                           business

          CI None.
          0  None.

           Identify the beginning
           identify the                                of the
                                                 dates of
                                          ending dates
                                     and ending
                         beginning and                    the debtor's        year,
                                                                       fiscal year,
                                                              debtor's fiscal                        Sources of
                                                                                                     Sources      revenue
                                                                                                               of revenue                                 Gross   revenue
                                                                                                                                                          Gross revenue
           which may
           which        be a
                   may be               year
                              calendar year
                            a calendar                                                               Check all
                                                                                                     Check          apply
                                                                                                               that apply
                                                                                                           all that                                       (before deductions
                                                                                                                                                          (before             and
                                                                                                                                                                   deductions and
                                                                                                                                                          exclusions)
                                                                                                                                                          exclusions)

           For prior
           For       year:
               prior year:                                                                             Operating aa business
                                                                                                     E Operating    business                                      $1,530,988.38
                                                                                                                                                                  $1,530,988.38
           From 7/01/2022
           From  7/01/2022 to
                           to Filing
                              Filing Date
                                     Date
                                                                                                     Mother
                                                                                                     0 Other



           For year
           For year before
                     before that:
                             that:                                                                   @ Operating
                                                                                                       Operating aa business
                                                                                                                    business                                      $3,836,401.47
                                                                                                                                                                  $3,836,401.47
                 7/01/2021 to
           From 7/01/2021
           From                 6/30/2022
                            to 6/30/2022                                                                                                              ~
                                                                                                     Cl Other
                                                                                                     0  Other



           For the
           For the fiscal year:
                   fiscal year:                                                                      t@ Operating
                                                                                                        Operating aa business
                                                                                                                     business                                     $3,601,738.40
                                                                                                                                                                  $3,601,738.40
           From 7/01/2020
           From  7/01/2020 to
                            to 6/30/2021
                                6/30/2021                                                                                                                        —
                                                                                                     Cj Other
                                                                                                     0  Other

     2. Non-business
     2. Non-business revenue
                          revenue
                                       of whether
                            regardless of
                 revenue regardless
        Include revenue
        Include                           whether that  revenue is
                                                   that revenue     taxable. Non-business
                                                                 is taxable.                         may include
                                                                                            income may
                                                                             Non-business income                  interest, dividends,
                                                                                                          include interest,                   collected from
                                                                                                                                        money collected
                                                                                                                             dividends, money                lawsuits,
                                                                                                                                                        from lawsuits,
             royalties. List
        and royalties.
        and                        source and
                              each source
                        List each                  gross revenue
                                               the gross
                                           and the                  for each
                                                          revenue for                    Do not
                                                                             separately. Do
                                                                        each separately.         include revenue
                                                                                             not include                  in line
                                                                                                                   listed in
                                                                                                         revenue listed           1.
                                                                                                                             line 1.

          C1 None.
          0  None.
                                                                                                     Description of
                                                                                                     Description of sources
                                                                                                                    sources of
                                                                                                                            of revenue
                                                                                                                               revenue                 Gross revenue
                                                                                                                                                       Gross   revenue from
                                                                                                                                                                         from
                                                                                                                                                       each source
                                                                                                                                                       each   source
                                                                                                                                                       (before deductions
                                                                                                                                                       (before  deductions and
                                                                                                                                                                            and
                                                                                                                                                       exclusions)
                                                                                                                                                       exclusions)

           From the
           From the beginning
                    beginning of of the
                                    the fiscal
                                        fiscal year
                                               year to
                                                    to filing
                                                       filing date:
                                                              date:                                  Interest on
                                                                                                     Interest on Checking
                                                                                                                 Checking
           From  7/01/2023 toto Filing
           From 7/01/2023               Date
                                Filing Date                                                          Account
                                                                                                     Account                                                               $28.54
                                                                                                                                                                           $28.54



                   Certain Transfers
              List Certain
    raZk,',,, List                   Made Before
                           Transfers Made        Filing for
                                          Before Filing     Bankruptcy
                                                        for Bankruptcy

    3.            payments or
       Certain payments
    3. Certain                     transfers to
                               or transfers      creditors within
                                              to creditors    within 90     days before
                                                                        90 days              filing this
                                                                                   before filing           case
                                                                                                     this case
             payments or
       List payments
       List                 transfers--including expense
                        or transfers--including                reimbursements--to any
                                                   expense reimbursements--to                  creditor, other
                                                                                        any creditor,                   regular employee
                                                                                                                  than regular
                                                                                                          other than                        compensation, within
                                                                                                                                 employee compensation,           90 days
                                                                                                                                                           within 90       before
                                                                                                                                                                     days before
       filing this
       filing      case unless
              this case                           value of
                                       aggregate value
                                  the aggregate
                         unless the                          all property
                                                          of all             transferred to
                                                                 property transferred          that creditor
                                                                                           to that   creditor is   less than
                                                                                                               is less                (This amount
                                                                                                                              $7,575. (This
                                                                                                                        than $7,575.                     be adjusted
                                                                                                                                                     may be
                                                                                                                                             amount may      adjusted on  4/01/25
                                                                                                                                                                       on 4/01/25
             every 3
       and every
       and            years after
                    3 years                            to cases
                                              respect to
                                         with respect
                                    that with
                             after that                    cases filed    on or
                                                                   filed on      after the
                                                                              or after      date of
                                                                                       the date        adjustment.)
                                                                                                   of adjustment.)




    Official      207
             Form 207
    Official Form                                    Statement of
                                                     Statement    Financial Affairs
                                                               of Financial         for Non-Individuals
                                                                            Affairs for                 Filing for
                                                                                        Non-individuals Filing     Bankruptcy
                                                                                                               for Bankruptcy                                                 page 1
                                                                                                                                                                              page 1
Filed 02/14/23                                                                         Case 23-20455                                                                                                     Doc 1

      Debtor
      Debtor       Placer Academy
                   Placer         Schools
                          Academy Schools                                                                                  Case number
                                                                                                                           Case               known)
                                                                                                                                number (if(if known)




           C1 None.
           ❑  None.

            Creditor's Name
            Creditor's          Address
                            and Address
                       Name and                                                       Dates
                                                                                       Dates                      Total           value
                                                                                                                               of value
                                                                                                                        amount of
                                                                                                                  Total amount                       Reasons for
                                                                                                                                                     Reasons        payment or
                                                                                                                                                               for payment     transfer
                                                                                                                                                                            or transfer
                                                                                                                                                     Check all
                                                                                                                                                     Check all that
                                                                                                                                                               that apply
                                                                                                                                                                    apply

                         Safe
                 Charter Safe
            3.1. Charter
            3.1.
                                                                                       40/10/22;
                                                                                       10/10/22;                               $15,456.42
                                                                                                                               $15,456.42            0          debt
                                                                                                                                                        Secured debt
                                                                                                                                                     (1 Secured
                                                                                       11/21/22
                                                                                       11/21/22                                                      C] Unsecured
                                                                                                                                                     ❑  Unsecured loan
                                                                                                                                                                  loan repayments
                                                                                                                                                                       repayments
                                                                                                                                                     @ Suppliers
                                                                                                                                                     ■ Suppliers or
                                                                                                                                                                 or vendors
                                                                                                                                                                    vendors
                                                                                                                                                       Services
                                                                                                                                                     ■ Services
                                                                                                                                                     (Other
                                                                                                                                                     ❑ Other __



            3-2. School
            3.2.
                        Steps
                 School Steps                                                          40/10/22;
                                                                                       10/10/22;                               $22,850.00
                                                                                                                               $22,850.00            C1 Secured debt
                                                                                                                                                     ❑ Secured debt
                                                                                       11/21/22
                                                                                       11/21/22                                                      C] Unsecured
                                                                                                                                                     ❑  Unsecured loan
                                                                                                                                                                  loan repayments
                                                                                                                                                                       repayments
                                                                                                                                                     E! Suppliers
                                                                                                                                                     ■  Suppliers or
                                                                                                                                                                  or vendors
                                                                                                                                                                     vendors
                                                                                                                                                     EE Services
                                                                                                                                                     ■  Services
                                                                                                                                                     [] Other
                                                                                                                                                     ❑  Other __


            3.3.
            3.3.
                    Small      Construction
                          Town Construction
                    small Town                                                         41/21/22
                                                                                       11/21/22                                  $7,909.17
                                                                                                                                 $7,909.17           © Secured debt
                                                                                                                                                     ❑ Secured debt
                                                                                                                                                     C) Unsecured
                                                                                                                                                     ❑  Unsecured loan
                                                                                                                                                                  loan repayments
                                                                                                                                                                       repayments
                                                                                                                                                     = Suppliers
                                                                                                                                                     ■ Suppliers or
                                                                                                                                                                 or vendors
                                                                                                                                                                    vendors
                                                                                                                                                     H Services
                                                                                                                                                     ■ Services
                                                                                                                                                     0] Other
                                                                                                                                                     ❑  Other__


            3.4.
            3.4.
                   Environmental Control
                   Environmental Control                                              40/10/22:
                                                                                      10/10/22;                                $11,507.12
                                                                                                                               $11,507.12            C1 Secured debt
                                                                                                                                                     ❑ Secured debt
                                                                                      11/5/22;
                                                                                      11/5/22;                                                       C) Unsecured
                                                                                                                                                     ❑  Unsecured loan
                                                                                                                                                                  loan repayments
                                                                                                                                                                       repayments
                                                                                      11/21/22
                                                                                      11/21/22                                                       & Suppliers
                                                                                                                                                     ■ Suppliers or
                                                                                                                                                                 or vendors
                                                                                                                                                                    vendors
                                                                                                                                                       Services
                                                                                                                                                     ■ Services
                                                                                                                                                     O] Other
                                                                                                                                                     ❑  Other__


            3.5.
            3.5.
                   EdTec inc.
                   EaTec Inc.                                                         11/21/22,
                                                                                      11/21/22,                                $39,635.21
                                                                                                                               $39,635.21             1 Secured debt
                                                                                                                                                     ❑ Secured debt
                                                                                      1/25/2023
                                                                                      1/25/2023                                                      (] Unsecured
                                                                                                                                                     ❑  Unsecured loan
                                                                                                                                                                  loan repayments
                                                                                                                                                                       repayments
                                                                                                                                                     (1 Suppliers
                                                                                                                                                     ❑  Suppliers or
                                                                                                                                                                  or vendors
                                                                                                                                                                     vendors
                                                                                                                                                     & Services
                                                                                                                                                     ■ Services
                                                                                                                                                     [ Other
                                                                                                                                                     ❑ other__


            36. Revolution
           3.6.
                           Foods
                Revolution Foods                                                      40/10/22;
                                                                                      10/10/22;                                $17,854.30
                                                                                                                               $17,854.30            11 Secured debt
                                                                                                                                                     ❑ Secured debt
                   8393           Drive
                         Capwell Drive
                   8393 Capwell                                                       11/21/22
                                                                                      11/21/22                                                       ❑   Unsecured loan
                                                                                                                                                     [7] Unsecured      repayments
                                                                                                                                                                   loan repayments
                   Oakland, CA
                   Oakland,  CA 94621
                                 94621                                                                                                                 suppliers or
                                                                                                                                                     ■ Suppliers or vendors
                                                                                                                                                                    vendors
                                                                                                                                                     C] Services
                                                                                                                                                     ❑  Services
                                                                                                                                                     C) Other
                                                                                                                                                     ❑  Other__


                Newcastle Elementary
           3.7. Newcastle
           3.7.
                                            District
                                     School District
                          Elementary School                                           10/17/22;
                                                                                      10/17/22;                                $40,000.00
                                                                                                                               $40,000.00            (1 Secured debt
                                                                                                                                                     ❑ Secured debt
                                                                                      12/5/22
                                                                                      12/5/22                                                        [J Unsecured
                                                                                                                                                     ❑  Unsecured loan
                                                                                                                                                                  loan repayments
                                                                                                                                                                       repayments
                                                                                                                                                     & Suppliers
                                                                                                                                                     ■ Suppliers or
                                                                                                                                                                 or vendors
                                                                                                                                                                    vendors
                                                                                                                                                     & Services
                                                                                                                                                     ■ Services
                                                                                                                                                     O Other
                                                                                                                                                     ❑ Other__


       Payments or
    4. Payments
    4.                             transfers of
                           other transfers
                      or other                      property made
                                                of property              within 1
                                                                made within                 before filing
                                                                                     year before
                                                                                   1 year                    this case
                                                                                                     filing this                   benefited any
                                                                                                                            that benefited
                                                                                                                    case that                           insider
                                                                                                                                                  any insider
             payments or
       List payments
       List                                 including expense
                               transfers, including
                           or transfers,                            reimbursements, made
                                                        expense reimbursements,                    within 1
                                                                                           made within       year before
                                                                                                           1 year                            case on
                                                                                                                                       this case
                                                                                                                               filing this
                                                                                                                     before filing                              owed to
                                                                                                                                                        debts owed
                                                                                                                                                    on debts               an insider
                                                                                                                                                                       to an                guaranteed
                                                                                                                                                                                        or guaranteed
                                                                                                                                                                               insider or
       or  cosigned by
       or cosigned     by an              unless the
                                 insider unless
                            an insider             the aggregate      value of
                                                        aggregate value          all property
                                                                              of all            transferred to
                                                                                     property transferred       to or  for the
                                                                                                                   or for         benefit of
                                                                                                                            the benefit     of the
                                                                                                                                               the insider   is less
                                                                                                                                                     insider is       than $7,575.
                                                                                                                                                                 less than                     amount
                                                                                                                                                                                        (This amount
                                                                                                                                                                             $7,575. (This
       may be
       may        adjusted on
              be adjusted                    and every
                                   4/01/25 and
                              on 4/01/25                     years after
                                                   every 3 3 years          that with
                                                                     after that         respect to
                                                                                  with respect    to cases           on or
                                                                                                              filed on
                                                                                                      cases filed         or after         date of
                                                                                                                                     the date
                                                                                                                             after the               adjustment.) Do
                                                                                                                                                 of adjustment.)              include any
                                                                                                                                                                          not include
                                                                                                                                                                     Do not                   payments
                                                                                                                                                                                         any payments
       listed in
       listed           3. Insiders
                  line 3.
               in line                           officers, directors,
                                       include officers,
                            Insiders include                                   anyone in
                                                                         and anyone
                                                            directors, and                  control of
                                                                                         in control   ofaa corporate      debtor and
                                                                                                           corporate debtor          and their
                                                                                                                                           their relatives;             partners of
                                                                                                                                                             general partners
                                                                                                                                                 relatives; general                       partnership
                                                                                                                                                                                       a partnership
                                                                                                                                                                                    of a
    Official Form
    Official      207
             Form 207                                     Statement of Financial
                                                          Statement of           Affairs for
                                                                       Financial Affairs     Non-individuais Filing
                                                                                         for Non-Individuals            Bankruptcy
                                                                                                                    for Bankruptcy
                                                                                                             Filing for                                                                        page 22
                                                                                                                                                                                               page
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      Debtor
      Debtor     Placer Academy
                 Placer Academy Schools
                                Schools                                                                        Case number
                                                                                                               Case number (if  known)
                                                                                                                            (rf known)




         debtor and
         debtor     their relatives;
                and their                       of the
                                     affiliates of
                          relatives: affiliates    the debtor and insiders
                                                       debtor and          of such
                                                                  insiders of such affiliates;     any managing
                                                                                               and any
                                                                                   affiliates; and                    of the
                                                                                                                agent of
                                                                                                       managing agent    the debtor. 11 U.S.C.
                                                                                                                             debtor. 11        § 101(31).
                                                                                                                                        U.S.C. § 101(31).


               None.
               None.

           insider's name
           Insider's             address
                            and address
                     name and                                                  Dates
                                                                               Dates                   Total        of value
                                                                                                             amount of
                                                                                                       Total amount    value          Reasons for
                                                                                                                                      Reasons     payment or
                                                                                                                                              for payment    transfer
                                                                                                                                                          or transfer
           Relationship to
           Relationship  to debtor
                             debtor

     5. Repossessions,
     5.  Repossessions, foreclosures,
                                foreclosures, andand returns
                                                       returns
         List all
        List       property of
               all property           debtor that
                                 the debtor
                             of the                     obtained by
                                                  was obtained
                                             that was              by a           within 1
                                                                         creditor within
                                                                       a creditor           year before
                                                                                          1 year        filing this
                                                                                                 before filing             including property
                                                                                                                    case, including
                                                                                                               this case,                        repossessed by
                                                                                                                                      property repossessed       a creditor,
                                                                                                                                                              by a                at
                                                                                                                                                                             sold at
                                                                                                                                                                   creditor, sold
                          sale, transferred
            foreclosure sale,
        aa foreclosure                               deed in
                                               by aa deed
                                  transferred by                      foreclosure, or
                                                                   of foreclosure,
                                                              lieu of
                                                           in lieu                      returned to
                                                                                     or returned        seller. Do
                                                                                                    the seller.
                                                                                                 to the                  include property
                                                                                                                    not include
                                                                                                                 Do not                            in line
                                                                                                                                            listed in
                                                                                                                                  property listed          6.
                                                                                                                                                      line 6.

          H None
          IF None

           Creditor's name and
           Creditor's name     address
                           and address                           Describe of the
                                                                 Describe of     Property
                                                                             the Property                                          Date
                                                                                                                                   Date                       Value of
                                                                                                                                                              Value    property
                                                                                                                                                                    of property


     6. Setoffs
     6. Setoffs
        List any
        List      creditor, including
              any creditor,            a bank
                             including a bank or   financial institution,
                                               or financial                that within
                                                              institution, that            days before
                                                                                        90 days
                                                                                within 90                 filing this
                                                                                                 before filing        case set
                                                                                                                 this case           or otherwise
                                                                                                                                off or
                                                                                                                            set off                     anything from
                                                                                                                                                   took anything
                                                                                                                                         otherwise took                    account
                                                                                                                                                                        an account
                                                                                                                                                                  from an
        of the
        of      debtor without
            the debtor                       or refused
                                 permission or
                        without permission       refused to   make a
                                                           to make       payment at
                                                                      a payment       the debtor's
                                                                                   at the debtor's direction    from an
                                                                                                    direction from        account of
                                                                                                                      an account        the debtor
                                                                                                                                    of the         because the
                                                                                                                                            debtor because               owed aa
                                                                                                                                                                 debtor owed
                                                                                                                                                             the debtor
        debt.
        debt.

          1 None
          ❑ None

           Creditor's name
           Creditor's          address
                           and address
                      name and                                   Description of
                                                                 Description        action creditor
                                                                                the action
                                                                             of the                 took
                                                                                           creditor took                           Date         was
                                                                                                                                         action was
                                                                                                                                   Date action                           Amount
                                                                                                                                                                         Amount
                                                                                                                                   taken
                                                                                                                                   taken
           Charter          Capital
                     School Capital
           Charter School                                        Retained account
                                                                 Retained                receivable not
                                                                              account receivable                to
                                                                                                        subject to
                                                                                                    not subject                    December 21,
                                                                                                                                   December 21,                      Unknown
                                                                                                                                                                     Unknown
           1000       Broadway
                 SW Broadway
           1000 SW                                               purchase      agreement.
                                                                 purchase agreement.                                               2022
                                                                                                                                   2022
           Suite 1800
           Suite  1800                                           Last 4
                                                                 Last 4 digits
                                                                        digits of
                                                                               of account
                                                                                  account number:
                                                                                           number:
           Portland, OR
           Portland,   OR 97205
                          97205


    Parr         Legal Actions
                 Legal Actions or
                               or Assignments
                                  Assignments
     7. Legal
     7.          actions, administrative
        Legal actions,                     proceedings, court
                           administrative proceedings,        court actions,                 attachments, or
                                                                                executions, attachments,
                                                                      actions, executions,                                     audits
                                                                                                               governmental audits
                                                                                                            or governmental
        List the
        List      legal actions,
             the legal                          investigations, arbitrations,
                                 proceedings, investigations,
                        actions, proceedings,                                    mediations, and
                                                                   arbitrations, mediations,            by federal
                                                                                                 audits by
                                                                                             and audits    federal or       agencies in
                                                                                                                      state agencies
                                                                                                                   or state              which the
                                                                                                                                      in which     debtor was
                                                                                                                                               the debtor     involved
                                                                                                                                                          was involved
        in any
        in any capacity—within
                 capacity—within 1 1 year
                                     year before
                                          before filing
                                                  filing this
                                                         this case.
                                                               case.

          E None.
          N None.

                       title
                  Case title
                  Case                                           Nature of
                                                                 Nature    case
                                                                        of case                 Court or agency's
                                                                                                Court or               and
                                                                                                                  name and
                                                                                                         agency's name                      Status of
                                                                                                                                            Status    case
                                                                                                                                                   of case
                  Case number
                  Case number                                                                   address
                                                                                                address

     8. Assignments
     8. Assignments and
                    and receivership
                        receivership
        List any
        List      property in
             any property                  of an
                                    hands of
                               the hands
                            in the               assignee for
                                              an assignee      the benefit
                                                           for the          of creditors
                                                                   benefit of            during the
                                                                               creditors during       120 days
                                                                                                  the 120       before filing
                                                                                                           days before        this case
                                                                                                                       filing this      and any
                                                                                                                                   case and     property in
                                                                                                                                            any property    the hands
                                                                                                                                                         in the       of a
                                                                                                                                                                hands of a
        receiver, custodian,
        receiver,  custodian, oror other
                                   other court-appointed
                                         court-appointed officer
                                                          officer within
                                                                  within 11 year
                                                                            year before
                                                                                  before filing
                                                                                         filing this
                                                                                                this case.
                                                                                                     case.


          E None
          I! None



           Certain
    IZIEBI Ce       Gifts and
              rtain Gifts and Charitable
                              Charitable Contributions
                                         Contributions
    9. List all
    9. List            or charitable
                 gifts or
             all gifts                               the debtor
                                      contributions the
                          charitable contributions                   to a
                                                                gave to
                                                         debtor gave      recipient within
                                                                        a recipient within 2 years before
                                                                                           2 years               this case
                                                                                                          filing this
                                                                                                   before filing                  the aggregate
                                                                                                                           unless the
                                                                                                                      case unless                     of
                                                                                                                                                value of
                                                                                                                                      aggregate value
       the  gifts to
       the gifts      that recipient
                   to that recipient is
                                     is less
                                        less than
                                             than $1,000
                                                  $1,000


          @ None
            None

                  Recipient's name
                  Recipient's          address
                                   and address
                              name and                           Description of
                                                                 Description    the gifts
                                                                             of the          contributions
                                                                                          or contributions
                                                                                    gifts or                                    Dates given
                                                                                                                                Dates given                                Value
                                                                                                                                                                           Value


    irisice
    MIMI    Certain Losses
            Certain Losses

    40. All
    10. All losses
            losses from
                   from fire,
                        fire, theft,
                              theft, or
                                     or other
                                        other casualty
                                              casualty within
                                                       within 1
                                                              1 year
                                                                year before
                                                                     before filing
                                                                            filing this
                                                                                   this case.
                                                                                        case.


          EB None
          ■  None



    Official Form
    Official      207
             Form 207                                          of Financial
                                                     Statement of
                                                     Statement              Affairs for
                                                                  Financial Affairs     Non-individuals Filing
                                                                                    for Non-Individuals            Bankruptcy
                                                                                                               for Bankruptcy
                                                                                                        Filing for                                                          page 3
                                                                                                                                                                            page
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      Debtor
      Debtor        Placer Academy
                    Placer         Schools
                           Academy Schools                                                                                 Case number (if
                                                                                                                           Case number       known)
                                                                                                                                        (it- known)



            Description  of the
            Description of                    and
                                         lost and
                                property lost
                            the property                                      of payments
                                                                       Amount of
                                                                       Amount    payments received for the
                                                                                          received for     loss
                                                                                                       the loss                                Dates of
                                                                                                                                               Dates    loss
                                                                                                                                                     of loss              Value of
                                                                                                                                                                          Value    property
                                                                                                                                                                                of property
            how  the loss
            how the        occurred
                     loss occurred                                                                                                                                                      lost
                                                                                                                                                                                        lost
                                                                      If you
                                                                      If you have
                                                                               have received
                                                                                       received payments
                                                                                                    payments toto cover
                                                                                                                  cover the
                                                                                                                        the loss,
                                                                                                                             loss, for
                                                                                                                                   for
                                                                      example, from
                                                                      example,       from insurance,
                                                                                             insurance, government
                                                                                                         government compensation,
                                                                                                                       compensation, oror
                                                                      tort liability,
                                                                      tort  liability, list
                                                                                        list the
                                                                                             the total
                                                                                                 total received.
                                                                                                       received.

                                                                      List unpaid
                                                                      List unpaid claims
                                                                                   claims on
                                                                                           on Official
                                                                                              Official Form
                                                                                                       Form 106A/B
                                                                                                             106A/B (Schedule
                                                                                                                      (Schedule
                                                                      A/B: Assets
                                                                      NB:   Assets —— Real
                                                                                      Real and
                                                                                            and Personal
                                                                                                 Personal Property).
                                                                                                           Property).

     Part 6:        Certain Payments
                    Certain Payments or
                                     or Transfers
                                        Transfers
     11. Payments
     11. Payments related related toto bankruptcy
                                        bankruptcy
         List any
         List        payments of
                any payments           money or
                                   of money        other transfers
                                               or other               of property
                                                           transfers of            made by
                                                                         property made            debtor or
                                                                                              the debtor
                                                                                          by the            person acting
                                                                                                         or person          on behalf
                                                                                                                    acting on          of the
                                                                                                                                behalf of the debtor   within 1
                                                                                                                                               debtor within    year before
                                                                                                                                                              1 year             filing
                                                                                                                                                                             the filing
                                                                                                                                                                      before the
         of this
         of        case to
             this case        another person
                           to another            or entity,
                                         person or   entity, including   attorneys, that
                                                              including attorneys,             debtor consulted
                                                                                          the debtor
                                                                                     that the                                 consolidation or
                                                                                                                        debt consolidation
                                                                                                                 about debt
                                                                                                      consulted about                            restructuring, seeking
                                                                                                                                              or restructuring,           bankruptcy
                                                                                                                                                                 seeking bankruptcy
         relief, or
         relief,  or filing
                     filing aa bankruptcy
                                bankruptcy case.
                                              case.

           CO None.
           ❑  None.

                           was paid
                     Who was
                     Who             or who
                                paid or     received
                                        who received                     If not
                                                                         If not money, describe any
                                                                                money, describe              transferred
                                                                                                    property transferred
                                                                                                any property                                     Dates
                                                                                                                                                  Dates                     Total amount or
                                                                                                                                                                            Total amount   or
                         transfer?
                     the transfer?
                     the                                                                                                                                                               value
                                                                                                                                                                                      value
                     Address
                     Address
            11.1.    DOWNEY BRAND
                     DOWNEY     BRAND LLP
                                        LLP
                     621 CAPITOL
                     621 CAPITOL MALL,
                                   MALL, 18TH
                                           18TH
                     FLOOR
                     FLOOR
                     SACRAMENTO, CA
                     SACRAMENTO,     CA
                     95814-4719
                     95814-4719                                                                                                                   1/2/23
                                                                                                                                                  1/2/23                         $15,000.00
                                                                                                                                                                                 $15,000.00

                     Email or
                     Email or website
                              website address
                                      address


                     Who made
                     Who made the
                              the payment,
                                  payment, if
                                           if not
                                              not debtor?
                                                  debtor?




    12. Self-settled
    12. Self-settled trusts
                        trusts ofof which
                                     which the
                                             the debtor
                                                  debtor isis a
                                                              a beneficiary
                                                                beneficiary
        List any
        List       payments or
              any payments          transfers of
                                or transfers      property made
                                               of property         by the
                                                             made by       debtor or
                                                                      the debtor       person acting
                                                                                     a person
                                                                                  or a                         of the
                                                                                                        behalf of
                                                                                                     on behalf
                                                                                              acting on           the debtor        10 years
                                                                                                                             within 10
                                                                                                                      debtor within          before the
                                                                                                                                       years before     filing of
                                                                                                                                                    the filing         case
                                                                                                                                                                  this case
                                                                                                                                                               of this
        to a
        to  a self-settled
              self-settied trust
                            trust or
                                   or similar
                                      similar device.
                                              device.
        Do not
        Do   not include
                  include transfers
                          transfers already
                                       already listed
                                                 listed on
                                                        on this
                                                           this statement.
                                                                statement.


          E None.
            None.

           Name of
           Name    trust or
                of trust    device
                         or device                                       Describe              transferred
                                                                                      property transferred
                                                                                  any property
                                                                         Describe any                                                       Dates  transfers
                                                                                                                                            Dates transfers                 Total amount or
                                                                                                                                                                            Total amount   or
                                                                                                                                            were made
                                                                                                                                            were  made                                 value
                                                                                                                                                                                      value

    13. Transfers
    13.  Transfers not not already
                            already listed
                                       listed onon this
                                                    this statement
                                                          statement
         List any
         List       transfers of
               any transfers       money or
                               of money         other property
                                             or other             by sale,
                                                        property by         trade, or
                                                                      sale, trade,           other means
                                                                                        any other
                                                                                    or any                   made by
                                                                                                     means made              debtor or
                                                                                                                        the debtor
                                                                                                                    by the               a person
                                                                                                                                      or a  person acting        behalf of
                                                                                                                                                             on behalf
                                                                                                                                                      acting on              the debtor
                                                                                                                                                                          of the           within
                                                                                                                                                                                   debtor within
            years before
        22 years            the filing
                    before the          of this
                                filing of  this case   to another
                                                 case to   another person,            than property
                                                                              other than
                                                                     person, other                                  in the
                                                                                                       transferred in
                                                                                            property transferred       the ordinary     course of
                                                                                                                            ordinary course                    or financial
                                                                                                                                                     business or
                                                                                                                                                 of business       financial affairs.    Include
                                                                                                                                                                               affairs. Include
                outright transfers
         both outright
        both                          and transfers
                          transfers and                 made as
                                            transfers made     as security.   Do not
                                                                   security. Do                  gifts or
                                                                                       include gifts
                                                                                  not include             transfers previously
                                                                                                       or transfers                       on this
                                                                                                                                  listed on
                                                                                                                    previously listed               statement.
                                                                                                                                              this statement.

          (J None.
          ❑  None.

                    Who received
                    Who           transfer?
                         received transfer?                          Description  of property
                                                                     Description of              transferred or
                                                                                      property transferred     or                             Date transfer
                                                                                                                                              Date transfer                Total amount or
                                                                                                                                                                           Total amount   or
                    Address
                    Address                                          payments   received or
                                                                     payments received     or debts   paid in
                                                                                               debts paid       exchange
                                                                                                            in exchange                       was  made
                                                                                                                                              was made                                value
                                                                                                                                                                                     value
           13.1
           13.1                                  .                   Receivables                   Agreement,
                                                                                     Purchase Agreement,
                                                                     Receivables Purchase
                    Charter School
                    Charter   School Capital
                                      Capital                        whereby Placer
                                                                     whereby    Placer Academy
                                                                                         Academy sold  sold all
                                                                                                              all right,
                                                                                                                  right,
                    1000 SW
                    1000  SW Broadway
                               Broadway                              title, and
                                                                     title, and interest
                                                                                interest in,
                                                                                           in, to,
                                                                                                to, and
                                                                                                    and under
                                                                                                          under
                    Suite 1800
                    Suite  1800                                      attendance receivables
                                                                     attendance     receivables and and grant
                                                                                                          grant
                    Portland, OR
                    Portland,      97205
                                OR 97205                             receivables and
                                                                     receivables                         files.
                                                                                          associated files.
                                                                                    and associated                                            11/10/2021
                                                                                                                                              11/10/2021                       $609,000.00
                                                                                                                                                                               $609,000.00

                    Relationship to
                    Relationship to debtor
                                    debtor
                    None
                    None



    [zie
    Part 7: | Previous  Locations
               Previous Locations

    14. Previous
    14. Previous addresses
                    addresses
        List all
        List     previous addresses
             all previous           used by
                          addresses used        debtor within
                                            the debtor
                                         by the               3 years
                                                       within 3 years before        this case
                                                                             filing this
                                                                      before filing      case and the dates
                                                                                              and the       the addresses
                                                                                                      dates the addresses were used.
                                                                                                                          were used.

    Official      207
             Form 207
    Official Form                                       Statement of
                                                        Statement    Financial Affairs
                                                                  of Financial         for Non-Individuals
                                                                               Affairs for                 Filing for
                                                                                           Non-individuals Filing     Bankruptcy
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      Debtor
      Debtor         Placer Academy
                     Placer         Schools
                            Academy Schools                                                                    Case number (if
                                                                                                               Case number      known)
                                                                                                                            (if known)




           (J Does
           ❑  Does not
                   not apply
                       apply

                        Address
                        Address                                                                                                   Dates of occupancy
                                                                                                                                  Dates of occupancy
                                                                                                                                  From-To
                                                                                                                                  From-To

             14.1.
             14.1.      2213          Blvd.
                              Sunset Blvd.
                        2213 Sunset                                                                                               Aug. 2014 -- Dec.
                                                                                                                                  Aug. 2014         2020
                                                                                                                                               Dec. 2020
                        Rocklin, CA
                        Rocklin,  CA 95765
                                     95765


      Fleece      | Health
                    Health Care
                           Care Bankruptcies
                                Bankruptcies

     15, Health
     15.   Health Care
                    Care bankruptcies
                          bankruptcies
         IsIs the
              the debtor
                  debtor primarily
                          primarily engaged
                                     engaged in  in offering
                                                    offering services
                                                              services and
                                                                       and facilities
                                                                             facilities for:
                                                                                        for:
         -- diagnosing
             diagnosing oror treating
                             treating injury,
                                       injury, deformity,
                                               deformity, oror disease,
                                                               disease, or
                                                                         or
         -- providing
             providing any
                        any surgical,
                             surgical, psychiatric,
                                        psychiatric, drug
                                                       drug treatment,
                                                             treatment, or
                                                                        or obstetric
                                                                            obstetric care?
                                                                                        care?

           L      No. Go
                  No. Gototo Part
                             Part 9.
                                  9.
           []
           ❑      Yes. Fill
                  Yes. Fill in
                            in the
                               the information
                                   information below.
                                               below.


                       Facility name and
                       Facility name     address
                                     and address                    Nature of
                                                                    Nature     the business
                                                                            of the                                    of services
                                                                                                                 type of
                                                                                                       including type
                                                                                            operation, including
                                                                                   business operation,                   services                  If debtor provides
                                                                                                                                                   If debtor             meals
                                                                                                                                                               provides meals
                                                                    the debtor
                                                                    the         provides
                                                                        debtor provides                                                            and  housing, number
                                                                                                                                                   and housing,             of
                                                                                                                                                                    number of
                                                                                                                                                   patients in
                                                                                                                                                   patients  in debtor's
                                                                                                                                                                 debtor’s care
                                                                                                                                                                          care

     Part 9:         Personally Identifiable
                     Personally Identifiable Information
                                             Information

     16. Does
     16.      the debtor
         Does the                and retain
                         collect and
                  debtor collect                       identifiable information
                                            personally identifiable
                                     retain personally                          of customers?
                                                                    information of customers?


           EH     No.
                  No.
           {C]_
           ❑      Yes. State
                  Yes. State the
                             the nature
                                 nature of
                                        of the
                                           the information
                                               information collected
                                                           collected and
                                                                     and retained.
                                                                         retained.

     17. Within
     17.           years before
         Within 66 years                this case,
                                 filing this
                          before filing                   any employees
                                                    have any
                                             case, have                  of the
                                                              employees of  the debtor        participants in
                                                                                         been participants
                                                                                debtor been                       ERISA, 401(k),
                                                                                                              any ERISA,
                                                                                                           in any                        or other
                                                                                                                                 403(b), or
                                                                                                                         401(k), 403(b),                  or
                                                                                                                                                  pension or
                                                                                                                                            other pension
         profit-sharing plan
         profit-sharing  plan made
                               made available
                                      available by
                                                 by the
                                                    the debtor
                                                        debtor as
                                                               as an
                                                                  an employee
                                                                     employee benefit?
                                                                                benefit?

          CO
          ❑       No. Go
                  No. Go to
                         to Part
                            Part 10.
                                 10.
          EE
          ■       Yes. Does
                  Yes. Does the
                            the debtor
                                debtor serve
                                       serve as
                                             as plan
                                                plan administrator?
                                                     administrator?

                          D1 No
                          ❑  No Go
                                Go to
                                   to Part
                                      Part 10.
                                           10.
                         •Ei Yes.
                             Ves. Fill
                                   Fill in
                                        in below:
                                           below:
                         Name of
                         Name       plan
                                 of plan                                                                             Employer identification
                                                                                                                     Employer                 number of
                                                                                                                               identification number    the plan
                                                                                                                                                     of the plan
                         Retirement                  403b
                                           Advantage 403b
                         Retirement Advantage                                                                        EIN:  §6a419
                                                                                                                     EIN: 56a419

                         Has the
                         Has   the plan
                                   plan been
                                        been terminated?
                                             terminated?
                         [C1 No
                         ❑   No
                         E Yes
                         ■ ves

     iis
     PartillOs     Certain           Accounts, Safe
                           Financial Accounts,
                   Certain Financial                        Boxes, and
                                                    Deposit Boxes,
                                               Safe Deposit                    Units
                                                                       Storage Units
                                                                   and Storage

    18. Closed
    18. Closed financial
                  financial accounts
                              accounts
        Within 1
        Within     year before
                1 year                  this case,
                                 filing this
                         before filing                     any financial
                                                    were any
                                             case, were                              or instruments
                                                                           accounts or
                                                                financial accounts                     held in
                                                                                        instruments held        the debtor's
                                                                                                             in the          name, or
                                                                                                                    debtor's name,      for the
                                                                                                                                     or for      debtor’s benefit,
                                                                                                                                            the debtor's                    sold,
                                                                                                                                                                    closed, sold,
                                                                                                                                                           benefit, closed,
        moved, or
        moved,   or transferred?
                     transferred?
                 checking, savings,
        Include checking,
        Include                                   market, or
                                         money market,
                              savings, money                          financial accounts;
                                                               other financial
                                                            or other                       certificates of
                                                                                accounts; certificates                            in banks,
                                                                                                                           shares in
                                                                                                                      and shares
                                                                                                            deposit; and
                                                                                                         of deposit;                  banks, credit   unions, brokerage
                                                                                                                                               credit unions,              houses,
                                                                                                                                                                brokerage houses,
        cooperatives, associations,
        cooperatives,    associations, andand other
                                               other financial
                                                      financial institutions.
                                                                 institutions.


          & None
          LI None
                      Financial Institution
                      Financial                  and
                                            name and
                                Institution name                        4 digits
                                                                   Last 4
                                                                   Last          of
                                                                          digits of             Type of
                                                                                                Type             or
                                                                                                         account or
                                                                                                      of account             Date           was
                                                                                                                                   account was
                                                                                                                             Date account                         Last  balance
                                                                                                                                                                  Last balance
                     Address
                      Address                                                number
                                                                   account number
                                                                   account                      instrument
                                                                                                instrument                   closed,  sold,
                                                                                                                             closed, sold,                   before           or
                                                                                                                                                                     closing or
                                                                                                                                                             before closing
                                                                                                                             moved, or
                                                                                                                             moved,   or                               transfer
                                                                                                                                                                       transfer
                                                                                                                             transferred
                                                                                                                             transferred

    19. Safe
    19. Safe deposit
              deposit boxes
                       boxes
        List any
        List     safe deposit
             any safe             or other
                              box or
                      deposit box          depository for
                                     other depository     securities, cash,
                                                      for securities,       or other
                                                                      cash, or other valuables the debtor
                                                                                     valuables the        now has
                                                                                                   debtor now     or did
                                                                                                              has or did have within 11 year
                                                                                                                         have within    year before        this
                                                                                                                                                    filing this
                                                                                                                                             before filing
        case.
        case.


    Official Form
    Official      207
             Form 207                                            of Financial
                                                       Statement of
                                                       Statement              Affairs for
                                                                    Financial Affairs     Non-individuals Filing
                                                                                      for Non-Individuals            Bankruptcy
                                                                                                                 for Bankruptcy
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      Debtor
      Debtor      Placer Academy
                  Placer         Schools
                         Academy Schools                                                                  Case number (if
                                                                                                          Case number      known)
                                                                                                                       (if known)




           EB None
           ■  None
              Depository institution
              Depository                      address
                                          and address
                                     name and
                         institution name                           Names of
                                                                    Names             with
                                                                               anyone with
                                                                            of anyone                       Description of the
                                                                                                            Description of     contents
                                                                                                                           the contents                 Does    debtor
                                                                                                                                                        Does debtor
                                                                    access     it
                                                                            to it
                                                                    access to                                                                           still have
                                                                                                                                                        still       it?
                                                                                                                                                              have it?
                                                                    Address
                                                                    Address

     20. Off-premises
     20. Off-premises storage
                          storage
         List any
         List      property kept
              any property        in storage
                             kept in storage units or warehouses
                                             units or            within 1
                                                      warehouses within        before filing
                                                                          year before
                                                                        1 year               this case.
                                                                                      filing this       Do not
                                                                                                  case. Do             facilities that
                                                                                                               include facilities
                                                                                                           not include                 are in
                                                                                                                                  that are       part of
                                                                                                                                           in aa part                in
                                                                                                                                                            building in
                                                                                                                                                      of aa building
         which the
         which  the debtor
                     debtor does
                             does business.
                                   business.



          E None
          IL None

              Facility name
              Facility          address
                            and address
                       name and                                     Names of
                                                                    Names            with
                                                                              anyone with
                                                                           of anyone                       Description of the
                                                                                                           Description of     contents
                                                                                                                          the contents                  Does    debtor
                                                                                                                                                        Does debtor
                                                                    access    it
                                                                           to it
                                                                    access to                                                                           still have
                                                                                                                                                        still       it?
                                                                                                                                                              have it?


      fuse        Property the Debtor
                  Property the              or Controls
                                      Holds or
                               Debtor Holds             That the
                                               Controls That     Debtor Does
                                                             the Debtor          Own
                                                                             Not Own
                                                                        Does Not

     21. Property
     21. Property held held for
                             for another
                                  another
         List any
         List        property that
               any property               debtor holds
                                     the debtor
                                that the                or controls
                                                  holds or          that another
                                                           controls that                owns. Include
                                                                                 entity owns.
                                                                         another entity                any property
                                                                                               Include any          borrowed from,
                                                                                                           property borrowed             stored for,
                                                                                                                                   being stored
                                                                                                                             from, being             or held
                                                                                                                                                for, or held in         Do
                                                                                                                                                                 trust. Do
                                                                                                                                                              in trust.
         not list
         not  list leased
                   leased oror rented
                                rented property.
                                        property.


         EE None
         ■  None



      eles        Details About
                  Details About Environment
                                Environment Information
                                            Information

     For the
     For the purpose
             purpose of
                      of Part
                         Part 12,
                                12, the
                                     the following
                                         following definitions
                                                     definitions apply:
                                                                 apply:
                                means any
                          law means
          Environmental law
          Environmental                   any statute   or governmental
                                               statute or  governmental regulation   that concerns
                                                                          regulation that                     contamination, or
                                                                                                   pollution, contamination,
                                                                                          concerns pollution,                   hazardous material,
                                                                                                                             or hazardous           regardless of
                                                                                                                                          material, regardless    the
                                                                                                                                                               of the
          medium affected
          medium   affected (air,
                             (air, land,
                                    land, water,
                                           water, or
                                                   or any
                                                      any other
                                                           other medium).
                                                                 medium).

               means any
          Site means
          Site                        facility, or
                           location, facility,
                      any location,                          including disposal
                                                   property, including
                                                or property,                           that the
                                                                                sites, that
                                                                       disposal sites,                 now owns,
                                                                                                debtor now
                                                                                            the debtor                     or utilizes
                                                                                                                 operates, or
                                                                                                           owns, operates,    utilizes or that the
                                                                                                                                       or that            formerly
                                                                                                                                                   debtor formerly
                                                                                                                                               the debtor
          owned, operated,
          owned,  operated, or
                             or utilized.
                                utilized.

                       material means
          Hazardous material
          Hazardous                              that an
                                        anything that
                                means anything                          law defines
                                                         environmental law
                                                      an environmental              as hazardous
                                                                            defines as           or toxic,
                                                                                       hazardous or toxic, or describes as
                                                                                                           or describes    a pollutant,
                                                                                                                        as a pollutant, contaminant, or aa
                                                                                                                                        contaminant, or
          similarly harmful
          similarly harmful substance.
                             substance.

     Report all
     Report     notices, releases,
            all notices, releases, and proceedings known,
                                   and proceedings        regardiess of
                                                   known, regardless    when they
                                                                     of when      occurred.
                                                                             they occurred.

         Has the
     22. Has
     22.                been a
                 debtor been
             the debtor              in any
                               party in
                             a party        judicial or
                                        any judicial                   proceeding under
                                                        administrative proceeding
                                                     or administrative                      environmental law?
                                                                                        any environmental
                                                                                  under any                            settlements and
                                                                                                               Include settlements
                                                                                                          law? Include                 orders.
                                                                                                                                   and orders.


          —
          L      No.
                 No.
          ❑      Yes. Provide
                 Yes. Provide details
                              details below.
                                      below.

                title
           Case title
           Case                                                     Court or
                                                                    Court    agency name
                                                                          or agency      and
                                                                                    name and               Nature of
                                                                                                           Nature        case
                                                                                                                     the case
                                                                                                                  of the                               Status of
                                                                                                                                                       Status    case
                                                                                                                                                              of case
           Case number
           Case number                                              address
                                                                    address

     23. Has
     23.      any governmental
         Has any                    otherwise notified
                               unit otherwise
                  governmental unit                        debtor that
                                                       the debtor
                                              notified the                 debtor may
                                                                       the debtor
                                                                  that the               liable or
                                                                                      be liable
                                                                                  may be                       liable under
                                                                                                   potentially liable
                                                                                                or potentially              or in
                                                                                                                      under or    violation of
                                                                                                                               in violation    an
                                                                                                                                            of an
         environmental law?
         environmental  law?

          E
          L      No.
                 No.
          OO
          ❑      Yes. Provide
                 Yes. Provide details
                              details below.
                                      below.

           Site name
           Site          address
                     and address
                name and                                           Governmental unit name
                                                                   Governmental unit      and
                                                                                     name and                  Environmental      if known
                                                                                                                             law, if
                                                                                                               Environmental law,    known             Date of
                                                                                                                                                       Date    notice
                                                                                                                                                            of notice
                                                                   address
                                                                   address

    24. Has
    24.     the debtor
        Has the        notified any
                debtor notified     governmental unit
                                any governmental      of any
                                                 unit of     release of
                                                         any release              material?
                                                                        hazardous material?
                                                                     of hazardous


          L      No.
                 No.
         Ol
         ❑       Yes. Provide
                 Yes. Provide details
                              details below.
                                      below.

          Site name
          Site          address
                    and address
               name and                                            Governmental unit name
                                                                   Governmental unit      and
                                                                                     name and                  Environmental      if known
                                                                                                                             law, if
                                                                                                               Environmental law,    known             Date of
                                                                                                                                                       Date    notice
                                                                                                                                                            of notice
                                                                   address
                                                                   address

     fetat 13:
    iPart       Details About
           BE | Details           Debtor's Business
                              the Debtor's
                        About the                      Connections to
                                                    or Connections
                                           Business or                    Business
                                                                      Any Business
                                                                   to Any

    Official Form
    Official      207
             Form 207                                       of Financial
                                                  Statement of
                                                  Statement              Affairs for
                                                               Financial Affairs     Non-individuals Filing
                                                                                 for Non-Individuals            Bankruptcy
                                                                                                            for Bankruptcy
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       Debtor
       Debtor     Placer Academy
                  Placer         Schools
                         Academy Schools                                                                  Case number (if
                                                                                                          Case number      known)
                                                                                                                       (if known)




      25. Other
      25. Other businesses
                  businesses in  in which
                                    which the
                                            the debtor
                                                  debtor has
                                                           has or
                                                                or has
                                                                    has had
                                                                         had anan interest
                                                                                  interest
          List any
          List      business for
               any business               the debtor
                                   which the
                              for which                was an
                                               debtor was    an owner,             member, or
                                                                          partner, member,
                                                                 owner, partner,              otherwise a
                                                                                           or otherwise   person in
                                                                                                        a person            within 6
                                                                                                                    control within
                                                                                                                 in control                before filing
                                                                                                                                     years before
                                                                                                                                   6 years                    case.
                                                                                                                                                         this case.
                                                                                                                                                  filing this
          Include this
          Include  this information
                        information even
                                      even if
                                            if already
                                               already listed
                                                        listed in
                                                               in the
                                                                  the Schedules.
                                                                       Schedules.

           Ei None
           L  None

         Business name
         Business      address
                  name address                                Describe the nature
                                                              Describe the        of the
                                                                           nature of     business
                                                                                     the business               Employer                      number
                                                                                                                             Identification number
                                                                                                                Employer Identification
                                                                                                                Do not
                                                                                                                Do not include
                                                                                                                       include Social
                                                                                                                               Social Security
                                                                                                                                      Security number
                                                                                                                                               number or
                                                                                                                                                      or ITIN.
                                                                                                                                                          ITIN.

                                                                                                                Dates business
                                                                                                                Dates business existed
                                                                                                                               existed

     26. Books,
     26. Books, records,
                  records, and
                             and financial
                                 financial statements
                                            statements
              List all
         26a. List
         26a.                       and bookkeepers
                       accountants and
                   all accountants                        maintained the
                                                      who maintained
                                         bookkeepers who                 debtor's books
                                                                     the debtor's                          2 years
                                                                                                    within 2
                                                                                            records within
                                                                                        and records
                                                                                  books and                  years before filing this
                                                                                                                   before filing      case.
                                                                                                                                 this case.
              [ None
              ❑   None

            Name     address
                 and address
            Name and                                                                                                                             Date of
                                                                                                                                                 Date    service
                                                                                                                                                      of service
                                                                                                                                                 From-To
                                                                                                                                                 From-To
            26a.1.
            26a.1.               Inc.
                         EdTec Inc.
                         EdTec                                                                                                                   January 2021
                                                                                                                                                 January      to
                                                                                                                                                         2021 to
                         1266 66th
                         1266         Street
                               66th Street                                                                                                       present
                                                                                                                                                 present
                         #4
                         #4
                         Emeryvilie, CA
                         Emeryville,    CA 94608
                                             94608

               List all
          26b. List
          26b.                  or individuals
                         firms or
                    all firms                          have audited,
                                                  who have
                                    individuals who                             or reviewed
                                                                      compiled, or
                                                             audited, compiled,                      books of
                                                                                            debtor's books
                                                                                   reviewed debtor's                  and records
                                                                                                              account and
                                                                                                           of account                prepared aa financial
                                                                                                                                  or prepared
                                                                                                                          records or                       statement
                                                                                                                                                 financial statement
               within 2
               within   2 years
                           years before
                                   before filing
                                           filing this
                                                  this case.
                                                       case.


                 EE None
                114 None



          26c. List
          26c.          firms or
                    all firms
               List all                      who were
                                 individuals who
                              or individuals             possession of
                                                      in possession
                                                 were in                   debtor's books
                                                                       the debtor's
                                                                    of the                   account and
                                                                                          of account
                                                                                    books of             records when
                                                                                                     and records      this case
                                                                                                                 when this         filed.
                                                                                                                                is filed.
                                                                                                                           case is

                0 None
                ❑ None

            Name     address
                 and address
            Name and                                                                                          If any books
                                                                                                              If any          account and
                                                                                                                           of account
                                                                                                                     books of                      are
                                                                                                                                           records are
                                                                                                                                       and records
                                                                                                              unavailable, explain
                                                                                                              unavailable, explain why
                                                                                                                                   why
            26c.1.
            26c.1.       EdTec Inc.
                         EdTec   Inc.
                         1266 66th
                         1266  66th Street
                                      Street
                         #4
                         #4
                         Emeryville, CA
                         Emeryville,    CA 94608
                                             94608

         26d. List
         26d.          financial institutions,
                   all financial
              List all                                      and other
                                               creditors, and
                                 institutions, creditors,              parties, including
                                                                 other parties,                      and trade
                                                                                          mercantile and
                                                                                including mercantile           agencies, to
                                                                                                         trade agencies,    whom the
                                                                                                                         to whom            issued a
                                                                                                                                     debtor issued
                                                                                                                                 the debtor          financial
                                                                                                                                                   a financial
              statement within
              statement    within 2
                                  2 years
                                     years before
                                            before filing
                                                    filing this
                                                           this case.
                                                                case.

                CD None
                ❑  None

            Name and
            Name    and address
                        address
            26d.1..
            26d.1.     Charter School
                       Charter   School Capital
                                        Capital
                       1000 SW
                       1000  SW Broadway
                                  Broadway
                       Suite 1800
                       Suite  1800
                       Portland, OR
                       Portland,   OR 97205
                                      97205

     27. Inventories
     27. Inventories
               any inventories
         Have any
         Have                  of the
                   inventories of     debtor's property
                                  the debtor's          been taken
                                               property been       within 2
                                                             taken within   years before
                                                                          2 years        filing this
                                                                                  before filing      case?
                                                                                                this case?


           H
           L    No
                No
           CO
           ❑    Yes. Give
                Yes. Give the
                          the details
                              details about
                                      about the
                                            the two
                                                two most
                                                    most recent
                                                         recent inventories.
                                                                inventories.

                   Name of
                   Name      the person
                          of the            supervised the
                                        who supervised
                                 person who                          the
                                                                  of the
                                                           taking of
                                                       the taking                             Date    inventory
                                                                                                   of inventory
                                                                                              Date of                 The  dollar amount
                                                                                                                      The dollar               basis (cost,
                                                                                                                                           and basis
                                                                                                                                  amount and                market,
                                                                                                                                                     (cost, market,
                   inventory
                   inventory                                                                                          or other basis)
                                                                                                                      or other         of each
                                                                                                                                basis) of      inventory
                                                                                                                                          each inventory

         List the
     28. List
     28.           debtor’s officers,
              the debtor's                          managing members,
                                        directors, managing
                             officers, directors,                           general partners,
                                                                members, general                      in control,
                                                                                              members in
                                                                                    partners, members             controlling shareholders,
                                                                                                         control, controlling               or other
                                                                                                                              shareholders, or       people
                                                                                                                                               other people
         in control
         in control of
                     of the
                        the debtor
                            debtor atat the
                                        the time
                                             time of
                                                  of the
                                                     the filing
                                                         filing of
                                                                of this
                                                                   this case.
                                                                        case.




     Official Form
     Official      207
              Form 207                               Statement of Financial
                                                     Statement of           Affairs for
                                                                  Financial Affairs     Non-Individuals Filing
                                                                                    for Non-Individuals            Bankruptcy
                                                                                                               for Bankruptcy
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      Debtor
      Debtor     Placer Academy
                 Placer Academy Schools
                                Schools                                                               Case number
                                                                                                      Case number (if(if known)
                                                                                                                         known)




           Name
           Name                                   Address
                                                  Address                                              Position  and nature
                                                                                                        Position and         of any
                                                                                                                      nature of any           %  of interest,
                                                                                                                                              % of            if
                                                                                                                                                    interest, if
                                                                                                       interest
                                                                                                       interest                               any
                                                                                                                                              any
                   Schuetz
           Michele Schuetz
           Michele                                                                                     Board    Chair
                                                                                                       Board Chair                            0
                                                                                                                                              0



           Name
           Name                                   Address
                                                  Address                                              Position  and nature
                                                                                                       Position and            any
                                                                                                                            of any
                                                                                                                     nature of               %% of            if
                                                                                                                                                    interest, if
                                                                                                                                                 of interest,
                                                                                                       interest
                                                                                                       interest                               any
                                                                                                                                             any
           Anderson Berry
           Anderson Berry                                                                              Vice   Chair
                                                                                                       Vice Chair                            00



           Name
           Name                                   Address
                                                  Address                                              Position  and nature
                                                                                                       Position and            any
                                                                                                                            of any
                                                                                                                     nature of               %% of            if
                                                                                                                                                    interest, if
                                                                                                                                                 of interest,
                                                                                                       interest
                                                                                                       interest                               any
                                                                                                                                             any
           Robert Combs
           Robert Combs                                                                                Board    Member
                                                                                                       Board Member                          00



           Name
           Name                                   Address
                                                  Address                                              Position  and nature
                                                                                                       Position and         of any
                                                                                                                     nature of any           %  of interest,
                                                                                                                                             % of            if
                                                                                                                                                   interest, if
                                                                                                       interest
                                                                                                       interest                              any
                                                                                                                                             any
                  Watson
           Justin Watson
           Justin                                                                                      Board    Member
                                                                                                       Board Member                          0
                                                                                                                                             0



           Name
           Name                                  Address
                                                 Address                                               Position and nature
                                                                                                       Position and           any
                                                                                                                           of any
                                                                                                                    nature of                % of
                                                                                                                                             %               if
                                                                                                                                                   interest, if
                                                                                                                                                of interest,
                                                                                                       interest
                                                                                                       interest                              any
                                                                                                                                             any
           Jill Godtland
           Jill Godtland                         6390           Court
                                                       Sporran Court
                                                 6390 Sporran                                          Executive   Director/CEO
                                                                                                       Executive Director/CEO                0
                                                                                                                                             0
                                                 Rocklin, CA
                                                 Rocklin,  CA 95765
                                                              95765

           Name
           Name                                  Address
                                                 Address                                               Position and nature
                                                                                                       Position and           any
                                                                                                                           of any
                                                                                                                    nature of                % of
                                                                                                                                             %               if
                                                                                                                                                   interest, if
                                                                                                                                                of interest,
                                                                                                       interest
                                                                                                       interest                              any
                                                                                                                                             any
                 Putkey
           Kathy Putkey
           Kathy                                                                                       CFO/Secretary
                                                                                                       CFO/Secretary                         0
                                                                                                                                             0




         Within 1
     29. Within
     29.                  before the
                    year before
                 1 year                     of this
                                     filing of
                                 the filing    this case,  did the
                                                    case, did                 have officers,
                                                                      debtor have
                                                                the debtor                                managing members,
                                                                                               directors, managing
                                                                                    officers, directors,                             partners, members
                                                                                                                             general partners,
                                                                                                                    members, general                   in
                                                                                                                                               members in
                  of the
         control of
         control          debtor, or
                      the debtor,    shareholders in
                                  or shareholders        control of
                                                      in control                   who no
                                                                           debtor who
                                                                       the debtor
                                                                   of the                no longer   hold these
                                                                                             longer hold        positions?
                                                                                                          these positions?


          [O No
          ❑   No
            Yes. Identify
          L Yes. Identify below.
                          below.
           Name
           Name                                  Address
                                                 Address                                               Position and
                                                                                                       Position     nature of
                                                                                                                and nature    any
                                                                                                                           of any       Period          which
                                                                                                                                                during which
                                                                                                                                        Period during
                                                                                                       interest
                                                                                                       interest                         position or
                                                                                                                                        position  or interest
                                                                                                                                                     interest
                                                                                                                                        was held
                                                                                                                                        was  held
                Hilmen
           Mike Hilmen
           Mike                                                                                        Board Chair
                                                                                                       Board Chair                      0
                                                                                                                                        0



           Name
           Name                                  Address
                                                 Address                                               Position and
                                                                                                       Position     nature of
                                                                                                                and nature    any
                                                                                                                           of any      Period          which
                                                                                                                                               during which
                                                                                                                                       Period during
                                                                                                       interest
                                                                                                       interest                        position or
                                                                                                                                       position  or interest
                                                                                                                                                    interest
                                                                                                                                       was held
                                                                                                                                       was  held
                Prosio
           Lori Prosio
           Lori                                                                                        Vice Chair
                                                                                                       Vice Chair                      0
                                                                                                                                       0



          Name
          Name                                   Address
                                                 Address                                               Position and
                                                                                                       Position     nature of
                                                                                                                and nature    any
                                                                                                                           of any      Period           which
                                                                                                                                                during which
                                                                                                                                        Period during
                                                                                                       interest
                                                                                                       interest                         position or
                                                                                                                                        position  or interest
                                                                                                                                                     interest
                                                                                                                                       was held
                                                                                                                                       was   held
               DiProsper
          Tony DiProsper
          Tony                                                                                         Member
                                                                                                       Member                          00



          Name
          Name                                   Address
                                                 Address                                              Position and
                                                                                                      Position     nature of
                                                                                                               and nature    any
                                                                                                                          of any       Period           which
                                                                                                                                                during which
                                                                                                                                        Period during
                                                                                                      interest
                                                                                                      interest                          position or
                                                                                                                                       position   or interest
                                                                                                                                                     interest
                                                                                                                                       was held
                                                                                                                                       was   held
          Cori Williams
          Cori Williams                                                                               Member
                                                                                                      Member                           00




    Official Form
    Official Form 207
                  207                           Statement of
                                                Statement of Financial
                                                             Financial Affairs
                                                                       Affairs for
                                                                               for Non-Individuals
                                                                                   Non-individuals Filing
                                                                                                   Filing for
                                                                                                          for Bankruptcy
                                                                                                              Bankruptcy                                    page 8
                                                                                                                                                            page
Filed 02/14/23                                                           Case 23-20455                                                                                    Doc 1
      Debtor
      Debtor      Placer Academy
                  Placer Academy Schools
                                 Schools                                                                Case number
                                                                                                        Case number (ifOf known)
                                                                                                                          known)




                       distributions, or
         Payments, distributions,
     30. Payments,
     30.                                       withdrawals credited
                                           or withdrawals                  given to
                                                                        or given
                                                              credited or             insiders
                                                                                  to insiders
         Within 11 year
         Within    year before    filing this
                         before filing    this case,  did the
                                                case, did the debtor          an insider
                                                                      provide an
                                                              debtor provide      insider with value in
                                                                                          with value        form, including
                                                                                                        any form,
                                                                                                     in any                         other compensation,
                                                                                                                            salary, other
                                                                                                                  including salary,                            bonuses,
                                                                                                                                                        draws, bonuses,
                                                                                                                                          compensation, draws,
         loans, credits
         loans, credits on
                         on loans,
                             loans, stock
                                       stock redemptions,
                                               redemptions, and
                                                              and options
                                                                  options exercised?
                                                                           exercised?


           •    No
                No
           Cl
           ❑    Yes. Identify
                Yes. Identify below.
                              below.

                   Name and
                   Name             of recipient
                            address of
                        and address    recipient             Amount of
                                                             Amount            or description
                                                                         money or
                                                                      of money                and value
                                                                                  description and       of
                                                                                                  value of               Dates
                                                                                                                         Dates                  Reason   for
                                                                                                                                                Reason for
                                                             property
                                                             property                                                                           providing       value
                                                                                                                                                            the value
                                                                                                                                                providing the

         Within 66 years
     31. Within
     31.           years before filing this
                         before filing            has the
                                            case, has
                                       this case,     the debtor been aa member
                                                          debtor been           of any
                                                                         member of any consolidated       for tax
                                                                                                    group for
                                                                                       consolidated group         purposes?
                                                                                                              tax purposes?

           EE
           VI   No
                No
           O
           ❑    Yes. Identify
                Yes. Identify below.
                              below.

        Name of
        Name of the
                the parent
                    parent corporation
                           corporation                                                                        Employer Identification
                                                                                                              Employer   Identification number
                                                                                                                                        number of
                                                                                                                                               of the
                                                                                                                                                  the parent
                                                                                                                                                      parent
                                                                                                              corporation
                                                                                                              corporation

         Within 6
     32. Within
     32.                before filing
                  years before
                6 years                    case, has
                                      this case,
                               filing this               debtor as
                                                     the debtor
                                                 has the              employer been
                                                                   an employer
                                                                as an                           for contributing
                                                                                    responsible for
                                                                               been responsible                     a pension
                                                                                                                 to a
                                                                                                    contributing to           fund?
                                                                                                                      pension fund?

          O
          ❑     No
                No
          if    Yes. Identify
                Yes. Identify below.
                              below.
        Name of
        Name of the
                the pension
                    pension fund
                            fund                                                                              Employer Identification
                                                                                                              Employer Identification number
                                                                                                                                      number of
                                                                                                                                             of the
                                                                                                                                                the pension
                                                                                                                                                    pension
                                                                                                              fund
                                                                                                              fund
        calSTRS
        calSTRS                                                                                              EIN:
                                                                                                              EIN:          RU-31069
                                                                                                                            RU-31069




    Official      207
             Form 207
    Official Form                                Statement of
                                                 Statement    Financial Affairs
                                                           of Financial         for Non-Individuals
                                                                        Affairs for                 Filing for
                                                                                    Non-individuats Filing     Bankruptcy
                                                                                                           for Bankruptcy                                        page 9
                                                                                                                                                                 page
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                                              Namp
         Fill in
         Fill in thi
                 this information to identify the case:

         Debtorname
         Debtor name       Placer Academy
                           Placer Academy Schools
                                          Schools

         United States
         United                   Court for
                       Bankruptcy Court
                States Bankruptcy           the:
                                        for the:      EASTERN DISTRICT
                                                      EASTERN             CALIFORNIA
                                                                       OF CALIFORNIA
                                                              DISTRICT OF

         Case number
         Case number (if
                     (if known)
                         known)
                                                                                                                                               O
                                                                                                                                               ID Check if
                                                                                                                                                  Check if this
                                                                                                                                                           this isis an
                                                                                                                                                                     an
                                                                                                                                                  amended filing
                                                                                                                                                  amended    filing



     Official Form
     Official Form 207
                    207
     Statement of
     Statement      Financial Affairs
                 of Financial                             Filing for
                                          Non-Individuals Filing
                                      for Non-Individuals
                              Affairs for                            Bankruptcy
                                                                 for Bankruptcy                                                                                            04/22
                                                                                                                                                                           04/22

     The debtor
     The               answer every
                 must answer
          debtor must                 question. If
                               every question.  If more   space is
                                                   more space   is needed,
                                                                   needed, attach   separate sheet
                                                                                  a separate
                                                                           attach a                to this
                                                                                             sheet to this form. On the
                                                                                                           form. On the top of any
                                                                                                                        top of     additional pages,
                                                                                                                               any additional pages,
     write the
     write the debtor's
               debtor’s name
                        name and
                              and case
                                   case number
                                         number (if
                                                  (if known).
                                                      known).

     Glace
     Pi         Signature and
       r110,:k. Signature and Declaration
                              Declaration

             WARNING --
             WARNING        Bankruptcy fraud
                         -- Bankruptcy   fraud isis a
                                                    a serious   crime. Making
                                                       serious crime.    Making a  false statement,
                                                                                 a false statement, concealing    property, or
                                                                                                     concealing property,       obtaining money
                                                                                                                            or obtaining   money or property by
                                                                                                                                                 or property by fraud in
                                                                                                                                                                fraud in
                        with aa bankruptcy
             connection with
             connection                       case can
                                 bankruptcy case           result in
                                                      can result     fines up
                                                                  in fines       $500,000 or
                                                                              to $500,000
                                                                           up to               imprisonment for
                                                                                            or imprisonment       up to
                                                                                                              for up     20 years,
                                                                                                                      to 20            both.
                                                                                                                                    or both.
                                                                                                                            years, or
             18 U.S.C.
             18 U.S.C. §§
                       §§ 152,
                            152, 1341,
                                  1341, 1519,
                                        1519, and
                                                and 3571.
                                                      3571.

                have examined
             I| have           the information
                      examined the             in this
                                   information in      Statement of
                                                  this Statement    Financial Affairs
                                                                 of Financial             any attachments
                                                                                      and any
                                                                              Affairs and                 and have
                                                                                              attachments and      a reasonable
                                                                                                              have a reasonable belief that the
                                                                                                                                belief that     information is
                                                                                                                                            the information is true
                                                                                                                                                               true
             and correct.
             and   correct.

                declare under
             I| declare       penalt
                        under penal    o7,
                                        b    rjury that
                                           p rjury                    is true
                                                            foregoing is
                                                        the foregoing
                                                   that the              true and correct.
                                                                              and correct.
                                       f
         Executed on
         Executed on            \              ce
                                           i
     —         AVY CY) /                                                   Jill Godtland
                                                                           Jill Godtland
         Signature findWidugl sipering
                                    ng on behalf of
                                       on behalf        debtor
                                                    the debtor
                                                 of the                    Printed name
                                                                           Printed name

         Position or
         Position or relationship
                     relationship to
                                  to debtor
                                     debtor    Executive Director
                                               Executive Director

        additional pages
    Are additional
    Are                  to Statement
                   pages to           of Financial
                            Statement of           Affairs for
                                         Financial Affairs                     Filing for
                                                               Non-Individuals Filing
                                                           for Non-Individuals            Bankruptcy (Official
                                                                                      for Bankruptcy           Form 207)
                                                                                                     (Official Form      attached?
                                                                                                                    207) attached?
     •& No
         No
      C] Yes
     CI  Yes




    Official Form
    Official      207
             Form 207                                Statement of
                                                     Statement              Affairs for
                                                                  Financial Affairs
                                                               of Financial                             Filing for
                                                                                        Non-Individuals Filing
                                                                                    for Non-Individuals        for Bankruptcy
Filed 02/14/23                                                                       Case 23-20455                                                                                          Doc 1


        B2030 (Form
        B2030 (Form 2030)
                    2030) (12/15)
                          (12/15)
                                                                       United States Bankruptcy
                                                                       United States Bankruptcy Court
                                                                                                Court
                                                                             Eastern District
                                                                             Eastern District of
                                                                                              of California
                                                                                                 California
             Inrere
             In        Placer Academy
                       Placer Academy Schools
                                      Schools                                                                                         Case No.
                                                                                                                                      Case No.
                                                                                                Debtor(s)
                                                                                                 Debtor(s)                            Chapter
                                                                                                                                       Chapter        7
                                                                                                                                                      7

                                    DISCLOSURE OF
                                    DISCLOSURE    COMPENSATION OF
                                               OF COMPENSATION    ATTORNEY FOR
                                                               OF ATTORNEY     DEBTOR(S)
                                                                           FOR DEBTOR(S)
        i.1.      Pursuant     11 U
                            to 11
                  Pursuant to         .S.C. §§ 329(a)
                                   U.S.C.      329(a) and   Fed. Bankr.
                                                       and Fed.              2016(b), II certify
                                                                          P. 2016(b),
                                                                  Bankr. P.               certify that     am the
                                                                                                   that II am                  for the
                                                                                                                     attorney for
                                                                                                                the attorney                    named debtor(s)
                                                                                                                                        above named
                                                                                                                                   the above                            that
                                                                                                                                                                   and that
                                                                                                                                                        debtor(s) and
                  compensation paid
                  compensation          to me
                                  paid to  me within    one year
                                                within one         before the
                                                             year before             of the
                                                                              filing of
                                                                          the filing          petition in
                                                                                         the petition       bankruptcy, or
                                                                                                        in bankruptcy,         agreed to
                                                                                                                            or agreed      be paid
                                                                                                                                        to be       to me,
                                                                                                                                               paid to      for services
                                                                                                                                                       me, for                      or to
                                                                                                                                                                           rendered or
                                                                                                                                                                services rendered      to
                  be rendered
                  be rendered on           of the
                                    behalf of
                               on behalf           debtor(s) in
                                               the debtor(s)      contemplation of
                                                               in contemplation      or in
                                                                                  of or     connection with
                                                                                         in connection             the bankruptcy
                                                                                                            with the                 case is
                                                                                                                       bankruptcy case           follows:
                                                                                                                                              as follows:
                                                                                                                                           is as
                       For legal
                       For       services, I[have
                           legal services,               to accept
                                                  agreed to
                                             have agreed    accept_              _                                       ee       $                   15,000.00      fee
                                                                                                                                                                Fiat fee
                                                                                                                                                      45,000.00 Flat
                       Prior to the
                       Prior to the filing of this
                                    filing of      statement II have
                                              this statement         received
                                                                have received                                                                         15,000.00
                                                                                                                                                      15,000.00
                       Balance Due __
                       Balance Due                                                                                               $                           0.00
                                                                                                                                                             0.00

       2.
       2.         $$0.00
                    0.00        of the
                                of the filing
                                       filing fee
                                              fee has
                                                  has been
                                                      been paid.
                                                           paid.

       3.
       3.         The source
                  The source of
                             of the
                                the compensation
                                    compensation paid
                                                 paid to
                                                      to me
                                                         me was:
                                                            was:

                       •EH   Debtor
                             Debtor         0     Other (specify):
                                                  Other (specify):

       4.
       4.         The source
                  The source of
                             of compensation
                                compensation to
                                             to be
                                                be paid
                                                   paid to
                                                        to me
                                                           me is:
                                                              is:

                       •Be   Debtor
                             Debtor         0     Other (specify):
                                                  Other (specify):

      5.5.            have not
                  • I{have not agreed            the above-disclosed
                                           share the
                               agreed toto share     above-disclosed compensation with any
                                                                     compensation with     other person
                                                                                       any other        unless they
                                                                                                 person unless      are members
                                                                                                               they are members and associates of
                                                                                                                                and associates of my     firm.
                                                                                                                                                     law firm.
                                                                                                                                                  my law

                  ( II have
                  0    have agreed  to share
                             agreed to share the                    compensation with
                                                 above-disclosed compensation
                                             the above-disclosed                                   or persons
                                                                                           person or
                                                                                   with aa person     persons who    are not
                                                                                                                who are      members or
                                                                                                                         not members       associates of
                                                                                                                                       or associates     my law
                                                                                                                                                      of my     firm. AA
                                                                                                                                                            law firm.
                           of the
                     copy of
                    copy          agreement, together
                              the agreement,           with aa list
                                              together with    list of the names
                                                                    of the       of the
                                                                           names of  the people  sharing in
                                                                                         people sharing           compensation is
                                                                                                             the compensation
                                                                                                          in the                   attached.
                                                                                                                                is attached.

      6.6.        In        for the
                     return for
                  In return                         fee, I1 have
                                    above-disclosed fee,
                                the above-disclosed              agreed to
                                                            have agreed           legal service
                                                                           render legal
                                                                        to render                   all aspects
                                                                                                for all
                                                                                        service for                the bankruptcy
                                                                                                                of the
                                                                                                        aspects of                case, including:
                                                                                                                       bankruptcy case, including:

                 a. Analysis  of the
                    Analysis of  the debtor's               situation, and
                                                financial situation,
                                     debtor's financial                                advice to
                                                                            rendering advice
                                                                        and rendering                          in determining
                                                                                                       debtor in
                                                                                                   the debtor
                                                                                                to the            determining whether        file aa petition
                                                                                                                                          to file
                                                                                                                                 whether to                   in bankruptcy;
                                                                                                                                                     petition in bankruptcy;
                op




                    Preparation and
                 b. Preparation       filing of
                                 and filing      any petition,
                                              of any                                     of affairs
                                                                              statement of
                                                                  schedules, statement
                                                      petition, schedules,                           and plan
                                                                                            affairs and        which may
                                                                                                         plan which   may bebe required;
                                                                                                                               required;
                    Representation of
                 c. Representation   of the  debtor at
                                         the debtor           meeting of
                                                         the meeting
                                                      at the            of creditors      confirmation hearing,
                                                                                     and confirmation
                                                                           creditors and                           and any
                                                                                                          hearing, and       adjourned hearings
                                                                                                                        any adjourned                thereof;
                                                                                                                                         hearings thereof;
                    Representation of        debtor in
                                         the debtor
                                     of the              adversary proceedings
                                                      in adversary                      other contested
                                                                                    and other
                                                                      proceedings and                                   matters;
                                                                                                           bankruptcy matters;
                                                                                               contested bankruptcy
               eRe




                 d. Representation
                    [Other provisions
                 e. [Other provisions asas needed]
                                            needed]


       7.
       7.        By agreement with
                 By agreement           debtor(s), the
                                    the debtor(s),
                               with the                 above-disclosed fee
                                                    the above-disclosed     does not
                                                                        fee does not include the following
                                                                                     include the           service:
                                                                                                 following service:
                          Representation in
                         Representation       in any
                                                 any adversary
                                                       adversary proceeding.
                                                                   proceeding.
                                                                                      CERTIFICATION
                                                                                      CERTIFICATION
                 certify that
              II certify that the foregoing is
                              the foregoing                statement of
                                                  complete statement
                                            is aa complete                  agreement or
                                                                        any agreement
                                                                     of any              arragesg
                                                                                      or arr                    ent for
                                                                                                                ent for payment to me
                                                                                                                        payment to    for cepgesamsatiomof
                                                                                                                                   me for                  the debtor(s)
                                                                                                                                           aginioliwitrtif the debtor(s in
        this bankruptcy proceed.
         his bankruptcy


               “Date
                Date
                            Al g.g. | 23

                                        1,                                                                     her
                                                                                                          of Attorney
                                                                                                      NEY BRAND LLP
                                                                                                 621 Capitol Mall,
                                                                                                  21 Capitol  Mali, 18th
                                                                                                                    18th FL
                                                                                                                          FL
                                                                                                Sacramento, CA
                                                                                                Sacramento,     CA 95814
                                                                                                                    95814
                                                                                                (916) 444-1000
                                                                                                (916)  444-1000
                                                                                                jdreher@downey     brand.com
                                                                                                jdreher@downeybrand.com

                                                                                                Name of
                                                                                                Name of law
                                                                                                        law firm
                                                                                                            Jinn
